                   EXHIBIT 73




                   EXHIBIT 73

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10                           UNITED STATES DISTRICT COURT
11          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
12 WAYMO LLC,                                   CASE NO. _________________
             Plaintiff,
13      vs.                                     COMPLAINT
   UBER TECHNOLOGIES, INC.;
14 OTTOMOTTO LLC; OTTO TRUCKING                 1. VIOLATION OF DEFENSE OF
   LLC,                                         TRADE SECRETS ACT
15           Defendants.
                                                2. VIOLATION OF CALIFORNIA
16                                              UNIFORM TRADE SECRET ACT
17                                              3. PATENT INFRINGEMENT
18                                              4. VIOLATION OF CAL. BUS & PROF.
                                                CODE SECTION 17200
19
                                                DEMAND FOR JURY TRIAL
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 1          Plaintiff Waymo LLC (“Waymo”), by and through their attorneys, and for their Complaint

 2 against Uber Technologies, Inc. (“Uber”), Ottomotto LLC, and Otto Trucking LLC (together,

 3 “Otto”) (collectively, “Defendants”), hereby allege as follows:

 4 I.       INTRODUCTION
 5          1.      This is an action for trade secret misappropriation, patent infringement, and unfair
 6 competition relating to Waymo’s self-driving car technology. Waymo strongly believes in the

 7 benefits of fair competition, particularly in a nascent field such as self-driving vehicles. Self-

 8 driving cars have the potential to transform mobility for millions of people as well as become a

 9 trillion dollar industry. Fair competition spurs new technical innovation, but what has happened

10 here is not fair competition. Instead, Otto and Uber have taken Waymo’s intellectual property so

11 that they could avoid incurring the risk, time, and expense of independently developing their own

12 technology. Ultimately, this calculated theft reportedly netted Otto employees over half a billion

13 dollars and allowed Uber to revive a stalled program, all at Waymo’s expense.

14          2.      Waymo developed its own combination of unique laser systems to provide critical
15 information for the operation of fully self-driving vehicles. Waymo experimented with, and

16 ultimately developed, a number of different cost-effective and high-performing laser sensors

17 known as LiDAR. LiDAR is a laser-based scanning and mapping technology that uses the

18 reflection of laser beams off objects to create a real-time 3D image of the world. When mounted

19 on a vehicle and connected to appropriate software, Waymo’s LiDAR sensors enable a vehicle to

20 “see” its surroundings and thereby allow a self-driving vehicle to detect traffic, pedestrians,

21 bicyclists, and any other obstacles a vehicle must be able to see to drive safely. With a 360-degree

22 field of vision, and the ability to see in pitch black, Waymo’s LiDAR sensors can actually detect

23 potential hazards that human drivers would miss. With a goal of bringing self-driving cars to the

24 mass market, Waymo has invested tens of millions of dollars and tens of thousands of hours of

25 engineering time to custom-build the most advanced and cost-effective LiDAR sensors in the

26 industry. Thanks in part to this highly advanced LiDAR technology, Waymo became the first

27 company to complete a fully self-driving trip on public roads in a vehicle without a steering wheel

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 1 and foot pedals. Today, Waymo remains the industry’s leader in self-driving hardware and

 2 software.

 3          3.     Waymo was recently – and apparently inadvertently – copied on an email from one

 4 of its LiDAR component vendors. The email attached machine drawings of what purports to be an

 5 Uber LiDAR circuit board. This circuit board bears a striking resemblance to Waymo’s own

 6 highly confidential and proprietary design and reflects Waymo trade secrets. As this email shows,

 7 Otto and Uber are currently building and deploying (or intending to deploy) LiDAR systems (or

 8 system components) using Waymo’s trade secret designs. This email also shows that Otto and

 9 Uber’s LiDAR systems infringe multiple LiDAR technology patents awarded to Waymo.

10          4.     Waymo has uncovered evidence that Anthony Levandowski, a former manager in

11 Waymo’s self-driving car project – now leading the same effort for Uber – downloaded more than

12 14,000 highly confidential and proprietary files shortly before his resignation. The 14,000 files

13 included a wide range of highly confidential files, including Waymo’s LiDAR circuit board

14 designs. Mr. Levandowski took extraordinary efforts to raid Waymo’s design server and then

15 conceal his activities. In December 2015, Mr. Levandowski specifically searched for and then

16 installed specialized software onto his company-issued laptop in order to access the server that

17 stores these particular files. Once Mr. Levandowski accessed this server, he downloaded the

18 14,000 files, representing approximately 9.7 GB of highly confidential data. Then he attached an

19 external drive to the laptop for a period of eight hours. He installed a new operating system that

20 would have the effect of reformatting his laptop, attempting to erase any forensic fingerprints that

21 would show what he did with Waymo’s valuable LiDAR designs once they had been downloaded

22 to his computer. After Mr. Levandowski wiped this laptop, he only used it for a few minutes, and

23 then inexplicably never used it again.

24          5.     In the months leading to the mass download of files, Mr. Levandowski told

25 colleagues that he had plans to set up a new, self-driving vehicle company. In fact, Mr.

26 Levandowski appears to have taken multiple steps to maximize his profit and set up his own new

27 venture – which eventually became Otto – before leaving Waymo in January 2016. In addition to

28 downloading Waymo’s design files and proprietary information, Mr. Levandowski set up a

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 1 competing company named “280 Systems” (which later became Otto) before he left, under the

 2 pretense that 280 Systems would not compete with Waymo.

 3          6.      A number of Waymo employees subsequently also left to join Anthony

 4 Levandowski’s new business, downloading additional Waymo trade secrets in the days and hours

 5 prior to their departure. These secrets included confidential supplier lists, manufacturing details

 6 and statements of work with highly technical information, all of which reflected the results of

 7 Waymo’s months-long, resource-intensive research into suppliers for highly specialized LiDAR

 8 sensor components.

 9          7.      Otto launched publicly in May 2016, and was quickly acquired by Uber in August

10 2016 for $680 million. (Notably, Otto announced the acquisition shortly after Mr. Levandowski

11 received his final multi-million dollar compensation payment from Google.) As was widely

12 reported at the time, “one of the keys to this acquisition[] could be the LIDAR system that was

13 developed in-house at Otto.”

14          8.      Uber’s own attempts to develop self-driving cars started earlier in February 2015

15 with the announcement of a strategic partnership with Carnegie Mellon University and the

16 creation of the Uber Advanced Technologies Center in Pittsburgh. Reports attribute Uber CEO

17 Travis Kalanick’s interest in this technology to a ride in a Google, now Waymo, self-driving car.

18 Uber’s CEO has described self-driving cars as “existential” to the survival of his company.1 He

19 told reporters: “the entity that’s in first, then rolls out a ride-sharing network that is far cheaper or

20 far higher-quality than Uber’s, then Uber is no longer a thing.” However, by March 2016 reports

21 surfaced that the partnership between CMU and Uber had “stalled.”

22          9.      Meanwhile, Waymo had devoted seven years to research and development. It had
23 amassed nearly one and a half million miles of self-driving experience on public roads and billions

24 of miles of test data via simulation. By May 2015, Waymo had also designed and built, from the

25 ground up, the world’s first fully self-driving car without a steering wheel and foot pedals. These

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     1
27   Biz Carson, “Travis Kalanick on Uber’s bet on self-driving cars: ‘I can’t be wrong,’” Business
   Insider, Aug. 18, 2016, available at http://www.businessinsider.com/travis-kalanick-interview-on-
28 self-driving-cars-future-driver-jobs-2016-8.

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 1 vehicles were equipped with Waymo’s own in-house hardware and sensors, including its

 2 uniquely-designed LiDAR.

 3          10.     Instead of developing their own technology in this new space, Defendants stole

 4 Waymo’s long-term investments and property. While Waymo developed its custom LiDAR

 5 systems with sustained effort over many years, Defendants leveraged stolen information to

 6 shortcut the process and purportedly build a comparable LiDAR system in only nine months. As

 7 of August 2016, Uber had no in-house solution for LiDAR – despite 18 months with their faltering

 8 Carnegie Mellon University effort – and they acquired Otto to get it. By September 2016, Uber

 9 represented to regulatory authorities in Nevada that it was no longer using an off-the-shelf, or

10 third-party, LiDAR technology, but rather using an “[i]n-house custom built” LiDAR system. The

11 facts outlined above and elaborated further in this complaint show that Uber’s LiDAR technology

12 is actually Waymo’s LiDAR technology.

13          11.     In light of Defendants’ misappropriation and infringement of Waymo’s LiDAR

14 technology, Waymo brings this Complaint to prevent any further misuse of its proprietary

15 information, to prevent Defendants from harming Waymo’s reputation by misusing its technology,

16 to protect the public’s confidence in the safety and reliability of self-driving technology that

17 Waymo has long sought to nurture, and to obtain compensation for its damages and for

18 Defendants’ unjust enrichment resulting from their unlawful conduct.

19 II.      PARTIES
20          12.     Plaintiff Waymo LLC is a subsidiary of Alphabet Inc. with its principal place of
21 business located in Mountain View, California 94043. Waymo is a self-driving technology

22 company with a mission to make it safe and easy for people and things to move around. Waymo

23 LLC owns all of the patents, trade secrets, and confidential information infringed or

24 misappropriated by Defendants.

25          13.     Defendant Uber Technologies, Inc. (“Uber”) is a Delaware company with its
26 principal place of business at 1455 Market Street, San Francisco, California.

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 1           14.    Waymo is informed and believes that Defendant Ottomotto LLC (f/k/a 280

 2 Systems Inc.) is a Delaware limited liability company with its principal place of business located

 3 at 737 Harrison Street, San Francisco, California.

 4           15.    Waymo is informed and believes that Defendant Otto Trucking LLC (f/k/a 280

 5 Systems LLC) is a limited liability company with its principal place of business located at 737

 6 Harrison Street, San Francisco, California.

 7           16.    Waymo is informed and believes that Uber acquired Defendants Ottomotto LLC

 8 and Otto Trucking LLC in approximately August 2016.

 9          17.     Waymo is informed and believes that each Defendant acted in all respects pertinent

10 to this action as the agent of the other Defendant, carried out a joint scheme, business plan or

11 policy in all respects pertinent hereto, and that the acts of each Defendant are legally attributable

12 to each of the other Defendants.

13 III.     JURISDICTION, VENUE & INTRADISTRICT ASSIGNMENT
14           18.    This Court has subject matter jurisdiction over Waymo’s claims for patent
15 infringement pursuant to the Federal Patent Act, 35 U.S.C. § 101 et seq. and 28 U.S.C. §§ 1331

16 and 1338(a). This Court has subject matter jurisdiction over Waymo’s federal trade secret claim

17 pursuant to 18 U.S.C. §§ 1836-39 et seq. and 28 U.S.C. §§ 1331 and 1343. The Court has

18 supplemental jurisdiction over the state law claim alleged in this Complaint pursuant to 28 U.S.C.

19 § 1367.

20           19.    As set forth above, at least one Defendant resides in this judicial district, and all
21 Defendants are residents of the State of California. In addition, a substantial part of the events or

22 omissions giving rise to the claims alleged in this Complaint occurred in this Judicial District.

23 Venue therefore lies in the United States District Court for the Northern District of California

24 pursuant to 28 U.S.C. §§ 1391(b)(1) and (2).

25           20.    A substantial part of the events giving rise to the claims alleged in this Complaint
26 occurred in the City and County of San Francisco. For purposes of intradistrict assignment under

27 Civil Local Rules 3-2(c) and 3-5(b), this Intellectual Property Action will be assigned on a district-

28 wide basis.

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 1 IV.       FACTUAL ALLEGATIONS
 2           A.     Google Pioneers The Self-Driving Car Space
 3           21.    Google was the first major U.S. technology firm to recognize the transformative
 4 potential and commercial value of vehicle automation, which promises to make transportation

 5 safer, cleaner, more efficient, and more widely available.

 6           22.    Google initiated its self-driving car project in 2009. Before long, Google’s self-
 7 driving cars had navigated from the Bay Area to Los Angeles, crossed the Golden Gate Bridge,

 8 drove the Pacific Coast Highway, and circled Lake Tahoe, logging over 140,000 miles – a first in

 9 robotics research at the time.

10           23.    Google made its self-driving car project public in 2010, with the following
11 announcement: “Larry and Sergey founded Google because they wanted to help solve really big

12 problems using technology. And one of the big problems we’re working on today is car safety

13 and efficiency. Our goal is to help prevent traffic accidents, free up people’s time and reduce

14 carbon emissions by fundamentally changing car use. So we have developed technology for cars

15 that can drive themselves.”

16           24.    In 2014, Google unveiled its own reference vehicle, a two-door fully autonomous
17 car without pedals or a steering wheel. A year later, this prototype made the first ever fully self-

18 driving trip in normal traffic on public roads.

19           25.    In 2016, Google’s self-driving car program became Waymo, a stand-alone
20 company operating alongside Google and other technology companies under the umbrella of

21 Alphabet Inc.2

22           26.    To date, Waymo’s fleet of self-driving vehicles has logged over 2.5 million miles
23 in autonomous mode on public roads. Measured in time, that equates to over 300 years of human

24 driving experience. And in 2016 alone, Waymo’s systems logged over a billion miles of

25 simulated driving, a feat made possible by Waymo’s in-house simulator and the power of

26 Google’s massive data centers.

27
         2
         Further references to “Waymo” refer to the self-driving car project from its inception in
28 2009 to the present.

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 1          27.     Waymo uses the data collected from these real-world and simulated miles to

 2 (among other things) constantly improve the safety of its system, including its hardware and

 3 sensors. This focus on testing and safety has allowed Waymo’s self-driving cars to become

 4 increasingly capable and robust, with less need for human intervention. As just one illustration of

 5 this, the rate of Waymo’s safety-related disengagements has fallen from 0.8 disengagements per

 6 thousand miles in 2015 to 0.2 disengagements per thousand miles in 2016, representing a four-fold

 7 improvement in Waymo’s self-driving technology in just 12 months. Today, Waymo believes its

 8 self-driving cars are the safest on the road.

 9          B.      Waymo Develops Its Own Proprietary LiDAR System Tailored For Mass-
                    Marketed Self-Driving Cars
10
            28.     Self-driving cars must be able to detect and understand the surrounding
11
     environment. With respect to this aspect of vehicle automation, LiDAR – or “Light Detection
12
     And Ranging” – uses high-frequency, high-power pulsing lasers to measure distances between one
13
     or more sensors and external objects.
14
            29.     LiDAR hardware built for autonomous vehicles is typically mounted on the
15
     exterior of a vehicle and scans the surrounding environment (sometimes in 360 degrees) with an
16
     array of lasers. The laser beams reflect off surrounding objects, and data regarding the light that
17
     bounces back to designated receivers is recorded. Software analyzes the data in order to create a
18
     three-dimensional view of the environment, which is used to identify objects, assess their motion
19
     and orientation, predict their behavior, and make driving decisions.
20
            30.     LiDAR systems are made up of thousands of individual hardware and software
21
     components that can be configured in virtually limitless combinations and designs. LiDAR
22
     systems adapted for use in self-driving cars became commercially available in approximately
23
     2007. Today, most firms in the self-driving space purchase LiDAR systems from third-party
24
     providers.
25
            31.     Waymo, on the other hand, uses its own LiDAR systems that are carefully tailored
26
     – based on Waymo’s extensive research and testing – for use in fully autonomous vehicles in
27
     which there is no driver intervention required. Waymo’s proprietary LiDAR systems improve the
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  1 ability of self-driving cars to navigate safely in all environments, including city environments and

  2 highly unusual driving scenarios.

  3          32.     Moreover, by designing its own LiDAR systems, Waymo has driven down costs, a

  4 well-known barrier to commercializing self-driving technology. Waymo’s improved LiDAR

  5 designs are now less than 10% of the cost that benchmark LiDAR systems were just a few years

  6 ago, and Waymo expects that mass production of their technology will make it even more

  7 affordable.

  8          33.     One way that Waymo pioneered LiDAR systems with improved performance at

  9 lower cost was by innovating a design that, in part, uses a single lens – rather than multiple sets of

 10 lenses – to both transmit and receive the collection of laser beams used to scan the surrounding

 11 environment. This design greatly simplifies the manufacturing process by eliminating the need to

 12 painstakingly align pairs of transmit and receive lenses, with even a slight mis-calibration of a lens

 13 pair affecting the accuracy of the system. Waymo was awarded a patent on its design in 2014:

 14 United States Patent No. 8,836,922 (“the ’922 patent”) entitled “Devices and Methods for a

 15 Rotating LiDAR Platform with a Shared Transmit/Receive Path.”

 16          34.     Another way that Waymo improved the performance and lowered the cost of

 17 LiDAR systems for autonomous vehicles was by simplifying the design of the laser diode firing

 18 circuit that is at the heart of any LiDAR system. Waymo invented a design that elegantly

 19 simplified the circuit to control the charging and discharging paths of the lasers compared to the

 20 more complicated circuit designs otherwise used by the industry. Waymo obtained a patent on

 21 this aspect of its LiDAR design in 2016: United States Patent No. 9,368,936 (“the ’936 patent”)

 22 entitled “Laser Diode Firing System.”

 23          35.     As one more example of how Waymo fundamentally advanced LiDAR systems for

 24 use in autonomous vehicles, Waymo developed a simplified design for “pre-collimating” (or

 25 making parallel) the light output of each laser diode separately before the beams are combined.

 26 The increased compactness of this design increases the resolution of the overall LiDAR system.

 27 Waymo was awarded a patent on this aspect of its design in 2015: United States Patent No.

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  1 9,086,273 (“the ’273 patent”) entitled “Microrod Compressions of Laser Beam in Combination

  2 with Transmit Lens.”

  3          36.    While patenting these fundamental advances in LiDAR technology, Waymo also

  4 accumulated confidential and proprietary intellectual property that it uses in the implementation

  5 and manufacture of its LiDAR designs to optimize performance, maximize safety, and minimize

  6 cost. Waymo also created a vast amount of confidential and proprietary intellectual property via

  7 its exploration of design concepts that ultimately proved too complex or too expensive for the

  8 mass market; Waymo’s extensive experience with “dead-end” designs continues to inform the

  9 ongoing development of Waymo’s LiDAR systems today. The details actually used in Waymo’s

 10 LiDAR designs as well as the lessons learned from Waymo’s years of research and development

 11 constitute trade secrets that are highly valuable to Waymo and would be highly valuable to any

 12 competitor in the autonomous vehicle space.

 13          37.    Waymo’s substantial and sustained investment in LiDAR technology over nearly

 14 seven years – and the intellectual property that resulted – have made Waymo’s current LiDAR

 15 technology the most advanced in the industry. It is unparalleled in performance and safety in all

 16 driving environments, including in the most challenging city environments. Yet it is more than

 17 90% cheaper than prior benchmark systems, a key driver toward mass market adoption. For these

 18 reasons and others, Waymo’s LiDAR technology and the intellectual property associated with it

 19 are some of Waymo’s most valuable assets.

 20          C.     Uber Is Late To Enter The Self-Driving Car Market
 21          38.    Whereas Waymo began developing its self-driving cars in 2009, on information

 22 and belief, Uber’s first serious foray into automation was not until six years later when – in

 23 February 2015 – Uber announced a partnership with Carnegie Mellon University. According to

 24 public reports of the partnership, Uber hired at least 40 CMU faculty members, researchers, and

 25 technicians – including the former head of CMU’s National Robotics Engineering Center – to help

 26 jump-start an Uber vehicle automation program.

 27          39.    By early 2016, Uber had hired hundreds of engineers and robotics experts to

 28 support the original team from Carnegie Mellon. But the research and development process was

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  1 slow.3 And with respect to LiDAR technology, Uber’s program appeared to rely solely on a third-

  2 party, off-the-shelf LiDAR system manufactured by Velodyne Inc. (the HDL-64E). On

  3 information and belief, Uber’s program did not make any significant advances toward designing or

  4 manufacturing its own LiDAR technology for improved performance or lower cost.

  5           40.   Thus, although Uber came to view its entry into the self-driving car space as an

  6 “existential” imperative,4 as of mid-2016, Uber remained more than five years behind in the race

  7 to develop vehicle automation technology suitable for the mass market.

  8           D.    Unbeknownst To Waymo, Anthony Levandowski Lays The Foundation For
                    Defendants To Steal Waymo’s Intellectual Property Rather Than Compete
  9                 Fairly In The Autonomous Vehicle Space
 10           41.   While Uber’s partnership with CMU was floundering, Waymo was continuing to
 11 develop its next-generation proprietary LiDAR technology. But, unbeknownst to Waymo at the

 12 time, Waymo manager Anthony Levandowski was also secretly preparing to launch a competing

 13 vehicle automation venture – a company named “280 Systems,” which later would become Otto.

 14           42.    By November 2015, an internet domain name for the new venture had been
 15 registered. And by January 2016, Mr. Levandowski had confided in some Waymo colleagues that

 16 he planned to “replicate” Waymo’s technology at a Waymo competitor. As Waymo would later

 17 learn, Mr. Levandowski went to great lengths to take what he needed to “replicate” Waymo’s

 18 technology and then to meet with Uber executives, all while still a Waymo employee.

 19           43.   On December 3, 2015, Mr. Levandowski searched for instructions on how to access
 20 Waymo’s highly confidential design server. This server holds detailed technical information

 21 related to Waymo’s LiDAR systems, including the blueprints for its key hardware components,

 22 and is accessible only on a need-to-know basis.

 23           44.   On December 11, 2015, Mr. Levandowski installed special software on his Waymo
 24 laptop to access the design server. Mr. Levandowski then download over 14,000 proprietary files

 25
         3
         Heather Somerville, “After a year, Carnegie Mellon and Uber research initiative is stalled,”
 26 Reuters, Mar. 21, 2016, available at http://www.reuters.com/article/us-uber-tech-research-
    idUSKCN0WN0WR.
 27 4        Max Chafkin, “Uber’s First Self-Driving Fleet Arrives in Pittsburgh This Month,”
    Bloomsberg, Aug. 18, 2016, available at http://www.bloomberg.com/news/features/2016-08-
 28 18/uber-s-first-self-driving-fleet-arrives-in-pittsburgh-this-month-is06r7on.

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  1 from that server. Mr. Levandowski’s download included 9.7 GBs of sensitive, secret, and

  2 valuable internal Waymo information. 2 GBs of the download related to Waymo’s LiDAR

  3 technology. Among the downloaded documents were confidential specifications for each version

  4 of every generation of Waymo’s LiDAR circuit boards.

  5          45.     On December 14, 2015, Mr. Levandowski attached a removable media device (an

  6 SD Card) to the laptop containing the downloaded files for approximately eight hours.

  7          46.     On December 18, 2015, seven days after Mr. Levandowski completed his

  8 download of confidential Waymo information and four days after he removed the SD Card, he

  9 reformatted the laptop, attempting to erase any evidence of what happened to the downloaded

 10 files. After wiping the laptop clean, Mr. Levandowski used the reformatted laptop for a few

 11 minutes and then never used it again.

 12          47.     Around the same time, Mr. Levandowski used his Waymo credentials and security

 13 clearances to download additional confidential Waymo documents to a personal device. These

 14 materials included at least five highly sensitive internal presentations containing proprietary

 15 technical details regarding the manufacture, assembly, calibration, and testing of Waymo’s LiDAR

 16 sensors.

 17          48.     After downloading all of this confidential information regarding Waymo’s LiDAR

 18 systems and other technology and while still a Waymo employee, Waymo is informed and

 19 believes that Mr. Levandowski attended meetings with high-level executives at Uber’s

 20 headquarters in San Francisco on January 14, 2016.

 21          49.     The next day, January 15, 2016, Mr. Levandowski’s venture 280 Systems - which

 22 became OttoMotto LLC - was officially formed (though it remained in stealth mode for several

 23 months). On January 27, 2016, Mr. Levandowski resigned from Waymo without notice. And on

 24 February 1, 2016, Mr. Levandowski’s venture Otto Trucking was officially formed (also

 25 remaining in stealth mode for several months).

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  1          E.      Otto Continues To Misappropriate Waymo’s Intellectual Property After Its
                     Public Launch With Mr. Levandowski At The Helm
  2
             50.     Otto publicly launched in May 2016 with the stated goal of developing hardware
  3
      and software for autonomous vehicles.
  4
             51.     In July 2016, a Waymo supply chain manager resigned from Waymo and joined
  5
      Otto. This supply chain manager was one of several Waymo employees who had spent many
  6
      months vetting a particular vendor that Waymo ultimately engaged to provide manufacturing
  7
      services for its self-driving car technology. The vendor’s identity and its work for Waymo was
  8
      and is confidential: Waymo and the vendor entered into a confidentiality agreement that precludes
  9
      either party from disclosing the existence of their business relationship.
 10
             52.     Approximately a month before the supply chain manager resigned and despite his
 11
      confidentiality obligations to Waymo, he downloaded from Waymo’s secure network Waymo’s
 12
      confidential supply chain information and other confidential manufacturing information, including
 13
      Statements of Work (or SOWs) for particular components – all of which reflected the results of
 14
      Waymo’s months-long, resource-intensive research into suppliers for highly specialized LiDAR
 15
      sensor components.
 16
             53.     Also in July 2016, a certain Waymo hardware engineer resigned. On the same day
 17
      that he resigned from Waymo, and despite his confidentiality obligations to Waymo, this engineer
 18
      downloaded from Waymo’s secure network three files containing confidential research into
 19
      various potential hardware vendors for highly specialized LiDAR components and manufacturing
 20
      services. On information and belief, this hardware engineer left Waymo to join Otto.
 21
             54.     In the same time period that these former Waymo employees were downloading
 22
      Waymo’s confidential information regarding its manufacturing and hardware vendors and
 23
      resigned, Otto contacted the most-extensively vetted (and confidential) Waymo vendor and
 24
      attempted to order manufacturing services for LiDAR components similar to those the vendor
 25
      provides to Waymo.
 26

 27

 28

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  1           F.     After Only Six Months Of Official Existence, Otto Is Acquired By Uber For
                     More Than Half A Billion Dollars
  2
              55.    In August 2016, shortly after Mr. Levandowski received his final multi-million
  3
      dollar payment from Google, Uber announced a deal to acquire Otto. Otto’s purchase price was
  4
      reported as $680 million, a remarkable sum for a company with few assets and no marketable
  5
      product. As Forbes reported at the time, “one of the keys to this acquisition[] could be the LIDAR
  6
      system that was developed in-house at Otto.”5
  7
              56.    In recognition of the central role of Otto’s technology within Uber, Uber named
  8
      Otto co-founder Mr. Levandowski as its vice president in charge of Uber’s self-driving car project.
  9
      Uber rechristened Otto’s existing San Francisco office as Uber’s new self-driving research and
 10
      development center.
 11
              G.     Waymo Verifies Its Growing Suspicion That Otto And Uber Stole Its
 12                  Intellectual Property
 13           57.    The sudden resignations from Waymo, Otto’s quick public launch with Mr.
 14 Levandowski at the helm, and Uber’s near-immediate acquisition of Otto for more than half a

 15 billion dollars all caused Waymo grave concern regarding the possible misuse of its intellectual

 16 property. Accordingly, in the summer of 2016, Waymo investigated the events surrounding the

 17 departure of Waymo employees for Otto and ultimately discovered Mr. Levandowski’s 14,000-

 18 document download, his efforts to hide the disposition of those documents, and the downloading

 19 of other Waymo confidential materials by Mr. Levandowski and other former Waymo employees.

 20           58.    Then, in December 2016, Waymo received evidence suggesting that Otto and Uber
 21 were actually using Waymo’s trade secrets and patented LiDAR designs. On December 13,

 22 Waymo received an email from one of its LiDAR-component vendors. The email, which a

 23 Waymo employee was copied on, was titled OTTO FILES and its recipients included an email

 24 alias indicating that the thread was a discussion among members of the vendor’s “Uber” team.

 25 Attached to the email was a machine drawing of what purported to be an Otto circuit board (the

 26
         5
           Sarwant Singh, “Uber Acquiring Otto Could Be the Lead Domino: Autonomous Vehicles to
 27 Spur M&A Activity,” Forbes, Aug. 24, 2016, available at
    http://www.forbes.com/sites/sarwantsingh/2016/08/24/uber-acquiring-otto-could-be-the-lead-
 28 domino-autonomous-vehicles-to-spur-ma-activity/#337f0c0f65ae.

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  1 “Replicated Board”) that bore a striking resemblance to – and shared several unique characteristics

  2 with – Waymo’s highly confidential current-generation LiDAR circuit board, the design of which

  3 had been downloaded by Mr. Levandowski before his resignation.

  4          59.    The Replicated Board reflects Waymo’s highly confidential proprietary LiDAR

  5 technology and Waymo trade secrets. Moreover, the Replicated Board is specifically designed to

  6 be used in conjunction with many other Waymo trade secrets and in the context of overall LiDAR

  7 systems covered by Waymo patents.

  8          60.    With greatly heightened suspicion that Otto and Uber were actually using Waymo’s

  9 intellectual property for their own purposes (and to Waymo’s detriment), Waymo endeavored to

 10 find a way to confirm whether Defendants were using Waymo’s patented and trade secret LiDAR

 11 designs. Ultimately, Waymo received such confirmation in response to a public records request it

 12 made to the Nevada Governor’s Office of Economic Development and Department of Motor

 13 Vehicles on February 3, 2016.

 14          61.    Among the documents Waymo received on February 9, 2016 in response to that

 15 request were submissions made by Otto to Nevada regulatory authorities. In one such submission,

 16 dated less than one month after the Otto acquisition and while Uber was refusing to publicly

 17 identify the supplier of its LiDAR system,6 Otto privately represented that it had “developed in

 18 house and/or currently deployed” an “[i]n-house custom built 64-laser” LiDAR system. This was

 19 the final piece of the puzzle: confirmation that Uber and Otto are in fact using a custom LiDAR

 20 system with the same characteristics as Waymo’s proprietary system.

 21          H.     Waymo Has Been, And Will Be, Severely Harmed By Defendants’
                    Infringement Of Waymo’s Patents And Misappropriation Of Waymo’s
 22                 Confidential And Proprietary Trade Secret Information
 23          62.    Waymo developed its patented inventions and trade secrets at great expense, and
 24 through years of painstaking research, experimentation, and trial and error. If Defendants are not

 25 enjoined from their infringement and misappropriation, they will cause severe and irreparable

 26 harm to Waymo.

 27
      6
      Mike Murphy, “This is the week self-driving cars became real,” Quartz, Sept. 17, 2016,
 28 available at https://qz.com/780606/this-is-the-week-self-driving-cars-became-real/.

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  1          63.     The markets for self-driving vehicles are nascent and on the cusp of rapid

  2 development. The impending period of drastic market growth, as autonomous car technology

  3 matures and is increasingly commercialized, will set the competitive landscape for the industry

  4 going forward. The growth, profitability, and even survival of individual firms will likely be

  5 determined by what happens in the next few years. Defendants’ exploitation of stolen intellectual

  6 property greatly harms Waymo during this embryonic market formation process and deforms the

  7 creation of a fair and competitive industry. Allowing the conduct to continue, and awarding

  8 monetary compensation after the fact, will not sufficiently unravel the harm caused to Waymo

  9 directly and indirectly by Defendants’ conduct.

 10          64.     With respect to Waymo’s trade secrets, there is also the threat that Waymo’s

 11 confidential and proprietary information will be disclosed by Defendants, which will destroy the

 12 trade secret value of the technology. This may occur either voluntarily by Defendants for its own

 13 publicity purposes or because a regulatory agency requires disclosure for permitting purposes.

 14          65.     With this action, Waymo seeks to vindicate its rights, prevent any further

 15 infringement of its patents, preclude any further misuse of its confidential, proprietary, and trade

 16 secret information, and obtain compensation for its damages and for Defendants’ unjust

 17 enrichment resulting from their unlawful conduct.

 18                                     FIRST CAUSE OF ACTION
 19                               Violation of Defense of Trade Secret Act
                                          (Against All Defendants)
 20
             66.     Waymo incorporates all of the above paragraphs as though fully set forth herein.
 21
             67.     Waymo owns and possesses certain confidential, proprietary, and trade secret
 22
      information, as alleged above. One example of the trade secret information is reflected in printed
 23
      circuit board designs contained in certain design files that Anthony Levandowski downloaded
 24
      from Waymo’s system. Various aspects of the printed circuit board designs for the current
 25
      generation of Waymo’s LiDAR system are Waymo’s trade secrets, including the position and
 26
      orientation of the laser diodes and photodetectors mounted on the printed circuit boards.
 27
      Waymo’s trade secret information also includes the selection, materials, size, position, and
 28

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  1 orientation of optical elements that are used to manipulate and modify laser beams that are

  2 transmitted and detected by Waymo’s current generation LiDAR system. Waymo’s trade secret

  3 information further includes the resolution profile that is achieved through its proprietary

  4 positioning and orientation of laser diodes and optical elements in its current generation LiDAR

  5 system, and the know-how associated with using the resolution profile to accurately detect objects

  6 in the environment. Another example of Waymo’s trade secrets is the rate at which the current

  7 generation LiDAR system pulses and fires the laser diodes into the environment, and the know-

  8 how associated with using the pulse rate and fire rate to accurately detect objects in the

  9 environment. None of these trade secrets is disclosed in any published Waymo patents or patent

 10 applications.

 11          68.    Waymo’s confidential, proprietary, and trade secret information relates to products

 12 and services used, sold, shipped and/or ordered in, or intended to be used, sold, shipped and/or

 13 ordered in, interstate or foreign commerce.

 14          69.    Waymo has taken reasonable measures to keep such information secret and

 15 confidential.

 16          70.    Waymo has at all times maintained stringent security measures to preserve the

 17 secrecy of its LiDAR trade secrets. For example, Waymo restricts access to confidential and

 18 proprietary trade secret information to only those who “need to know.” That is, employees

 19 working on projects unrelated to self-driving cars have not had and do not have access to

 20 Waymo’s schematics, supply chain information, or other categories of confidential and proprietary

 21 information. All networks hosting Waymo’s confidential and proprietary information have been

 22 and continue to be encrypted and have at all times required passwords and dual-authentication for

 23 access. Computers, tablets, and cell phones provided to Waymo employees are encrypted,

 24 password protected, and subject to other security measures. And Waymo secures its physical

 25 facilities by restricting access and then monitoring actual access with security cameras and guards.

 26          71.    Waymo also requires all employees, contractors, consultants, vendors, and

 27 manufacturers to sign confidentiality agreements before any confidential or proprietary trade

 28 secret information is disclosed to them. Every outside vendor and manufacturer that has received

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  1 confidential and proprietary trade secret information related to Waymo’s LiDAR technology has

  2 executed at least one written non-disclosure agreement. As a further precaution, Waymo

  3 purchases the components for its LiDAR systems from numerous, different vendors and conducts

  4 the final assembly in-house at Waymo. As a result, no single Waymo vendor has full knowledge

  5 of Waymo’s proprietary LiDAR systems.

  6          72.     Due to these security measures, Waymo’s confidential and proprietary trade secret

  7 information is not available for others in the automated vehicle industry – or any other industry –

  8 to use through any legitimate means.

  9          73.     Waymo’s confidential, proprietary, and trade secret information derives

 10 independent economic value from not being generally known to, and not being readily

 11 ascertainable through proper means by, another person who could obtain economic value from the

 12 disclosure or use of the information.

 13          74.     In violation of Waymo’s rights, Defendants misappropriated Waymo’s

 14 confidential, proprietary and trade secret information in the improper and unlawful manner as

 15 alleged herein. Defendants’ misappropriation of Waymo’s confidential, proprietary, and trade

 16 secret information was intentional, knowing, willful, malicious, fraudulent, and oppressive.

 17 Defendants have attempted and continue to attempt to conceal their misappropriation.

 18          75.     On information and belief, if Defendants are not enjoined, Defendants will continue

 19 to misappropriate and use Waymo’s trade secret information for their own benefit and to Waymo’s

 20 detriment.

 21          76.     As the direct and proximate result of Defendants’ conduct, Waymo has suffered

 22 and, if Defendants’ conduct is not stopped, will continue to suffer, severe competitive harm,

 23 irreparable injury, and significant damages, in an amount to be proven at trial. Because Waymo’s

 24 remedy at law is inadequate, Waymo seeks, in addition to damages, temporary, preliminary, and

 25 permanent injunctive relief to recover and protect its confidential, proprietary, and trade secret

 26 information and to protect other legitimate business interests. Waymo’s business operates in a

 27 competitive market and will continue suffering irreparable harm absent injunctive relief.

 28

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  1          77.     Waymo has been damaged by all of the foregoing and is entitled to an award of

  2 exemplary damages and attorney’s fees.

  3                                    SECOND CAUSE OF ACTION
  4          Violation of California Uniform Trade Secret Act, Cal. Civ. Code § 3426 et seq.
                                        (Against All Defendants)
  5
             78.     Waymo incorporates all of the above paragraphs as though fully set forth herein.
  6
             79.     Waymo’s technical information, designs, and other “know how” related to its
  7
      LiDAR constitute trade secrets as defined by California’s Uniform Trade Secrets Act. Waymo
  8
      owns and possesses certain confidential, proprietary, and trade secret information, as alleged
  9
      above. One example of the trade secret information is reflected in printed circuit board designs
 10
      contained in certain design files that Anthony Levandowski downloaded from Waymo’s system.
 11
      Various aspects of the printed circuit board designs for the current generation of Waymo’s LiDAR
 12
      system are Waymo’s trade secrets, including the position and orientation of the laser diodes and
 13
      photodetectors mounted on the printed circuit boards. Waymo’s trade secret information also
 14
      includes the selection, materials, size, position, and orientation of optical elements that are used to
 15
      manipulate and modify laser beams that are transmitted and detected by Waymo’s current
 16
      generation LiDAR system. Waymo’s trade secret information further includes the resolution
 17
      profile that is achieved through its proprietary positioning and orientation of laser diodes and
 18
      optical elements in its current generation LiDAR system, and the know-how associated with using
 19
      the resolution profile to accurately detect objects in the environment. Another example of
 20
      Waymo’s trade secrets is the rate at which the current generation LiDAR system pulses and fires
 21
      the laser diodes into the environment, and the know-how associated with using the pulse rate and
 22
      fire rate to accurately detect objects in the environment. Eone of this information is disclosed in
 23
      any published Waymo patents or patent applications, and the information has actual or potential
 24
      independent economic value from not being generally known to the public or other persons who
 25
      could obtain economic value from their disclosure or use.
 26
             80.     Waymo’s asserted trade secrets are different than Waymo’s asserted patent rights.
 27
      By way of example, only: (i) Waymo’s asserted patents relate to a prior generation of Waymo’s
 28

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  1 proprietary LiDAR designs, whereas Waymo’s trade secrets include elements for subsequent and

  2 as of today un-patented and confidential LiDAR designs; and (ii) Waymo’s trade secrets include

  3 specific parameters and measurements for Waymo’s LiDAR designs that are not disclosed in any

  4 asserted Waymo patents. Examples of trade secret information that is not covered or disclosed by

  5 any asserted Waymo patents include the specific parameters or measurements for vertical beam

  6 spacing, distribution of beam elevations and orientations, the beams’ field of view measurements,

  7 the pitch or orientations between diodes, pitch measurements for optical cavities, pulse rates, and

  8 fire rates for beam returns.

  9          81.     Waymo has undertaken efforts that are reasonable under the circumstances to

 10 maintain the secrecy of the trade secrets at issue. These efforts include, but are not limited to, the

 11 use of passwords and encryption to protect data on its computers, servers, and source code

 12 repositories, the maintenance of a Code of Conduct that emphasizes all employees’ duties to

 13 maintain the secrecy of Waymo’s confidential information, and the use of confidentiality

 14 agreements and non-disclosure agreements to require vendors, partners, contractors, and

 15 employees to maintain the secrecy of Waymo’s confidential information.

 16          82.     Defendants knew or should have known under the circumstances that the

 17 information misappropriated by Defendants were trade secrets.

 18          83.     Defendants misappropriated and threaten to further misappropriate trade secrets at

 19 least by acquiring trade secrets with knowledge of or reason to know that the trade secrets were

 20 acquired by improper means, and Defendants are using and threatening to use the trade secrets

 21 acquired by improper means without Waymo’s knowledge or consent.

 22          84.     As a direct and proximate result of Defendants’ conduct, Waymo is threatened with

 23 injury and has been injured in an amount in excess of the jurisdictional minimum of this Court and

 24 that will be proven at trial. Waymo has also incurred, and will continue to incur, additional

 25 damages, costs and expenses, including attorney’s fees, as a result of Defendants’

 26 misappropriation. As a further proximate result of the misappropriation and use of Waymo’s trade

 27 secrets, Defendants were unjustly enriched.

 28

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  1          85.     The aforementioned acts of Defendants were willful, malicious and fraudulent.

  2 Waymo is therefore entitled to exemplary damages under California Civil Code § 3426.3(c).

  3          86.     Defendants’ conduct constitutes transgressions of a continuing nature for which

  4 Waymo has no adequate remedy at law. Unless and until enjoined and restrained by order of this

  5 Court, Defendants will continue to retain and use Waymo’s trade secret information to enrich

  6 themselves and divert business from Waymo. Pursuant to California Civil Code § 3426.2, Waymo

  7 is entitled to an injunction against the misappropriation and continued threatened misappropriation

  8 of trade secrets as alleged herein and further asks the Court to restrain Defendants from using all

  9 trade secret information misappropriated from Waymo and to return all trade secret information to

 10 Waymo.

 11          87.     Pursuant to California Civil Code § 3426.4 and related law, Waymo is entitled to

 12 an award of attorneys’ fees for Defendants’ misappropriation of trade secrets.

 13                                      THIRD CAUSE OF ACTION
 14                                  Infringement of Patent No. 8,836,922
                                           (Against All Defendants)
 15
             88.     Waymo incorporates all of the above paragraphs as though fully set forth herein.
 16
             89.     The ’922 patent, entitled “Devices and Methods for a Rotating LIDAR platform
 17
      with a Shared Transmit/Receive Path,” was duly and lawfully issued on September 16, 2014. A
 18
      true and correct copy of the ’922 patent is attached to this Complaint as Exhibit A.
 19
             90.     Waymo is the owner of all rights, title, and interest in the ’922 patent, including the
 20
      right to bring this suit for injunctive relief and damages.
 21
             91.     The ’922 patent is valid and enforceable.
 22
             92.     Defendants have infringed, and continue to infringe, literally and/or through the
 23
      doctrine of equivalents, one or more claims of the ’922 patent, including but not limited to claim
 24
      1, pursuant to 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing
 25
      within the United States, without authority, certain LiDAR devices (“Accused LiDAR Devices”).
 26
             93.     On information and belief, the Accused LiDAR Devices, such as those using the
 27
      Replicated Board, comprise a LiDAR device with a single lens that transmits light pulses
 28

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  1 originating from one or more light sources and receiving light pulses that are then detected by one

  2 or more detectors. Defendants infringe at least claim 1 of the ’922 patent for at least the following

  3 reasons:

  4          94.     Defendants’ Accused LiDAR Devices are LiDAR devices.

  5          95.     On information and belief, Defendants’ Accused LiDAR Devices have a lens

  6 mounted to a housing, wherein the housing is configured to rotate about an axis and has an interior

  7 space that includes a transmit block, a receive block, a transmit path, and a receive path, wherein

  8 the transmit block has an exit aperture in a wall that comprises a reflective surface, wherein the

  9 receive block has an entrance aperture, wherein the transmit path extends from the exit aperture to

 10 the lens, and wherein the receive path extends from the lens to the entrance aperture via the

 11 reflective surface.

 12          96.     On information and belief, Defendants’ Accused LiDAR Devices have a plurality

 13 of light sources in the transmit block, wherein the plurality of light sources are configured to emit

 14 a plurality of light beams through the exit aperture in a plurality of different directions, the light

 15 beams comprising light having wavelengths in a wavelength range.

 16          97.     On information and belief, Defendants’ Accused LiDAR Devices have a plurality

 17 of detectors in the receive block, wherein the plurality of detectors are configured to detect light

 18 having wavelengths in the wavelength range.

 19          98.     On information and belief, Defendants’ Accused LiDAR Devices have a lens that is

 20 configured to receive the light beams via the transmit path, collimate the light beams for

 21 transmission into an environment of the LIDAR device, collect light comprising light from one or

 22 more of the collimated light beams reflected by one or more of the collimated light beams

 23 reflected by one or more objects in the environment of the LIDAR device, and focus the collected

 24 light onto the detectors via the receive path.

 25          99.     Defendants’ infringement of the ’922 patent has been willful and deliberate because

 26 Defendants knew or should have known about the ’922 patent and their infringement of that patent

 27 but acted despite an objectively high likelihood that such acts would infringe the patent. On

 28 information and belief, at least three of the individuals who developed the Accused LiDAR

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  1 Devices are named inventors of the ’922 patent who – while Waymo employees, and on behalf of

  2 Waymo, which owns the ’922 patent – were involved in the conception and/or reduction to

  3 practice of the ’922 patent and have had knowledge of the patent since it issued in September

  4 2014.

  5          100.     As the direct and proximate result of Defendants’ conduct, Waymo has suffered

  6 and, if Defendants’ conduct is not stopped, will continue to suffer, severe competitive harm,

  7 irreparable injury, and significant damages, in an amount to be proven at trial. Because Waymo’s

  8 remedy at law is inadequate, Waymo seeks, in addition to damages, temporary, preliminary, and

  9 permanent injunctive relief. Waymo’s business operates in a competitive market and will continue

 10 suffering irreparable harm absent injunctive relief.

 11                                     FOURTH CAUSE OF ACTION
 12                                  Infringement of Patent No. 9,368,936
                                           (Against All Defendants)
 13
             101.     Waymo incorporates all of the above paragraphs as though fully set forth herein.
 14
             102.     The ’936 patent, entitled “Laser Diode Firing System,” was duly and lawfully
 15
      issued on June 14, 2016. A true and correct copy of the ’936 patent is attached to this Complaint
 16
      as Exhibit B.
 17
             103.     Waymo is the owner of all rights, title, and interest in the ’936 patent, including the
 18
      right to bring this suit for injunctive relief and damages.
 19
             104.     The ’936 patent is valid and enforceable.
 20
             105.     Defendants have infringed, and continue to infringe, literally and/or through the
 21
      doctrine of equivalents, one or more claims of the ’936 patent, including but not limited to claim
 22
      1, pursuant to 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing
 23
      within the United States, without authority, the Accused LiDAR devices.
 24
             106.     On information and belief, Defendants’ Accused LiDAR Devices, such as those
 25
      using the Replicated Board, comprise a laser diode firing circuit for a LiDAR device, which
 26
      utilizes an inductor and a charging capacitor, where both the charging and discharge path are
 27

 28

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  1 controllable via a single transistor and gate signal. Defendants infringe at least claim 1 of the ’936

  2 patent for at least the following reasons:

  3           107.   On information and belief, Defendants’ Accused LiDAR Devices have a voltage

  4 source.

  5           108.   On information and belief, Defendants’ Accused LiDAR Devices have an inductor

  6 coupled to the voltage source, wherein the inductor is configured to store energy in a magnetic

  7 field.

  8           109.   On information and belief, Defendants’ Accused LiDAR Devices have a diode or

  9 equivalent coupled to the voltage source via the inductor.

 10           110.   On information and belief, Defendants’ Accused LiDAR Devices have a transistor

 11 configured to be turned on and turned off by a control signal.

 12           111.   On information and belief, Defendants’ Accused LiDAR Devices have a light

 13 emitting element coupled to the transistor.

 14           112.   On information and belief, Defendants’ Accused LiDAR Devices Circuit Boards

 15 have a capacitor coupled to a charging path and a discharge path, wherein the charging path

 16 includes the inductor and the diode, and wherein the discharge path includes the transistor and the

 17 light emitting element.

 18           113.   On information and belief, Defendants’ Accused LiDAR Devices have, responsive

 19 to the transistor being turned off, a capacitor configured to charge via the charging path such that a

 20 voltage across the capacitor increases from a lower voltage level to a higher voltage level and an

 21 inductor configured to release energy stored in the magnetic field such that a current through the

 22 inductor decreases from a higher current level to a lower current level.

 23           114.   On information and belief, Defendants’ Accused LiDAR Devices have, responsive

 24 to the transistor being turned on, a capacitor configured to discharge through the discharge path

 25 such that the light emitting element emits a pulse of light and the voltage across the capacitor

 26 decreases from the higher voltage level to the lower voltage level and the inductor is configured to

 27 store energy in the magnetic field such that the current through the inductor increases from the

 28 lower current level to the higher current level.

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  1          115.    As the direct and proximate result of Defendants’ conduct, Waymo has suffered

  2 and, if Defendants’ conduct is not stopped, will continue to suffer, severe competitive harm,

  3 irreparable injury, and significant damages, in an amount to be proven at trial. Because Waymo’s

  4 remedy at law is inadequate, Waymo seeks, in addition to damages, temporary, preliminary, and

  5 permanent injunctive relief. Waymo’s business operates in a competitive market and will continue

  6 suffering irreparable harm absent injunctive relief.

  7                                      FIFTH CAUSE OF ACTION
  8                                  Infringement of Patent No. 9,086,273
                                           (Against All Defendants)
  9
             116.    Waymo incorporates all of the above paragraphs as though fully set forth herein.
 10
             117.    The ’273 patent, entitled “Microrod Compression of Laser Beam in Combination
 11
      with Transmit Lens,” was duly and lawfully issued on July 21, 2015. A true and correct copy of
 12
      the ’273 patent is attached to this Complaint as Exhibit C.
 13
             118.    Waymo is the owner of all rights, title, and interest in the ’273 patent, including the
 14
      right to bring this suit for injunctive relief and damages.
 15
             119.    The ’273 patent is valid and enforceable.
 16
             120.    Defendants have infringed, and continue to infringe, literally and/or through the
 17
      doctrine of equivalents, one or more claims of the ’273 patent, including but not limited to claim
 18
      1, pursuant to 35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing
 19
      within the United States, without authority, the Accused LiDAR Devices.
 20
             121.    On information and belief, Defendants’ Accused Lidar Devices, such as those using
 21
      the Replicated Board and the Uber Custom LiDAR described in Uber’s Nevada regulatory filing,
 22
      comprise a LiDAR device with a single lens that both (i) collimates the light from one or more
 23
      light sources to provide collimated light for transmission into an environment of the LiDAR
 24
      device, and (ii) focuses the reflected light onto one or more photodetectors, and with cylindrical
 25
      lenses associated with each laser diode that pre-collimate the uncollimated laser beam.
 26
      Defendants infringe at least claim 1 of the ’273 patent for at least the following reasons:
 27

 28

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  1          122.    On information and belief, Defendants’ Accused LiDAR Devices are LiDAR

  2 devices.

  3          123.    On information and belief, Defendants’ Accused LiDAR Devices have at least one

  4 laser diode, wherein the at least one laser diode is configured to emit an uncollimated laser beam

  5 comprising light in a narrow wavelength range, wherein the uncollimated laser beam has a first

  6 divergence in a first direction and a second divergence in a second direction, and wherein the first

  7 divergence is greater than the second divergence.

  8          124.    On information and belief, Defendants’ Accused LiDAR Devices have at least one

  9 cylindrical lens, wherein the at least one cylindrical lens is configured to pre-collimate the

 10 uncollimated laser beam that has a third divergence in the first direction and a fourth divergence in

 11 the second direction, wherein the third divergence is less than the fourth divergence and the fourth

 12 divergence is substantially equal to the second divergence.

 13          125.    On information and belief, Defendants’ Accused LiDAR Devices have at least one

 14 detector, wherein the at least one detector is configured to detect light having wavelengths in the

 15 narrow wavelength range.

 16          126.    On information and belief, Defendants’ Accused LiDAR Devices have an objective

 17 lens, wherein the objective lens is configured to (i) collimate the partially collimated laser beam

 18 for transmission into an environment of the LiDAR device and (ii) focus object reflected light onto

 19 the at least one detector, wherein the object-reflected light comprises light from the collimated

 20 laser beam in the environment of the LiDAR device.

 21          127.    Defendants’ infringement of the ’273 patent has been willful and deliberate because

 22 Defendants knew or should have known about the ’273 patent and their infringement of that patent

 23 but acted despite an objectively high likelihood that such acts would infringe the patent. At least

 24 one individual who developed the Accused LiDAR Devices is a named inventor on the ’273 patent

 25 who – while a Waymo employee, and on behalf of Waymo, which owns the ’273 patent – was

 26 involved in the conception and/or reduction to practice of the ’273 patent and therefore has had

 27 knowledge of the patent since it issued in July 21, 2015.

 28

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  1          128.    As the direct and proximate result of Defendants’ conduct, Waymo has suffered

  2 and, if Defendants’ conduct is not stopped, will continue to suffer, severe competitive harm,

  3 irreparable injury, and significant damages, in an amount to be proven at trial. Because Waymo’s

  4 remedy at law is inadequate, Waymo seeks, in addition to damages, temporary, preliminary, and

  5 permanent injunctive relief. Waymo’s business operates in a competitive market and will continue

  6 suffering irreparable harm absent injunctive relief.

  7                                      SIXTH CAUSE OF ACTION
  8                           Violation of California Bus. & Prof. Code § 17200
                                           (Against All Defendants)
  9
             129.    Waymo incorporates all of the above paragraphs as though fully set forth herein.
 10
             130.    Defendants engaged in unlawful, unfair, and fraudulent business acts and practices.
 11
      Such acts and practices include, but are not limited to, misappropriating Waymo’s confidential and
 12
      proprietary information.
 13
             131.    Defendants’ business acts and practices were unlawful as described above.
 14
             132.    Defendants’ business acts and practices were fraudulent in that a reasonable person
 15
      would likely be deceived by their material misrepresentations and omissions. Defendants have
 16
      acquired and used Waymo’s confidential and proprietary trade secret information through material
 17
      misrepresentations and omissions.
 18
             133.    Defendants’ business acts and practices were unfair in that the substantial harm
 19
      suffered by Waymo outweighs any justification that Defendants may have for engaging in those
 20
      acts and practices.
 21
             134.    Waymo has been harmed as a result of Defendants’ unlawful, unfair, and fraudulent
 22
      business acts and practices. Waymo is entitled to (a) recover restitution, including without
 23
      limitation, all benefits that Defendants received as a result of their unlawful, unfair, and fraudulent
 24
      business acts and practices and (b) an injunction restraining Defendants from engaging in further
 25
      acts of unfair competition.
 26
                                            PRAYER FOR RELIEF
 27
             WHEREFORE, Waymo respectfully requests the following relief:
 28

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  1           135.   Judgment in Waymo’s favor and against Defendants on all causes of action alleged

  2 herein;

  3           136.   For damages in an amount to be further proven at trial, including trebling of all

  4 damages awarded with respect to infringement of the ’922 and ’273 patents;

  5           137.   For preliminary and permanent injunctive relief;

  6           138.   For judgment that this is an exceptional case;

  7           139.   For punitive damages;

  8           140.   For restitution;

  9           141.   For costs of suit incurred herein;

 10           142.   For prejudgment interest;

 11           143.   For attorneys’ fees and costs; and

 12           144.   For such other and further relief as the Court may deem to be just and proper.

 13                                     DEMAND FOR JURY TRIAL
 14           Waymo hereby demands trial by jury for all causes of action, claims, or issues in this
 15 action that are triable as a matter of right to a jury

 16 DATED: February 23, 2017                       QUINN EMANUEL URQUHART & SULLIVAN,
                                                   LLP
 17
                                                    By           /s/ Charles K. Verhoeven
 18
                                                          Charles K. Verhoeven
 19                                                       Attorneys for WAYMO LLC

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                        EXHIBIT A




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                                                                                                          US008836922B 1


 02)    United States Patent                                                         ( IO)   Patent No.:     US 8,836,922 Bl
        Pennecot et al.                                                              (45)    Date of Patent:     Sep.16,2014

 (54)   DEVICES AND METHODS .FOR A ROTATL~G                                              USPC ........ 356/4.01, 3.01. 4.07, 5.01 , 5.09, 9, 625,
        LIDAR PLATFORM WITH A SHARED                                                                                    356/337- 342. 28, 28.5
        TRANSMIT/RECEIVE PATH                                                            See application file for complete search history.

 (71)   Applicant: Google Inc., Mountain View, CA (US)                          (56)                         References Cited

                                                                                                    U.S. PATENT DOCUMENTS
 (72)   Inventors: Gaetan Pennecot, San Francisco, CA
                   (US): Pierre-Yves Droz , Los Altos. CA                              3.790,277    A        2/1974     Hogan
                   (US); Drew Eugene Ulrich, San                                       4.516, 158   A    *   5/ 1985    Grainge et al. ............... 348/145
                   Francisco, CA (US); Daniel Gruver,                                  4,700,301    A       10/ 1987    Dyke
                   San Franc isco. CA (US); Zachary                                    4,709,195    A       ll/ 1987    Hcllekson et al.
                                                                                       5.202.742    A        4/ I 993   Frank ct al.
                   Morriss, San Francisco, CA (US);                                    5,703,351    A       12/1997     Meyers
                   Anthony Levandowski, Berkeley. CA                                   6,046,800    A    * 4/2000       Ohtomo et al . ....... ..... 3 56/ 141.1
                   (US)                                                                6,778,732    Bl   ,. 8/2004      Fennann ......................... 385/3 1
                                                                                                               (Continued)
 (73)   Assignee: Google Inc., Mountain View, CA (US)
                                                                                               FOREJGN PATENT DOCUMENTS
 ( *)   Notice:      Subject to any disclaimer, tbe term of this
                     patent is extended or adjusted under 35                    EP                   24l0358 Al            1/ 2012
                     U.S.C. 154(b) by 0 days.
                                                                                Primary Examiner - 'Isam Alsomiri
 (21)   Appl. No.: 13/971,606                                                   Assistant Examiner - Samantha K Abrahan1
                                                                                (74) Attorney, Agent, or Firm - McDonnell Boehnen
 (22)   Filed:       Aug. 20, 2013                                              Hulbert & Berghoff LLP

 (51)   Int. Cl.                                                                (57)                          ABSTRACT
        GOJC3/08                        (2006.01)                               A LlDAR device may transmit light pulses originating from
        GOJS 17102                      (2006.01)                               one or more light sources and may receive reflected light
 (52)   U.S. Cl.                                                                pulses that are thtm detected by one or more delt.'ctors. The
        CPC ...................................... GOlS 1 7/02 (2013.01)        LIDAR device may include a lens that both (i) collimates the
        USPC ....... 356/4.01 ; 356/3.0J; 356/5.0J ; 356/5.09;                  light from the one or more light sources to provide collimated
                 356/4.07; 356/9; 356/625; 356/337; 356/342;                    light for transmission into an environment of the LIDAR
                                                       356/28; 356/28.5         device and (ii) focuses the reflected light onto the one or more
                                                                                detectors. TI1e lens may define a curved foca.l surface in a
 (58)   Field of Classification Search
                                                                                transmit path of the light from the one or more light sources
        CPC ...... G0lC 3/08; G0lC 15/002; G0lC Jl/025;                         and a curved focal surface in a receive pathoftheoneor more
                      G0l C 15/02: G0 IC 21/30: G0 IS 17/89:                    detectors. The one or more light sources may be arranged
                     G0lS 7/4817; G0 JS 17/42; G0l S 17/50;                     along the curved focal surface in the transmit path. The one or
              GOJS 17/158; GOIN 15/0205; GO.IN 15/1459;                         more detectors may be arranged along the curved focal sur-
               GOIN 21/29; G0JN 2015/ 1486; GO.I N 21/53;                       face in the receive path.
             GO! N 21/538; GOIN 2021/ 4709; GOJ N 21/ 21;
                            G0JP3/36; G01P5/ 26: G01P3/366                                        18 Claims, 11 Drawing Sheets




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                                       Housing 110

                 Transmit Block J2Q              Receive Block 130

                 ILight Sources m I                Detectors 132
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                  Exit Aperture ill I
                                                 Entrance Aperture
                                                        134




                                Shared Space 140
                          ~----------~
                           Reflective Surface 142
                          L-----------.J
           102




                                      Lens 150




                                   FIG. 1

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                                              FIG. 2


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                                    FIG. 3B


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    FIG. SA                                                                                                               I >- 508
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     FIG. 58                  508·<               ..                                 504                                                                   ◄   ......... 500
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     FIG. SC                  510-,<              ··,
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                                   FIG. 6A




           632c

                                   FIG. 6B

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                                 FIG. 7A

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                                 FIG. 7B


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                                   Right Side View




                   Front View




                   Back View                                     Top View


                                    FIG. SA


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                                FIG. 8B



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                ROTATING A HOUSING OF A LIGHT DETECTION AND
                RANGING (LIDAR) DEVICE ABOUT AN AXIS, WHEREIN
    902       THE HOUSING HAS AN INTERIOR SPACE THAT INCLUDES
      "----   A TRANSMIT BLOCK, A RECEIVE BLOCK, AND A SHARED
               SPACE, WHEREIN THE TRANSMIT BLOCK HAS AN EXIT
              APERTURE , AND WHEREIN THE RECEIVE BLOCK HAS AN
                             ENTRANCE APERTURE

                                           ,
              EMITTING, BY A PLURALITY OF LIGHT SOURCES IN THE
    904
              TRANSMIT BLOCK, A PLURALITY OF LIGHT BEAMS THAT
      ~       ENTER THE SHARED SPACE VIA A TRANSMIT PATH, THE
                   LIGHT BEAMS COMPRISING LIGHT HAVING
                   WAVELENGTHS IN A WAVELENGTH RANGE


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     ~ RECEIVING THE LIGHT BEAMS AT A LENS MOUNTED TO
                   THE HOUSING ALONG THE TRANSMIT PATH

    908                                   1'


      ~        COLLIMATING, BY THE LENS, THE LIGHT BEAMS FOR
              TRANSMISSION INTO AN ENVIRONMENT OF THE LIDAR
                                  DEVICE

                                           ,
    91 0      FOCUSING, BY THE LENS, THE COLLECTED LIGHT ONTO

      ~
               A PLURALITY OF DETECTORS IN THE RECEIVE BLOCK
                VIA A RECEIVE PATH THAT EXTENDS THROUGH THE
              SHARED SPACE AND THE ENTRANCE APERTURE OF THE
                                RECEIVE BLOCK

    91 2                       1•

      ~ DETECTING, BY THE PLURALITY OF DETECTORS IN THE
                RECEIVE BLOCK, LIGHT FROM THE FOCUSED LIGHT
               HAVING WAVELENGTHS IN THE WAVELENGTH RANGE




                                      Figure 9

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                                                        US 8,836,922 B I
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     DEVICES AND METHODS FOR A ROTATlNG                                 shared space via a transmit path. The light beams include light
           LU>AR PLATFOR1'1WITD A SHARED                                having wavelengths in a wavelength range. The method fur-
                 TRANSMCT/RECEIVE PATH                                  ther involves receiving the light beams at a lens mounted to
                                                                        the housing along the transmit path. The method further
                          BACKGROUND                                 5 involves collimating, by the Jens, the light beams for trans-
                                                                        1nissiou into au environmeut of the LIDAR device. Th.e
     Unless otherwise indicated herein, the materials described         method further involves collecting, by the lens, light from one
 in this section are not prior art to the claims in this application    or more ofthe collimated light beams reflected by one or more
 and are not admined to be prior art by inclusion in this section.      objects in the euviroll!llent of the LJDAR device. TI1e method
     Vehicles can be configured to operate in an autonomous to further involves focusing, by the lens, the collected light onto
 mode in which the vehicle navigates through an environment             a plurality of detectors in the receive block via a receive path
 with lin le or uo input from a driver. Such autouomous                 that exteuds through the shared space and the eutrance aper-
 vehicles can include one or more sensors that are configured           tme oft he receive block. The method further involves detect-
 to detect infomiation about the environment in which the               ing, by the plurality of detectors in the receive block, light
 vehicle operates.                                                   15 from the focused light having wavelengths in the wavelength
     One such sensor is a light detection and ranging (LIDAR)           range.
 device. A LlDAR can estimates distance to enviro11lllental                These as well as other aspects, advantages, and alterna-
 features while scanning through a scene to assemble a "point           tives, will become apparent to those of ordinary skill in the art
 cloud" indicative of reflective surfaces u1 the euvirom11en1.          by reading the foJlowing detailed description, with reference
 ludividual points in the poin t cloud can be detenuined by 20 where appropriate to the accompanying figures.
 transmitting a laser pulse and detecting a returning pulse, if
 any, reflected from an object in the enviroll!llent, and deter-                 BRIEF DESCRIPTION OF THE FIGURES
 mining the distance to the object according to the time delay
 between the transmitted pulse and the reception of the                     FlG. 1 is a block diagram of an example UDAR device.
 rel'lected pulse. A laser, or set of lasers, can be rapidly and 25         FIG. 2 is a cross-section view of an example LIDAR
 repeatedly scanned across a scene to provide continuous real-          device.
 time information on distances to reflective objects in the                 FIG. 3A is a perspective view of an example LJDAR device
 scene. Combining the measured distances and the orientation            fitted with various components. in accordance witl1 at least
 of the laser(s) while measuring each distance allows for asso-         some embodiments described herein
 ciating a three-dimensional position with each returning 30               FIG. 3B is a perspective view of the example LIDAR
 pulse. In this way, a three-dimensional map of points indica-          device shown in FIG. 3A with the various components
 tive oflocalions of reflective features in tht: t:nvironmenl can       removed to illustrate interior space of the housing.
 be generated for the entire scanning zone.                                 FlG. 4 illustrates an example transmit block, in accordance
                                                                        with at least some embodiments described herein.
                             SUMMARY                                 35    FlG. SA is a view ofan example light source, in accordance
                                                                        with an example embodiment.
     In one example, a light detection and ranging (LIDAR)                 FIG. 58 is a view of the ligbt source of FIG. SA in combi-
 device is provided that includes a housing configured to rntate        nation w ith a cylindrical lens, in accordance with an example
 about an axis. The housing has an interior space that includes         embodiment.
 a trans,nit block, a receive block, and a shared space. 111e 40           FIG. SC is another view of the light source and cylindrical
 transmit block has an exit aperture and tbe receive block bas          Jens combination of PIG. 58 , in accordance with au example
 an entrance apert11re. The LIDAR device also includes a plu-           embodiment.
 rality of light sources in the transmit block. The plurality of           FIG. 6A illustrates au example receive block, in accor-
 light sources is config11red to emit a plurality of light beams        dance with at least some embodiments described herein.
 that enter the shared space through the exit aperture and 45               FIG. 68 illustrates a side view of three detectors included
 traverse the shared space via a tra nsmit path. The light beams        in the receive block of FJG. 6A.
 include light having wavelengths in a wavelength range. The                FIG. 7A illustrates au example lens with an aspheric sur-
 LIDAR device also iJ1cludes a plurality of detectors in the            face and a toroidal surface, in accordance with at least some
 receive block. The plurality of detectors is coufig11red to            embodiments described herein.
 detect light having wavelengths in the wavelength range. The so            FIG. 78 illustrates a cross-section view ofthe example lens
 LIDAR device also includes a lens mounted to the housing.              750 shown in FIG. 7A.
 The lens is co11figured to ( i) receive the light beams via the            FIG. 8A illustrates an example LJDAR device motmted on
 transmit path. (ii) collimate the light beams for transmission         a vehicle, in accordance with at least some embodi ments
 into an enviroll!llent of the LIDAR device, (iii) collect light        described herein.
 that includes light from one or more of the collimated light ss            FlG. 8B illustrates a scenario where the LIDAR device
 beams reflected by one or more objects in the environment of           shown in FJG. 8A is scanning an euvironmeut that includes
 the LIDAR device, and (iv) focus the collected light onto the          one or more objects, inaccordancewith at least some embodi-
 detectors via a receive path that extends through the shared           ments described herein.
 space and tJ1e entrance apertu re of the receive block.                    FlG. 9 is a flowchart of a method. in accordance with at
     ln another example , a method is provided that involves 60 least some embodiments described herein.
 rotating a housing of a light detection and ranging (LIDAR)
 device about au axis. The housing has an interior space that                             DE1AILED DESCRIPTION
 includes a transmit block, a receive block, and a shared space.
 The transmit block has an exit apemire and tl1e receive block             The following deta iled description describes various fea-
 has an entrance apemire. The method further involves emit- 65 n1res and functions of the disclosed systems, devices and
 ti ng a plurality of light beiu11s by a plurality oflight somces in    methods wi th reference to the accompanying fig11res. In the
 the transmit block. The plurality of light beams enter the             figures, similar symbols identify similar components, tmless
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 context dictates otheiwise. The illustrative system, device and           may have a greater divergence in the second direction than in
 method embodiments described herein are not meant to be                   the first direction, and the exit apert11re can accommodate
 limiting. It may be readily tmderstood by those skilled in the            vertical and horizontal extents of the beams of light from the
 art that certain aspects of the disclosed systems, devices and            light sources.
 methods can be arranged and combi11ed in a wide variety of           5        Die housing mounts the transmit/receive Jens U1rough
 diITer<ml con.figurations, all of which are contemplated                  which light from the plurality o f light sources can exit the
 herein.                                                                   housing, and reflected light can enter the housing to reach the
    A light detection and rangi11g (LID.A.R) device may trans-             receive block. The transmit/receive lens can have an optical
 mit light pulses originating from a plurality of light sources            power that is sufficient to collimate tl1e light emined by the
 and may receive reflected light pulses that are then detected        10   plurality oflight sources and to focus the reflected light onto
 by a plurality ofdetectors. Within examples described herein,             the plurality of detectors in the receive block. In one example,
 a LJDAR device is provided that iucludes a transmit/receive               the tra.n smit/ receive Jens has a surface with an aspberic shape
 lens that both collimates the light from the p lura lity of light         that is at the outside of the housing, a surface with a toroidal
 sources and focuses the reflected light onto the plurality of             shape that is inside the housing, and a focal length ofapproxi-
 detectors. By using a transrn.i t/receive lens that performs both    15   mately 120 mm.
 of these fllllctious, instead of a transmit lens for collimating              1l1e plurality of detectors included in the receive block can
 and a receive lens for focusing, advantages with respect to               include, for example. avalanche photodiodes in a sealed envi-
 size, cost, and/or complexity can be provided.                            ronment tha t is filled with an inert gas, such as nitrogen. The
    1l1e LlDAR device comprises a housing that is configured               receive block can include an entrance aperture through which
 to rota te about an axis. In some examples, the axis is substan-     20   focused light from the transmit/receive lens traverses towards
 tially vertical. The housing may have an interior space that              the detectors. In some examples, the entrance aperture can
 includes various components such as a transmit block that                 include a filtering window that passes light having wave-
 includes the plurality of light sources, a receive block that             lengths within the wavelength range emitted by the plurality
 includes the plurality of detectors, a shared space where emit-           of lig ht sources and attenuates light having other wave-
 ted light traverses from the transmit block to the transm.it/        25   lengths.
 receive lens and reflected light traverses from the transmit/                 The collimated light transmitted from the LJDAR. device
 receive lens to the receive block, and the transmit/receive lens          into the environment may reflect from one or more objects in
 that collimates the emitted light and focuses the reflected               the environment to provide object-reflected light. Tue trans-
 light. By rotating the housing that includes the various com-             mit/receive lens may collect the object-reflected light and
 ponents, in some examples, a three-dimensional map of a              30   focus the object-reflected light th.rough a focusing path ("re-
 360-degree field of view of an enviromnent of the LIDAR                   ceive path") onto the p lurality ofdetectors. In some examples,
 device can be detennined without frequent reca libration of               the receive path may include a reflective surface that directs
 the arrangement of the various components.                                the focused light to tbe plurality of detectors. Additionally or
    lD some examples. the housing may include radio fre-                   al ternatively. the reflective surface can fold the focused light
 quency (RF) and optical shielding between the transmit block         35   towards the receive block and thus provide space savings for
 and the receive block. For example, the housing can be                    the shared space and the housing of the LIDAR device.
 formed from and/or coated by a metal, metallic ink, or metal-                 In some examples. the reflective surface may define a wall
 lic foam to provide the RF shielding. Metals used for shield-             that includes the exit aperture between the transmit block and
 ing can include, for example, copper or nickel.                           the shared space. ln th is case, the exit aperture of the transmit
    Il1e plurality oflight sources included in the transmi t b lock   40   block corresponds to a transparent and/or non-reflective por-
 can include, for example, laser diodes. In one example, the               tion oftbe reflective surface. The transparent portion can be a
 light sources emit light with wavelengths of approximately                hole or cut-away portion of the reflective surface. Alterna-
 905 nm. In some examples, a transmit path through which the               tively, the reflective surface can be formed by forming a layer
 transmit/receive lens receives the light emitted by the light             of reflective material on a transparent substrate (e.g.. glass)
 sources may include a reflective element, such as a mirror or        45   and the transparent portion can be a portion of the substrate
 prism. By including the reflective element, the transmit path             that is not coated with the reflective material. Thus, the shared
 can be folded to provide a smaller size of the transmit block             space can be used for both the transmit path and the receive
 and, hence, a smaller housing of the LJDAR device. Addi-                  path. ln some examples, the transmit path at least partially
 tionally, the transmit path includes an exit aperture of the              overlaps the receive path in the shared space.
 transmit block through which the emitted light enters the            so       The vertical and horizontal extents of the exit aperture are
 shared space and traverses to the transmit/receive lens.                  sufficient to accommodate the beam widths of the emitted
    In some examples, each light source of the plurality ofligh t          light beams from the light sources. However, the non-reflec-
 sources includes a respecrive lens, such as a cylindrical or              tive namre of the exit apem1 re prevents a portion of the
 acylindrical lens. The light source may emit an uncollimated              collected and focused light in the receive path from reflecting,
 light beam that diverges more in a first direction than in a         55   at the reflective surface, towa rds the detectors in the receive
 second direction. In these examples. the light source's respec-           block. Thus. reducing the beam widths of the emitted light
 tive lens may pre-collimate the uncollimated light beam in the            beams from the transmit blocks is desirable to minimize the
 first direction to provide a partially collimated light beam,             size of the exit aperture and reduce the lost portion of the
 thereby reducing the divergence in the first direction. In some           collected light. ln some examples noted above, the reduction
 examples, the partially collimated light beam diverges less in       60   of the beam widths traversing through the exit aperture can be
 the first direction than in the second direction. The transmit/           achieved by partially collimating the emitted light beams by
 receive lens receives the partially coll irnated light beams from         including a respective lens, such as a cylindrical or acyliudri-
 the one or more light sources via an exit apern1re of the                 cal lens, adjacent to each light source.
 transmit block and the transmit/receive Jens collimates the                   Additionally or alternatively, to reduce the beam widths of
 partially collimated light beams to provide collimated light         65   the emitted light beams, in some examples, the transmit/
 beams that are tra.nsmitted into the environment of the LJOAR             receive lens can be configured to define a focal surface that
 device. ln this example, the l ight emitted by the light sources          has a substantial curvature in a vertical plane and/or a hori-

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 zontal plane. For example , the transmit/receive Jens can be             focused light 108. The reflected light 106 comprises light
 configured lo have the aspheric surface and the toroidal sur-            from the collimated light bcru11s 104 that was reflected by the
 face described above that provides the curved focal surface              one or more objects in the enviromn ent of the LIDAR device
 along the vertical plane and/or the horizontal plane. In th.is           100. The emitted light beruns 102 and the focused light 108
 configuration, the light sources in the transmit block can be       5    traverse in the shared space 140 also included iu the housiug
 arranged along the transmit/receive lens' curved focal surface           110. lo some examples, tbe em itted light beams 102 are
 in the transmit block, and the detectors in the receive block            propagating in a transmit path through the shared space 140
 can be arra11ged on the transmit/receive Jens' curved focal              and the focused light 108 are propagating in a receive path
 surface in the receive block. Tlrns, the emitted light beams             through the shared space 140. l n someexrunples, the transmit
 from the light sources arranged along the curved focal surface      10   path a t least partially overlaps the receive path in the shared
 can converge into the exit aperture having a smaller size than           space 140. The LI DAR device 100 can determine au aspect of
 an aperttire for light beams that are substantially parallel             the one or more objects (e.g., location. shape, etc.) in the
 and/or d iverging.                                                       environment of the LIDAR device 100 by processing the
    To facilitate such curved arrangement of the light sources,           focused light 108 received by the receive block 130. For
 in some examples. the light sources can be mounted on a             15   exrunple. the LIDAR device 100 Cail compare a time when
 curved edge ofone or more vertically-oriented printed circuit            pulses included in the emitted light beams 102 were emitted
 boards (PCBs), such I hat the curved edge oft he PCB su bstan-           by the transmit block 120 with a time when corresponding
 tia!Jy matches the curvature of the focal sw-face in the vertical        pulses included in the focused light 108 were received by the
 plane of the PCB. Jn this example. the one or more PCBs can              receive block 130 and detennine the d istance between the one
 be mounted iu the transmit block along a horizontal curvature       20   or more objects and the LIDAR device 100 based on the
 that substantialJy matches the curvature of the focal surface in         comparison.
 the horizontal plane of the one or more PCBs. For example,                  The housing 110 included in the LIDAR device 100 Cail
 the transmit block cru1 include four PCBs, with each PCB                 provide a platfonn for mounting the various components
 mounting sixteen light sources. so as to provide 64 light                included in the LIDAR device 100. The housing 110 can be
 sources along the curved focal plru1e of the transmit/receive       25   formed from any material capable of supporting the various
 lens in the transmit block. in this example, the 64 light sources        components of the LI DAR device 100 included in an interior
 are arranged in a pattern substantially corresponding to the             space of the housing 110. For example, tbe housing 110 may
 curved focal surface defined by the trruismit/receive lens such          be formed from a stnictural material such as plastic or metal.
 that the emitted light beams converge towards the exit aper-                Jn some examples, the housing 110 can be configured for
 ture of the transmit block.                                         30   optical shielding to reduce ambient light and/or unintentional
    For the receive block, in some examples, the plurality of             transmission of the emitted light beams 102 from the transmit
 detectors can be disposed on a flexible PCB that is mounted to           block 120 to the receive block 130. Optical shielding from
 the receive block to conform with the shape of the transmit/             ambient light of the environment of the LlDAR device 100
 receive lens' focal surface. For example, the flex ible PCB              can be achieved by forming and/or coating the outer surface
 may be held between two clamping pieces that have surfaces          35   of the housing 110 with a material that blocks the ambient
 corresponding to the shape of the focal surface. Additionally,           light from the environment. Additionally, i11t1er surfaces of
 in this example. each of the plurality of detectors can be               the housing 110 cru1 include and/or be coated with the mate-
 arranged on the flexible PC B so as to receive focused light             rial described above to optically isolate the transmit block 120
 from the transmit/receive lens tha t corresponds to a respective         from the receive block 130 to prevent the receive block 130
 light source of the plurality of light sources. In this example,    40   from receiving the emitted light beams 102 before the emitted
 the detectors can be arranged in a paltern substantially corre-          light beams 102 reach the lens 150.
 sponding to the curved focal surface of the trruismit/ receive              In some examples, the housing 110 can be configured for
 lens in the receive block. Thus, in this example, the transmit/          electromagnetic shielding to reduce electromagnetic noise
 receive lens can be configured to focus onto each detector of            (e.g.. Radio Frequency (RF) Noise, etc.) from runbient envi-
 the plurality of detectors a respective portion of the collected    45   ronment of the LIDAR device 110 ru1d/or electromagnetic
 light that comprises light from the detector's corresponding             noise between the trruismit block 120 and the receive block
 light source.                                                            130. Electromagnetic shielding can improve quality of the
    Someemboclinwnts of the present disclosure therefore pro-             ern.itted light beams 102 emitted by the transmit block 120
 vide systems and methods for a LIDAR device that uses a                  and reduce noise in signals received and/or provided by the
 shared transmit/receive lens. In some examples, such LI DAR         so   receive block 130. Electromagnetic shielding can be achieved
 device can include the shared Jens configured to provide a               by forming and/or coating the housing 110 with a material
 curved focal plane for transmitting light sources ruid receiv-           that absorbs electromagnetic mcliation such as a metal, metal-
 ing detectors such that 1ight from the light sources passes              lic ink, metallic foam. carbon forun, or any other material
 through a small exit aperture included in a reflective surface           configured to absorb electromagnetic radiation. Metals that
 that reflects collected light towards the detectors.                55   can be used for the electromagnetic shielding can include for
    FIG. 1 is a block diagrrun of an example LIDAR device                 example, copper or nickel.
 100. The LIDAR device 100 comprises a housing 110 that                      In some examples, the housing 110 Cail be configured to
 houses an arrangement ofvarious components included in the               have a substantially cylindrical shape aild to rotate about an
 LJDAR device 100 such as a transmit block 120, a receive                 axis of the UDAR device 100. For example, the housing 110
 block 130, a shared space 140, and a lens 150. The LIDAR            60   can have the su bstantially cylindrical shape with a diameter of
 device 100 includes the arrangement of the various compo-                approximately l O centimeters. In some examples, the axis is
 nents that provide emitted light beams 102 from the transmit             substantially vertical. By ro tating the housing 110 that
 block 120 that are collimated by the lens 150 and transmitted            includes the various components, in some examples. a three-
 to an environment of the LIDAR device 100 as collimated                  dimensional map of a 360 degree view of the environment of
 light beams 104. ruid collect reflected light 106 from one or       65   the LIDAR device 100 can be determined without frequent
 more objects in the enviromn ent oft he LlDAR device 100 by              recalibration ofthe arrangement of the various components of
 the lens 150 for focusing towards the receive block 130 as               the UDAR device 100 . Additionally or alternatively. the
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 LIDAR device 100 can be configured to tilt the axis of rota-             in other locations. For example, although ilJustrated that the
 tion of the housing 110 to control the field of view of the              exit apert11re 124 is included in the transmit block 120, the exit
 LIDAR device 100.                                                        aperture 124 can be physically included in both the transmit
    Although not illustrated in FIG. 1, the LIDAR device 100              block 120 and the shared space 140. For example, the transmit
 can optionally include a mouming structure for tbe bousing          5    block 120 and the shared space 140 can be separated by a wall
 110. ·me mounting structure can include a motor or other                 that includes the exit aperture 124. 1n this case. the exit
 means for rotating the housing 110 about the axis of the                 aperture 124 can correspond to a transparent portion of the
 LIDAR device 100. Alternatively, the mounting structure can              wall. ln one example, the transparent portion can be a hole or
 be included in a device and/or system other than the LIDAR               cut -away portion ofthe wa II. l n another exam pie, the wall can
 device 100.                                                         10   be formed from a transparent substrate (e.g ., glass) coaled
    ln some examples, the various components of the LIDAR                 with a non-transparent material, and the exit aperture 124 can
 device 100 such as the transmit block 120, receive block 130,            be a portion oftl1e substrate that is not coated with the non-
 and the lens 150 can be removably mounted to the housing                 transparent material.
 110 in predetermined positions to reduce burden of calibrat-                 In some exrunples of the LIDAR device 100, it may be
 ing the arrangement of each component and/or subcompo-              15   desirable to minimize size of tl1e exit aperture 124 while
 nenls included in each component. Tirns, the housing 110                 accommodating the vert ical and horizontal extents of the
 provides the platform for tbe various components of the                  plurality of light beams 102. For example, minimizing the
 LIDAR device 100 for ease of assembly, maintenance, cali-                size oftbe exit aperture 124 can improve the optical shielding
 bration, and manufactwe of the LIDAR device 100.                         of the light sources 122 described above in the functions oft he
    'Il1e transmjt block 120 includes a plurality oflight sources    20   housing110.Additiona11y or alternatively, the wa ll separating
 122 that can be configured to emit the plurality of emitted              the transmit block 120 and the shared space 140 can be
 light beams 102 via an exit aperture 124. In some examples,              arranged along the receive path of the focused light 108. and
 each of the plurality of emitted light beams 102 corresponds             thus, lbe exit aperture 124 can be minimized to allow a larger
 to one of the plurality oflight sources 122. The transmit block          portion of the focused light 108 lo reach the wal l. For
 120 can optionally include a mirror 126 along the transmit          25   example, tbe wall can be coated with a reflective material
 patb of the emitted light beams 102 between the light sources            (e.g., reflective surface 142 in shared space 140) and the
 122 and the exit aperture 124.                                           receive path can include reflecting the focused light 108 by
    The light sources 122 can include laser diodes, light emit-           the reflective materiuJ towards the receive block 130. In this
 ting diodes (LED), vertical cavity surface emitting lasers               case, minimizing the size of the exit aperture 124 can allow a
 (VCSEL), organic light emitting diodes (OLED), polymer              30   larger portion of the focused light 108 to reflect off the reflec-
 light emitting diodes (PLED), light emitting polymers (LEP),             tive material that the wall is coated with.
 liquid crystal displays (LC D). microelectromechanical sys-                  To minimize the size of the exit aperture 124, in some
 tems (MEMS), or uny other device configured to selectively               examples, the divergence of the emitted ljgbl beams 102 can
 transmit, reflect, and/or emit light to provide the plurality of         be reduced by partially collimating the uncollimated light
 emitted light beams 102. In some examples, the light sources        35   beams emitted by the light sources 122 to minimjze the ver-
 122 can be configured to emit the emitted light beums 102 in             tical und horizontal extents of the emitted light beams 102 and
 a wavelength range that can be detected by detectors 132                 thus minimize the size of the exit aperture 124. For example,
 included in the receive block 130. The wavelength range                  each light source of the plurality of light sources 122 can
 could, for example, be in the ullraviolel, visible. and/or infra-        include a cylindrical lens arranged adjacent to the light
 red portions of the electromagnetic spectrnm. In some               40   source. The light source may emit a corresponding uncolli-
 examples, the wavelength range can be a narrow wavelength                mated light beam that diverges more in a first direction than in
 range, such as provided by lasers. In one example, the wave-             a second direction. The cylindrical lens may pre-collimate the
 length range includes wuvelengths that are approximately                 uncollimated light beam in the first direction to provide a
 905 nm.Additionally, the light sources 122 can be configured             partially collimated light beam. thereby reducing the diver-
 lo emit the emitted light beams 102 in the fonn of pulses. l n      45   gence in the first direction. In some examples, the partially
 some examples, the plurality of light sources 122 can be                 collimated light beam diverges less in the first direction than
 disposed on one or more substrates (e.g., printed circuit                in the second direction. Similarly, uncollimated light beams
 boards (PCB), flexible PCBs, etc.) and arranged to em.it the             from other light sources of the plurality of light sources 122
 plurality of light beams 102 towards the exit aperture 124.              can have a reduced beam width in the first direction and thus
    In some examples, the plural ity of light sources 122 cru1 be    so   the emitled light beams 102 can have a smaller divergence
 configured to emit uncollimated light beams included in the              due to the partially collimated light beams. In this example, at
 emitted light beams 102. For example, the emitled light                  least one of the vertical and horizontal extents of tJ1c exit
 beams 102 can diverge in one or more directions along the                aperture 124 can be reduced due to partially collimating the
 transmit path due to the uncollimated light beums emitted by             light beams 102.
 the plurality of light sources 122. 1n some examples, vertical      55       Additionally or alternatively. 10 minimize the size of the
 and horizontal extents of the emitted light beums 102 at any             exit apern1re 124, in some examples, the light sources 122 can
 position along the transmit path can be based on an extent of            be urranged along a substantially curved surface defined by
 the divergence ofthe uncollimated light beams emitted by the             the transmit block 120. The curved surface can be configured
 plurality of light sources 122.                                          such that the emitted light beams 102 converge towards the
    TI1e exit aperture 124 arranged along the transmit path of       60   exit apern1rc 124, and thus the vertical and horizontal extents
 the emitted light beams 102 can be configured to accommo-                of the emitted light beams 102 at the exit apertlu-e 124 can be
 date the vertical and horizontal extents of the plurality oflight        reduced due to the am1ugement of the light sources 122 along
 beams 102 emitted by the plurality oflight sources 122 at the            the curved surface of the transmit block 120. In some
 exit aperture 124. It is noted that the block diagram shown in           examples, the curved surface of the transmit block 120 can
 FIG. 1 is described in collllection with functional modules for     65   include a curvature along the first direction of divergence of
 conveuience in description. However, tbe functional modules              the emitted light beams 102 and a curvature along the second
 in the block diagram ofFJG. l can be physically implemented              di rection of divergence of the emitted light beams 102, such

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 that the plurality of light beams 102 converge towards a                a flexible substrate (e.g., flexible PCB) and arranged along the
 central area in front of the plurality oflight sources 122 along        curved surface of the flexible substrate to each receive
 the tra nsmit path.                                                     focused light originating from a corresponding light source of
    To facilitate such curved arrangement of the light sources           the light sources 12 2. 1n tltis example, t11e flexible substrate
 122, in some examples, the light sources 122 can be disposed       5    may be held between two clamping pieces that have surfaces
 on a flexible substrate (e.g., flexible PCB) having a curvature         corresponding to tl1e shape of the curved surface of the
 along one or more directions. For example, the curved flex-             receive block 130. Thus. in iliis example, assembly of the
 ible substrate can be curved along the first direction of diver-        receive block 130 can be simplified by sliding the flexible
 gence of the emitted light beams 102 and t11e second direction          substrate 011to the receive block 130 and using the two clamp-
 of divergence of the emitted light beams 102 . Additiona lly or    10   ing pieces to hold it al ilie correct curvature.
 alternatively, to facilitate such curved arrangement of the                The focused light 108 traversing along t11e receive path can
 light sources 122, in someexan1ples. the light sources 122 cau          be received by the detectors 132 via the entrance aperture 134.
 be disposed on a curved edge of one or more vertically-                 lu some examples, the entrance apert11re 134 can include a
 oriented printed circuit boards (PCBs), such that the curved            filtering window that passes light having wavelengths w ithin
 edge of the PCB substantially matches the curvature of the         15   the wavelength range entitled by tlle plurality of light sources
 first direction (e.g., the vertical plane of the PC B). In this         122 and attenuates light havi ng other wavelengths. In this
 exan1plc, the one or more PCBs can be mounted in the trans-             example, the detectors 132 receive the focused light 108
 mit block 120 along a horizontal curvamre that substantially            substantially comprising light having tl1e wavelengths witllin
 matches the curvature of the second direction (e.g ., the bori-         the wavelength range.
 zoutal plane of the one o r more PCBs). For example, the           20      In some examples, the plurality of detectors 132 included
 transmit block 120 can include four PCBs, with each PCB                 in the receive block 130 can include, for example, avalanche
 mounting sixteen light sources. so as to provide 64 light               photodiodes in a sealed environment that is filled with the
 sources along the curved surface of the transmit block 120. Ju          inert gas 136. The inert gas 136 may comprise, for example,
 this example. the 64 light sources are arranged in a pattern            nitrogen.
 such that ilie emitted light beams 102 converge towards t11e       25      The shared space 140 includes tlle transmit path for the
 exit aperture 124 of the transmit block 120.                            emitted light beams 102 from ilie transmit block 120 to the
    1l1e transntit block 120 can optionally include the ntirror          lens 150. and includes the receive path for the focused light
 126 along the transntit path of the emitted light beams 102             108 from the lens 150 to the receive block 130 . In some
 between the light sources 122 and the exit aperture 124. By             examples, the transmit path at least partially overlaps with the
 including the mirror 126 in the transmit block 120. the trans-     30   receive path in the shared space 140. By including the trans-
 mit path of tlle emitted light beams 102 can be folded to               mit path and the receive path in the shared space 140, advan-
 provide a smaller size of the transmit block 120 and the                tages with respect to size, cost. and/or complexity of assem-
 housing 110 of the LJDAR device 100 than a size of another              bly, manufacture, and/or maintenance of tl1e LIDAR device
 transmit block where tbe transmit path that is not folded.              100 can be provided.
    The receive block 130 includes a plurality of detectors 132     35      In some examples, t11e shared space 140 can include a
 that can be configured to receive the focused light 108 via an          reflective surface 142. The reflective surface 142 can be
 entrance aperture 134 . ln some examples. each ofthe plurality          arranged along the receive path and configured to reflect the
 of detectors 132 is configured and arranged to receive a por-           focused light 108 towards t11e entrance aperture 134 and onto
 tion of the focused light 108 corresponding lo a light beam             the detectors 132. The reflective surface 142 may comprise a
 emitted by a corresponding light source of the p lurality of       40   prism, mirror or any other optical element configured to
 light sources 122 and reflected ofrhe one or more objects in            reflect the focused light 108 towards the entrance aperture
 ilie environment of the LI DAR device 100. The receive block            134 in the receive block 130. In some examples where a wall
 130 can optionally include the detectors 132 in a sealed envi-          separates ilieshared space 140 from the transmit block 120. ln
 rolllllent having an inert gas 136.                                     these examples. the wall may comprise a transparent sub-
    1l1e detectors 132 may comprise photodiodes, avalanche          45   strate (e.g., glass)and the reflective surface 142 may comprise
 photodiodes, phototransistors, cameras, active pixel sensors            a reflective coating on the wall with an tmcoated portion for
 (APS). charge coupled devices (CCD), cryogenic detectors,               the exit aperture 124.
 or any other sensor o:flight configured to receive focused light           In embodiments incl uding the reflective surface 142, the
 108 having wavelengths in the wavelength range of the entit-            reflective surface 142 can reduce size of the shared space 140
 ted light beams 102.                                               so   by folding ilie receive path sintilarly to the mirror 126 in the
    To facilitate receiving, by each of the detectors 132, the           trausntit block 120. Additionally or alternatively, in some
 portion oftbc focused light 108 from the corresponding light            examples, the reflective surface 142 can direct the focused
 source of the plurality oflight sources 122. the detectors 132          light 103 to the receive block 130 fmt her providing flexibility
 can be disposed on one or more substrates a11d arranged                 to the placement oftlle receive block 130 in the housing 110.
 accordingly. for example, the light sources 122 can be             55   for example. varying the tilt of the reflective surface 142 can
 arranged along a curved surface ofthe transntit block 120, and          cause the focused light 108 to be reflected to various portions
 the detectors 132 can also be arranged along a curved surface           of the interior space oftlle housing 110, and ilius tlle receive
 of the receive block 130. 1l1e curved surface of the receive            block 130 can be placed in a corresponding position in the
 block 130 cau similarly be curved along one or more axes of             housing 110. Additionally or alternatively, in this example,
 the curved surface of the receive block 130. Thus, each of the     60   the LIDAR device 100 can be calibrated by varying ilie tilt of
 detectors 132 are configured to receive light that was origi-           the reflective surface 142.
 nally emitted by a corresponding light sourceofilie plurality              The lens 150 mounted to ilie housing 110 can have an
 of light sources 122.                                                   optical power to both collimate the entitted light beams 102
    To provide the curved surface of the receive block 13 0, ilie        from the light sources 122 in the transntit block 120, and
 detectors 132 can be disposed on the one or more substrates        65   focus the reflected light 106 from the one or more objects in
 similarly to the light sources 122 disposed in the transmit             the enviro1m1ent of the LIDAR device 100 onto rhe detectors
 block 120. For example, the detectors 132 can be disposed on            132 in the receive block 130. In one example, the lens 150 has
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 a focal length of approximately 120 mm. By using the same                laser diodes that emit the plurality of light beams 202a-c
 lens 150 to perform both of these fm1ctions, instead of a                having the wavelcng1hs withi n the wavelength range. The
 trans mfr lens for collimating and a receive lens for focusing,          plurality of light beams 202a-c are reflected by mirror 224
 advantages with respect to size, cost, and/or complexity can             through an exit apertme 226 into the shared space 240 and
 be provided. ln some examples, collimating the emitted light        5    towards the lens 250. The structure, function, and operation of
 beams 102 to provide the collimated light beams 104 allows               the plurality oflight sources 222a-c, the mirror 224, and the
 determining the distance travelled by the collimated light               exit aperture 226 can be similar, respectively, to the plurality
 beams 104 to the one or more objects in the environment of               oflight sources 122, the mirror 124, and the exit apert11re 226
 the LlDAR device 100.                                                    discussed in the description of the LJDAR device 100 of FIG .
    In an example scenario, the emitted light beams 102 from         10   l.
 the light sources 122 traversing along the transmit path can be              Although FIG. 2 shows that the curved focal surface 228 is
 collimated by the Jens 150 to provide the collimated light               curved in the x-y plane (horizontal plm1e), additionally or
 beams 104 to the environment of the L1DAR device J00. ·nie               alternatively, the plural ity of light sources 222a-c may be
 collimated light beams 104 may then reflect off the one or               arranged along a focal surface that is curved in a vertical
 more objects in the envirolllllent of the LIDAR device 100 and      15   plane. For example, the curved focal surface 228 can have a
 return to the lens 150 as the reflected light 106.111e lens 150          curvature in a vertical plane, and the plurality oflight sources
 may then collect and focus the reflected light 106 as the                222a-c can include additional light sources arranged verti -
 focused light 108 onto the detectors 132 included in the                 cally along the curved focal surface 228 and configured to
 receive block 130. ln some examples, aspects of tbe one or               emit light beams directed at the mirror 224 aud reflected
 more objects in the environment of the LJ DAR device 100 can        20   through tbe exit aperture 226.
 be determined by comparing tbe emitted light beams 102 with                  Due to the arrangement of the plurality of light sources
 the focused light beams 108. The aspects can include, for                222a-c along the curved focal surface 228, the plurality of
 example, distance, shape, color, and/or material of the one or           light beams 202a-c, in some examples. may converge towards
 more objects. Additionally, in some examples, rotating the               the exit aperture 226. Thus, in these examples, the exit aper-
 housing 110, a three dimensional map of the surroundings of         25   ll1re 226 may be minimally sized while being capable of
 the LIDAR device 100 can be determined.                                  accommodating vertical and horizontal extents of the plural-
    1u some examples where the plurality of light sources 122             ityoflight beams 202a-c. Additionally, in some examples, the
 are arranged along the curved surface of the transmit block              curved focal surface 228 can be defined by the lens 250. For
 120, the lens 150 can be configured to have a focal surface              example, the curved focal surface 228 may correspond to a
 correspo nding to the curved surface of the transmit block 120.     30   focal surface of the lens 250 due to shape and composition of
 For example, the lens 150 can include an a.spheric surface               the lens 250. In this exan1ple, the plurality of light sources
 outside the housing 110 and a toroidal srn·face inside the               222a-c can be a,·ranged along the focal surface defined by the
 housing 110 facing the shared space 140. In this example. the            lens 250 at the transmit block.
 shape of the lens 150 a llows the lens 150 to both collima te the            Tbe plurality oflight beams 202a-c propagate in a transmit
 emitted light beams 102 and focus the reflected light 106.          35   path that extends through the transmit block 220, the exit
 Additionally, in this exan1ple, the shape of the lens 150 allows         aperture 226, and the shared space 240 towards the lens 250.
 the lens 150 to have the focal surface corresponding to the              The lens 250 collimates the plurality oflight beams 202a -c to
 curved surface of the transmit block 120. In some examples,              provide collimated light beams 204a-c into an environment of
 the focal surface provided by the lens 150 substan1ially                 the LIDAR device 200. The collimated light beams 204a-c
 matches the curved shape of !he tra11smit block 120. Addi-          40   correspond. respectively, to the plurality oflight beams 202a-
 tionally, in some examples, the detectors 132 can be arranged            c. In some examples, the collimated light beams 204a-c
 similarly in the curved shape of the receive block 130 to                reflect off one or more objects in the enviroJllllent of the
 receive the focused light 108 along the curved focal surface             LIDAR device 200 as reflected light 206. The reflected light
 provided by !he lens 150. Thus, in some examples, the curved             206 may be focused by the lens 250 into the shared space 240
 surface of the receive block 130 may also substantially match       45   as focused light 208 traveling along a receive path that
 the curved focal surface provided by the lens 150.                       extends through the shared space 240 onto the receive block
    FIG. 2 is a cross-section view ofan example LI DAR device             230. For example, the focused light 208 may be reflected by
 200. In this example, the LJDA.R device 200 includes a hous-             the reflective surface 242 as focused light 208a-c propagating
 ing 210 that houses a transmit block 220, a receive block 230,           towards the receive block 230.
 a shared space 240, and a lens 250. For purposes of illustra-       so       The lens 250 may be capable of both collimating the plu-
 tion, FIG. 2 shows an x-y-z axis, in which the z-axis is in a            rality of light beams 202a-c and focusing the reflected light
 substantially vertical direction and 1he x-axis and y-axis               206 along the receive path 208 rowards the receive block 230
 define a substantially horizoura I plane.                                due to shape and composition of the lens 250. For example,
    TI1e stnictllre, function, and operatio11 of various compo-           the lens 250 can have an a.spheric surface 252 facing o utside
 nents included in the LI DAR device 200 are similar to corre-       55   of the housing 210 and a toroidal surface 254 facing the
 sponding components included in the LIDAR device 100                     shared space 240. By using the same lens 250 to perform both
 described in FIG. I. For exan1ple, the housing 210, the trans-           of these fi.mctions, instead of a transmit lens for collimating
 mit block 220, the receive block 230. the shared space 240,              and a receive lens for focusing, advantages with respect to
 and the lens 250 are similar, respectively, to the housing 110,          size, cost, and/or complexity can be provided.
 the lransmit block 120, the receive block 130, and the shared       60       lbe exit aperture 226 is included in a wall 244 that sepa-
 space 140 described in FIG. l.                                           rates the transmit block 220 from the shared space 240. In
    "!be transmit block 220 includes a plurality oflight sources          some examples, the wall 244 can be formed from a transpar-
 222a -c arranged along a curved focal surface 228 defined by             ent material (e.g., glass) that is coated with a reflective mate-
 the lens 250. The plurality of light sources 222a-c can be               rial 242. ln this example, the exit aperture 226 may corre-
 configured to emit, respectively, the plurality of light beams      65   spond to the portion of the wall 244 that is not coated by the
 202a-c having wavelengths within a wave length range. For                reflective material 242. Additionally or alternatively. the exit
 example, the plurality of light sources 222a-c may comprise              apertltre226 may comprise a hole or cut-away in thewall 244.

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    1l1e focused light 208 is reflected by the reflective surface         interior space of the housing 310. ·me structure, fonction, and
 242 and directed towards an entrance aperture 234 of the                 operation of the LIDAR device 300 is similar to the LJDAJ~
 receive block 230. Jn some examples, the entrance apert11re              devices 100 and 200 described. respectively, in FIGS. l and 2.
 234 may comprise a filtering window configured to aJlow                  For example, the LIDAR device 300 includes a housing 310
 wavelengths in the wavelength range of the plurality of light       5    that houses a transmit block 320, a receive block 330. and a
 beams 202a-c enutted by tbe plurality oflight sources 222a-c             Jens 350 that are similar, respectively, to the housing 110, the
 and attenuate other wavelengths. The focused light 208a -c               transmit block 120, the receive block 130, and the lens 150
 reflected by the reflective surface 242 from the focused light           described in FIG. 1. AdditionaUy, collimated light beams 304
 208 propagates, respectively, onto a plurality of detectors
                                                                          propagate from the lens 350 toward an environment of the
 232a-c. The strncture, function, and operation ofrhe entrance       10
                                                                          LID.A.R device 300 and reflect of one or more objects in the
 apert11re 234 and the plurality of detectors 232a-c is similar,
                                                                          envirollillent as reflected light 306, similarly to the collimated
 respectively, to the entrance aperture 134 and the plurality of
                                                                          light beams 104 and reflected light 106 described in FIG. 1.
 detectors 132 included in the L!DAR device 100 described in
 FJG. l.                                                                     The LIDAR device 300 can be mounted on a mounting
    The plurality of detectors 232a-c can be arranged along a        15
                                                                          structure 360 and ro1ated about atl axis to provide a 360
 curved focal surface 238 of the receive block 230. Allhough              degree view of the environment surrounding the LIDAR
 FlG. 2 shows that the curved focal surface 238 is curved along           device 300. In some examples, the mounting stmcture 360
 the x-y plane (horizontal plane), additionally or alternatively,         may comprise a movable platform that may tilt in one or more
 the curved focal surface 238 can be curved in a vertical plane.          directions to change the axis ofrotation oftbe LJDAR device
 The curvature of the focal surface 238 is also defined by the       20   300.
 lens 250. For example, the curved focal surface 238 may                     As illustrated in FIG. 3B, the various components of the
 correspond to a focal surface of the light projected by the lens         LIDAR device 300 can be removably mounted to the housing
 250 along the receive path at the receive block 230.                     310. For example, the transmit block 320 may comprise one
    Each of the focused light 208a-c corresponds. respectively,           or more printed circuit boards (PCBs) that are fitted in the
 to the emitted light beams 202a-c and is directed onto, respec-     25   portion of the housing 310 where the transmit block 320 can
 tively, the plurality of detectors 232a-c. For example, the              be mounted. Additionally, the receive block 330 may com-
 detector 232a is configured and arranged to received focused             prise a plurality of detectors 332 mounted to a flexible sub-
 light 208a that corresponds to collimated light beam 204a                strate and can be removably mounted to the housing 310 as a
 reflected of the one or more objects in the envirollillent of the        block that includes the plurality of detectors. Similarly, the
 LIDAR device 200. In Ill.is example, the collimated light           30   lens 350 can be mounted to another side of the housing 310.
 beam 204a corresponds to the light beam 202a emitted by the                 A plurality of light beams 302 can be transmitted by the
 light source 222a. Thus, the detector 232a receives light that           transmit block 320 into the shared space 340 and towards the
 was emitted by the light source 222a, the detector 232b                  lens 350 to be collimated iJHo the collimated light beams 304.
 receives light that was emitted by the light source 222b, and            Similarly, the received light 306 ca11 be focused by the lens
 the detector 232c receives light that was emitted by the light      35   350 and directed through the shared space 340 onto the
 source 222c.                                                             receive block 330.
    By comparing the received light 208a -c with the emitted                 FJG. 4 illustrates an example transmit block 420, in accor-
 light beams 202a-c, at least one aspect of the one or more               dance with at least some embodiments described herein.
 object in the environment of the LI DAR device 200 may be                Transmit block 420 can correspond to the transmit blocks
 derermined. For example, by comparing a time when the               40   120, 220. and 320 described in FIGS. 1-3. For example, the
 plurality oflight beams 202a-c were emitted by the plurality             transmit block 420 includes a plurality oflight sources 422a-c
 of light sources 222a-c and a time when the plurality of                 similar to the plurality of light sources 222a-c included in the
 detectors 232a-c received the focused light 208a-c, a distance           transmit block 220 of FIG. 2. AdditionaJly, the light sources
 between the LIDAR device 200 and the one or more object in               422a-c are arranged along a focal surface 428, which is
 the environment of the LIDAR device 200 may be deter-               45   curved in a vertical plane. ll1e light sources 422a-c are con-
 mined. ln some examples, other aspects such as shape, color,             figured to emit a plurality oflight beams 402a-c tha t converge
 material, etc. may also be determined.                                   and propagate through a.ti exit aperture 426 in a walJ 444.
    lo some examples, the LIDAR device 200 may be rotated                    Al though the plurality of light sources 422a-c can be
 about an axis to determine a three-dimensional map of the                arranged along a focal surface 428 that is curved in a vertical
 surroundings of the LIDAR device 200. For example, the              so   plane, additionally or alternatively, the plurality of light
 LIDAR device 200 may be rotated about a substantially ver-               sources 422a-c can be arranged along a focal surface that is
 tical axis as illustrated by arrow 290. Although illustrated that        curved in a horizontal plane or a focal surface that is curved
 the LIDAR device 200 is rotated counter clock-wise about the             both vertically and horizontally. For exan1ple, the plurality of
 axis as illustrated by the arrow 290, additionally or alterna-           light sources 422a-ccan be arranged in a curved three dimen-
 tively, the LIDAR device 200 may be rotated in the clockwise        55   sional grid pattern. For example, the transmit block 420 may
 direction. In some examples, the LIDAR device 200 may be                 comprise a plurality of printed circuit board (PCB) vertically
 rotated 360 degrees about the axis. In other examples, the               mounted such that a colulllll of light sources such as the
 LIDAR device 200 may be rotated back and forth along a                   plurality of light sources 422a-c are along the vertical axis of
 portion of the 360 degree v iew of the LIDAR device 200. For             each PCB and each of the plurality of PCBs can be arranged
 example, the LIDAR device 200 may be mounted on a plat-             60   adjacent to other vertically mounted PCBs along a horizon-
 form that wobbles back and forth about the axis without                  tally curved plane to provide the three dimensional grid pat-
 making a complete rotation.                                              tern.
    FJG. 3Ais a perspectiveviewofanexample LIDAR device                      As shown in FIG. 4, the light beams 402a-c converge
 300 fined with various components, in accordance with at                 towards the exit apert11re 426 which allows the size ofthe exit
 least some embodiments described herein. FIG. 3B is a per-          65   aperture 426 to be minimized while accommodating vertical
 spective view of the exatnple LIDAR device 300 shown in                  and horizontal extents of the light beams 402a-c similarly to
 FlG. 3A with the various components removed to illustrate                the exit aperture 226 described in FIG. 2.
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    As noted above in the description of FIG. 1, the light from            FIG. 6A illustrates an example receive block 630, in accor-
 light sources 122 could be partially collimated to fit through         dance with at least some embodiments described herein. FIG .
 the exit apertme 124. FIGS. SA. 58, and SC illustrate an               68 i llustrates a side v iew of three detectors 632a-c included in
 exampleofhow such partial collimation could beachieved. ln             the receive block 630 of FIG. 6A. Receive block 630 can
 this example, a light source 500 is made up of a laser d iode     5    correspond to tbe receive blocks 130, 230, and 330 described
 502 and a cylindrical lens 504. As shown in FIG. SA, laser             in FIGS. 1-3. For example, the receive block 630 includes a
 diode 502 bas an aperture 506 with a shorter dimension cor-            plurality of detectors 632a-c arranged along a curved surface
 responding to a fast axis 508 and a longer dimension corre-            638 defined by a lens 650 similarly to the receive block 230,
 sponding to a slow axis 510. FIGS. 58 and SC show an                   the detectors 232 and the curved plane 238 described in FIG.
                                                                   10
 uncollimated laser beam 512 being emitted from laser diode             2. Focused light 608a-c from lens 650 propagates along a
 502. Laser beam 512 diverges in two directions, one direction          receive path that includes a reflective surface 642 onto the
 defined by fast axis 508 and another, generally orthogonal             detectors 632a -c similar, respectively, to the focused light
 direction defined by slow axis 510. FIG. 58 shows the diver-           208a-c, the lens 250, the reflective surface 242, and the detec-
 gence oflaser beam 512 along fast axis 508, whereas FIG . SC      15
                                                                        tors 232a-c described in FIG. 2.
 shows the d ivergence of laser beam 512 along slow axis 510.              The receive block 630 comprises a flexible substrate 680
 Laser beam 512 diverges more quickly along fast axis 508               on which the plurality of detectors 632a -c are arranged along
 than along slow axis 510.                                              the curved surface 638. The flexible substrate 680 conforms
    lD one specific example, laser diode 502 is an Osram SPL            to the curved surface 638 by being mounted toa receive block
 DL90_ 3 nanostack pulsed laser diode that emits pulses of         20   bousiJ1g 690 having the curved surface 638. As illustrated in
 light with a range of wavelengths from about 896 nm to about           FIG. 6, the curved surface 638 includes the arrangement of
 910 um (a nominal wavelength of905 run). In this specific              the detectors 632a-c curved along a vertical and horizontal
 exan1ple, the aperture has a shorter dimension of abo nt 10            axis of the receive block 630.
 microns, corresponding to its fast ax is, and a longer dimen-             FIGS. 7A and 7B illustrate an example lens 750 with an
 sion ofabout 200 microns, corresponding to its slow axis. The     25   aspheric surface 752 and a toroidal surface 754, in accordance
 divergence oftbe laser beam in this specific example is about          with at least some embodiments described herein. FIG. 7 B
 25 degrees along the fast axis and about I l degrees along the         illustrates a cross-section view of the example lens 750 shown
 slow axis. It is to be understood that this specific example is        in FIG. 7A. The lens 750 can correspond to lens 150, 250,and
 illustrative only. Laser diode 502 could have a different con-         350 included in FIGS.1-3. For example, the Jens 750 can be
 figurat io n, different aperture sizes, different beam diver-     30   cortfigured to both collimate light incident on the toroidal
 gences, and/or emit different wavelengths.                             surface 754 from a light source into collimated light propa-
     As shown in ['!GS. 513 and SC, cylindrical lens 504 may be         gating out of the asphcric srnface 752. and focus reflected
 positioned in front of apertwe 506 with its cylinder axis 514          light entering from the aspheric surface 752 onto a detector.
 generally parallel to s low axis 510 and perpendicular to fast         The strucl\1re of the lens 750 including the a.spheric surface
 axis 508. In this arrangement, cylindrical lens 504 can pre-      35   752 and the toroidal surface 754 allows the lens 750 to per-
 collimate laser bean1 512 along fast axis 508, resulting in            form both functions of collimating and focusing described in
 partially collimated laser beam 516. ln some examples. th.is           the exan1ple above.
 pre-collimation may reduce the divergence along fast axis                 In some examples, the lens 750 defines a focal sttrface of
 508 to about one degree or less. Nonetheless, laser beam 516           the light propagating through the lens 750 due to the aspheric
 is only partially collimated because the divergence along slow    40   surface 752 and the toroidal surface 754. ln these examples,
 axis 510 may be largely unchanged by cylindrical lens 504.             the light sources providing the light entering the toroidal
 Thus, whereas uncollimated laser beam 512 emitted by laser             smface 754 can be arranged along the defined focal surface,
 diode has a higher divergence along fast axis 508 than along           and the detectors receiving the light focused from the light
 slow axis 510. partially collimated laser beam 516 provided            entering the a.spheric surface 752 can a lso be arranged along
 by cylindrical lens 504 may have a higher divergence along        45   the defined focal surface.
 slow axis 510 than along fast axis 508. Further, the diver-               By using the lens 750 that perfonns both of these functions
 gences along slow axis 510 in uncollimated laser beam 512              (collimating transmitted light and focusing received light),
 and in partially collimated laser beam 516 may be substan-             instead of a transmit lens for collimating and a receive lens for
 tially equal.                                                          focusing. advantages with respect to size, cost, and/or com-
    In one example, cylindrical lens 504 is a microrod lens with   so   plexity can be provided.
 a diameter of about 600 microns that is placed about 250                  FIG. SA illustrates an example LlDAR device 810
 microns in front of apertme 506.111e material o f the micro rod        moll1lted on a vehicle 800, in accordance w ith at least some
 lens could be. for example, fused silica or a borosilicate             embodiments described herein. FlG. SA shows a Right Side
 crown glass, such as Schott BK7. Alternatively, the microrod           View, Front View, Back View, and Top View of tbe vehicle
 lens could be a molded plastic cylinder or acylinder. Cylin-      55   800. Although vehicle 800 is illustrated in FIG. 8 as a car,
 drical lens 504 could also be used to prov ide magnification           other examples are possible. For instance. the vehicle 800
 along fast axis 508. For example, if the dimensions of aper-           could represent a truck, a va11, a semi-trailer truck, a motor-
 ture 506 are 10 microns by 200 microns, as previously                  cycle, a golf cart, an off-road vehicle, or a farm vehicle,
 described, and cylindrical lens 504 is a microrod lens as              among other examples.
 described above, then cylindrical lens 504 may magnify the        60      The structure, function, and operation oftbe LIDAR device
 shorter dimension (corresponding to fast axis 508) by about            810 shown in FIG. SA is similar to the example LlDAR
 20 times. This magnification effectively stretches out the             devices 100, 200, and 300 shown in FIGS. 1-3. For example,
 shorter dimension of apern1re 506 to about the same as the             the LIDAR device 810 can be configured to rotate about an
 longer dimension. As a result, when light from laser beam 516          axis and determine a three-dimensional map ofa surrounding
 is focused, for example, focused onto a detector, the focused     65   environment of the LIDAR device 810. To facilitate the rota -
 spot could have a substantially square shape instead of the            tion. the LJDAR device 810 can be mounted on a plarfonn
 rectangular slit shape of apemtre 506.                                 802. In some exmnples, the platform 802 may comprise a

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 movable mount that allows the vellicle 800 to control the axis          receive block via a receive path that extends ilirougb the
 of rotation of the LIDAR device 810.                                    shared space and the entrance aperture of the receive block.
    While the LJDAR dev ice 810 is shown to be mounted in a                 At block 912, the method 900 includes detecting, by the
 particular location on the vehicle 800, in some examples, the           plurality of detectors in the receive block, light from the
 LJDAli device 810 may be mounted elsewhere on the vehicle          5    focused light having wavelengtJ1s in the wavelength range.
 800. For example, tbe LJDAR device 8111 may be mounted                     For example, a LIDAR device such as the LIDAR device
 anywhere on top of the vehicle 800, on a side of the vehicle            200 can be rotated about an axis (block 902) . A transmit
 800, under the vellicle 800, on a hood of the vellicle 800,             block, such as the transmit block 220, can include a plurality
 and/or on a trunk of the vehicle 800.                                   of light sources tliat emit l ight beams having wavelengths in
    TI1e LID.-\R device 810 includes a lens 812 through which       to   a wavelength range, ilirough an exit aperture and a shared
 collimated light is transmitted from the LIDAR device 810 to            space to a lens (block 904). The light beams can be received
 the surrow1diog envirotunent of the LI DAR device 810, simi-            by tlrn lens (block 906) and collimated for transmission to an
 larly to the lens 150, 250, and 350 described in FIGS. 1-3.             environment of the LlDAR device (block 908). n1e colli-
 Siolilarly, the lens 812 can also be configured to receive              mated light may then reflect off one or more objects in the
 reflected light from the surrounding environment of the            15   environment ofthe LIDAR device and ret11rn as reflected light
 LIDARdcvice 810 that were reflected o!Toneor more objects               collected by U1e lens. The lens may then focus the collected
 in the surrounding environment.                                         light onto a plurality of detectors in the receive block via a
    FIG. 8B illustrates a scenario where the LIDAR device 810            receive path that extends tJuuugb the shared space and an
 shown in FIG. SA and scanning an environment 830 that                   entrance aperture of the receive block (block 910). TI1e plu-
 includes one or more objects, in accordance with a t least some    20   rality of detectors in the receive block may then detect light
 embodiments described herein. ln this example scenario,                 from the focused light having wavelengths in the wavelength
 vehicle 800 can be traveling on a road 822 in the environment           range of the emitted light beams from the light sources (block
 830. By rotating the LIDAR device 810 about the axis defined            912).
 by the platfonu 802, the LJDAR device 810 may be able to                   Within examples, devices and operation methods
 determine aspects of objects in the surrounding environment        25   described include a LIDAR device rotated about an axis and
 830, such as lane lines 824a-b. other vehicles 826a-c, and/or           configured to transmit collimated light and focus reflected
 street sign 828. Thus, the LIDAR device 810 can provide the             light. The collimation and focusing can be performed by a
 vehicle 800 with information about the objects in the sur-              shared lens. By using a shared Jens that performs both ofthese
 rounding environment 830, including distance, shape, color,             functions, instead of a transmit lens for collimating and a
 and/or material type of the objects.                               30   receive lens for focusing, advantages with respect to size,
    Fl G . 9 is a flowchart ofa method 900 ofoperating a LIDAR           cost, and/or complexity can be provided. Additionally, in
 device, in accordance with at least some embodiments                    some examples, the shared lens can define a curved focal
 described herein. Method 900 shown in FIG. 9 presents an                surface. In U1ese examples, the light sources emitting light
 embodimeDtofa metJ1od that could be used with tbe LJDAR                 through the shared lens and the detectors receiving light
 devices 100, 200, and 300, for example. Method 900 may             35   focused by the shared lens can be arranged along the curved
 include one or more operations, functions, or actions as illus-         focal surface defined by the shared lens.
 trated by one or more of blocks 902-912. Although the blocks               l t shou Id be understood that arrangements described herein
 are illustrated in a sequential order, tJ1ese blocks may in some        are for purposes of example only. As such, those skilled in the
 instances be performed in parallel. and/or in a d ifferent order        art will appreciate that other arrangements and other elements
 than those described herein. Also, the various blocks may be       40   (e.g. machines. interfaces, functions, orders, and groupings of
 combined into fewer blocks, divided into additional blocks,             functions, etc.) can be used instead, and some elements may
 and/or removed based upon ilie desired implementation.                  be omitted altogether according to tJ1e desired results. Fur-
    ln addition, for the method 900 and other processes and              ther, many of the elements that are described are functional
 methods disclosed herein, the flowchart shows functionality             entities that may be implemented as discrete or distributed
 and operation of one possible implememation of present             45   components or in conjunction with other components, in any
 embodiments. In this regard, each block may represent a                 suitable combination and location, or other strnctural ele-
 module, a segment, or a portion of a manufact11ring or opera-           ments described as independent strnctwes may be combined.
 tion process.                                                              While various aspects and embodiments have been dis-
    At block 902, the method 900 includes rotating a housing             closed herein. other aspects and embodiments will be appar-
 of a light detection and ranging (LID.-\R) device about an         so   entto those skilled in the art. The various aspects and embodi-
 axis. wherein ilie housing has an interior space that includes a        ments disclosed herein are for purposes of illustration and are
 transmit block, a receive block, and a shared space, wherein            not intended to be limiting, with the true scope being indi-
 the transmit block has an exit apermre, and wherein tJ1e                cated by the following claims. along with the full scope of
 receive block has an entrance apert\1re.                                equivalents to which such claims are entitled. It is also to be
    At block 904, tJ1e method 900 includes emitting, by a           55   understood that the tenuinology used herein is for the purpose
 plurality of light sources in the transmit block, a plurality of        of describing particular embodiments only, and is not
 light beams that enter the shared space via a transmit path, the        intended to be limiting.
 light beams comprising light having wavelengths in a wave-                 What is clain1ed is:
 length range.                                                              1 . A light detection and ranging (LlDAR) device, compris-
    At block 906, the 111etJ1od 900 includes receiving U1e light    60   iog:
 beams at a lens mounted to the housing along the transmit                  a lens mollllted to a housing, wherein the housing is con-
 path.                                                                           figured to rotate about an axis and bas an interior space
    At block 908, the method 900 includes collimating, by the                    that includes a transmit block, a receive block, a transmit
 lens, the light beams for transmission into an environment of                   path, and a receive patlL wherein the transmit block has
 the LIDAR device.                                                  65           an exit aperlltre in a wall that comprises a reflective
    At block 910. the method 900 includes focusing. by tbe                       surface, wherein the receive block has an entrance aper-
 lens, the collected light onto a plurality of detectors in the                  ture, wherein the transmit path extends from the exit
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                                                       US 8,836,922 B 1
                               19                                                                       20
       aperture ro the lens, and wherein the receive path extends           12. The LIDAR device of claim 1, wherein the entrance
       from the lens to the entrance aperture via the reflective         aperture_ comprises a material that passes light having wave-
       surface:                                                           lengths m the wavelength range and attenuates light having
    a plurality of light sources in the transmit block. wherein          other wavelengths.
       the plura lity of light sources are configured to emit a     5
                                                                            13. 11Je LIDAR device of claim 1, wherein each Jiu.ht
       plurality of light beams through the exit aperture in a           source in the plurality of light sources comprises a respective
       plurality of different directions, the light beams com-           laser diode.
       prisin_g light having wavelengths in a wavelength range;             14. The LIDAR device of claim l , wherei n each detector in
    a plurality of detectors in the receive block wherein the            the plurality of detectors comprises a respective avalanche
       ~lurality of detectors are configured to de(ect light hav-   10   photodiode.
       111g wavelengths in the wavelength range: and                        15. A method comprising:
    wherein the lens is configured to receive the light beams via           rotating a h~using of a light detection and ranging (L]-
       the transmit path, collimate the light beams for transmis-              DAR) device about au ax is, wherein the housing mounts
       sion into an envirollUlent of the LIDAR device. co!Ject                 a lens and has au interior space that includes a transmit
       light comprising light from one or more of the colli-        15         block, a receive block, a transmit path, and a receive
       mated light beams reflected by one or more objects .in the              path, where.in the transmit block has an exit aperture in a
       environment of the LlDAR device, and focus the col-                     wall that comprises a reflective surface. wherein the
       lected light outo the detectors via the receive path.                   receive block bas an entrance aperture, wherein the
    2. The LIDAR device of claim 1, wherein each detector in                   transmit path extends from the exit aperture to the Jens
 the plurali1y of detectors is associated with a corresponding      20         and wherein the receive path extends from the Jens to th~
 light _source in the plurality of light sources, and wherein the              entrance aperture via the reflective surface·
 lens_ 1s configured to focus onto each detector a respective               emitting, by a plurality of light sources in 'ihe transmit
 port1011 of the collected light that comprises light from the                 ?lock. a plu~ality ofUght bean1s through the exit aperlllre
 detector's corresponding light source.                                        m a plurality of different directions, the ligh t beams
    3. The LlDAJl device of claim 1, wherein the wall com-          25
                                                                               comprising light having wavelengths in a wavelength
 prises a transparent material. the reflective surface covers a                range;
 portion ofthe transparent material, and the exit aperture cor-             rec~ivin~, by the lens, the light beams via the transmit path;
 responds to a portion of the transparent material that is 1101             colhmatmg. by the Jens, the light beams for transmission
 covered by the reflective surface.                                            into an environment of the LIDAR device;
    4. The Ll~)AR device of claim 1, wherein the transmi t path     30
                                                                            collecting, by the lens, light from one or more of the col-
 al least partially overlaps the receive path.                                 limated light beams reflected by one or more objects in
    5. The LIDAR device of claim 1. wherein the lens defines                   the environment of the LIDAR device;
 a curved focal surface in the transmit block and a curved focal            focusi.ng, by_the lens, the collected light onto a plurality of
 surface in the receive block.                                                 det~tors 1n the receive block via the receive path; and
 . 6. The LI DAR device ofclaim 5, wherein tbe light sources        35
                                                                            detectmg, by the plurality of detectors in the receive block
 m the plurality of light sources are arranged .in a pattern                   light from the focused light having wavelengths in th~
 substantially corresponding to the curved focal surface in the                wavelength range.
 transmit block, and wherein the detectors in the plurality of              16. The method of claim 15, wherein each detector in the
 detectors are arranged in a pattern substantially correspond-           plurali ty of detectors is associated with a corresponding light
 mg to the curved focal surface in the receive block.               40
                                                                         source in the plurality of light sources, the method fl.1rther
    7. The LID.AR device of claim I, wherein the lens has an             comprising:
 aspheric surface and a toroidal surface.                                   foc~1sing onto each detector, by the lens, a respective por-
    8. TI1e LIDAR device of claim 7. wherein the toroidal                      llon of tl1e collected light that comprises Iigb1 from the
 surface is in the interior space with.in the housing and the                  detector's corresponding light source.
 aspheric surface is outside of the housing.                        45      17. The method of claim 15, further comprising:
    9. The LIDAR device of claim 1, wherein the axis is sub-                reflecting, by a mirror in the transmit block, the emitted
 stantially vertical.                                                          light beams toward the exit apertme.
   _10. '.be LIDAR ~evice of claim 1, further comprising a                  18. The method of claim J5, wherein the wall comprises a
 mirror m the 1ransn11t block, wherein the mirror is configured          transparent material, the reflective surface covers a portion of
 to reflect tbe light beams toward the exit aperture.               50   the transparent material, and the exit aperture corresponds to
    11. The LIDAR device of claim 1. where.in the receive                a portion of the transparent material that is not covered by the
 block comprises a sealed environment containing an inert                reflective surface.
 gas.                                                                                           * ,. * * *




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                        EXHIBIT B




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 02)     United States Patent                                                          ( IO)   Patent No.:     US 9,368,936 Bl
         Lenius et al.                                                                 (45)    Date of Patent:     Jun. 14, 2016

 (54)    LASER DIODE FIRING SYSTEM                                                  (56)                       References C ited

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 (72)    Inventors: Samuel W illiam Lenius, Sunnyvale, CA                                 3,790,277    A        2/1974    Hogan
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                    (US); Pierrc-yvcs Droz, Mountain View.                                4,709,195    A       11/1 987   Hellekson et al.
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 (73)    Ass ignee: Google Inc., Mountain View. CA (US)                                   7,089,1 14   Bl        8/2006   Huang
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 (21)    Appl. No.: 14/132,219                                                       20 13/0106468     Al        5/2013
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                                                                                                                  Cantin .................... G0JS 17/ LO
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 (22)    Filed:         Dec. 18, 2013                                                20 14/0269799 Al ,. 9/2014 Oitiz ..................... HO IS 5/0428
                                                                                                                                                372/38.02
                   Related U.S. Application Data                                     20 14/03 12233 A l • 10/2014 Mark ........................ G0 IJ 1/46
                                                                                                                                                250/341.8
 (60)    Provisional application No. 61/884,762, fi led on Sep.
                                                                                    * cited by exami11er
         30, 2013.
                                                                                    Pri111ary Exa111iner - Mark Hellner
 (51)    lnt. C l.                                                                  (74) Atlorney, Agent, or Fir111 - McDonnell Boelrnen
         G0lC 3/08                     (2006.01)                                    Hulbert & Berghoff LLP
         H0lS 5/06                     (2006.01)
         (iOIS 17132                   (2006.01)                                    (57)                         ABSTRACT
         H0IS 5/062                    (2006.01)
         H05B 33108                    (2006.01)                                    A laser diode firing circuit for a light detection and ranging
                                                                                    device is disclosed. The firing circuit includes a laser diode
         G0JJ 1146                     (2006.01)
                                                                                    coupled in series to a transistor, such that current through the
 (52)    U.S.CI.                                                                    laser diode is controlled by the transistor. The laser diode is
         CPC . H 0 JS 5/06 (2013.01); G0JS 1 7132 (2013.01);                        configured to emit a pulse of light in response to current
                   G0JJ i / 46 (2013.01 ); H0JS 5/062 (2013.01);                    flowing through the laser diode. The firing circuit includes a
                      H05B 33/0842 (2013.01); H05B 33/0845                          capacitor that is configured to charge via a charging path that
                                                                        (2013.0J)   includes an inductor and to discharge v ia a discharge path that
 (58)    Field of C lassi.fication Search                                           includes the laser diode. The transistor controlling current
         CPC ... G0lJ 1/46; H05B 33/0845; f-105B 33/0842;                           through the laser diode can be a Gallium nitride field effect
                         H0l S 5/06; I-l0lS 5/062; G0lS 17/06                       transistor.
         USPC ....................................................... .. 359/4.01
         See application file for complete search history.                                         20 C laims, 11 Drawing Sheets




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          Vehicle 100

             Propulsion             Sensor System             Control System     Peripherals
             System ill                  1M                        lM.               1!IB.
                 Engine /         Global .Posilioning                              Wireless
                                                               Steering Unit
                  Motor                System                                    Communicat-
                                                                   132
                   ill                    122                                   ion System ill

                 E nergy          Inertial Measure-
                                                                 Throttle       Touch-screen
                 Source              ment Unit
                   ill.                   ill
                                                                   IM               148


             Transmiss-
                                     RADAR Unit                 Brake Unit       Microphone
                ion
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                                        Laser                 Sensor Fusion
            Wheels/Tires                                                           Speaker
                                     Rangefinder /              Algo rithm
                   ill              LIDAR Unit ill                                   ill
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                                                             Computer Visiou
                                       Camera
                                                                System
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                                                               Navigation /
                                     Microphone
                                                              Pathing System
                                         ill                        142




              Processor
                              -I - - -
                                     Instructions
                                                     7
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                                                                 Obstacle
                                                             Avoidance System
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                   ill        I          ill
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                              I     Data Storage      I       Power Supply      User Interface
                                                                   ill               ill
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                          Computer System
                                                     J
                              ill


                                                    Figure 1




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                                    Right Side View




                       Front View

                 202




                        0T0DRV




                       Back V iew                            Top View


                                       Figure 2



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                                         Figure 3A




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                  Figure 3B                                    Figure 3C




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    CONTROLLER                 Point Cloud Data                                                Figure 4B
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                                             Figure 5A

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                                                Figure 5B


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                   CHARGING                                               EMISSION                                ~
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                     MODE                                                  MODE                                   =
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                                      rsoo                                  514
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                                 - =i, Capacitor                                                                  ""'
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                     Figure SC                                           Figure SD                                \0
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                                  Figure SE




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                                                                    600
                               START
                                                                /
        TURN OFF TRANSISTOR TO THEREBY CAUSE CAPACITOR
          TO CHARGE AND INDUCTOR TO DECREASE STORED
                            ENERGY
                                                                 602
        TURN ON TRANSISTOR TO THEREBY CAUSE CAPACITOR
          TO DISCHARGE, LASER DIODE TO EMIT A PULSE OF
        LIGHT, AND INDUCTOR TO INCREASE STORED ENERGY
                                                                 604

                             ( END )
                            Figure 6A




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                                   START                             620
                                                                 /
            TURN OFF GaNFET TO THEREBY CAUSE CAPACITOR TO
           CHARGE AND lNDUCTOR TO DECREASE STORED ENERGY

                                                                  622

           TURN ON Ga~FET TO THEREBY CAUSE CAPACITOR TO
           DISCHARGE, LASE R DIODE TO EMIT A PULSE OF LlGHT,
              AND INDUCTOR TO INCREASE STORED ENERGY              624


             DETERMINE TRANSMISSION TIME OF THE EMITTED
                            LICHT P ULSE
                                                                  626
             RECEIVE A REFLECTED LIGHT PULSE DUE TO THE
             EMITTED LIGHT PULSE BEING REFLECTED BY AN
                        ENVIRONMENTAL OBJECT
                                                                  628

            DETERMl NE A RECEPTION TIME OF THE REFLECTED
                             LIGHT P ULSE
                                                                  630

           DETERMINE A DISTANCE TO THE OBJECT BASED ON THE
                 TRANSM ISSION TIME AND RECEPTION T IME
                                                                  632

          NAVIGATE AN AUTONOMOUS VEHICLE BASED rn PART ON
               THE DETERMINED DISTANCE TO THE OBJECT
                                                                  634

                               (   END )


                             Figure 6B




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                                                                       640
                                     START
                                                                   /
                                TURN ON GaNFET

                                                                       642
                 DISCHARGE CAPACITOR THROUGH DISCHARGE PATH

                                                                       644
                              EMJT PULSE OF LIGHT

                                                                       646
                     lNCREASE ENERGY STORED IN INDUCTOR

                                                                       648
                               TURN OFF GaNFET

                                                                       650
                      RELEASE ENERGY STORED IN INDUCTOR

                                                                       652
                 CHARGE CAPACITOR FROM ENERGY RELEASED BY
                                INDUCTOR
                                                                       654

             REVERSE BIAS DIODE TO HOLD CHARGE ON CAPACITOR

                                                                       656
                                   (END)


                                  Figure 6C




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   Computer Program Product 700
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     Signal Bearing Medium 702


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                             I      Medium         I     I     M edium      I
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                                                                                              .,_.
     I   Medium 706      I
                             I        708          I     I     710     I
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                                     Figure 7                                                ~
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             LASER DIODE FffilNG SYSTEM                                     inductor. The increase in inductor current causes the inductor
                                                                            to increase energy stored in its magnetic field, and drives the
             CROSS-REFERENCE TO RELATED                                     voltage applied to the anode of the diode lower than the
                    APPLICATIONS                                            voltage source. Once the transistor is turned off. the laser
                                                                       5    diode ceases emission, and the current through tbe inductor is
   This application claims priority to U.S. Provisional Patent              directed to recharge the capacitor, which causes the inductor
 Application No. 61/884,762, filed Sep. 30, 2013, which is                  current to begin decreasi ng. 111e sudden change in current
 incorporated herein by reference in its entirety and for a 11              through the inductor causes an increase in the voltage applied
 purposes.                                                                  to the anode of the diode. The capacitoris charged unti l the
                                                                       10
                                                                            voltage of the capacitor approximately matches the voltage at
                        BACKGROUND                                          the diode anode, at which point the diode becomes reverse
                                                                            biased. Upon reverse biasing the diode, the current through
    Unless otherw.ise indicated herein, the materials described
                                                                            the inductor goes to zero and the charging cycle is complete.
 in this section are not prior art to the claims in this application
                                                                            Both the emission and chargingoperationsofthe firing circuit
 and are not admitted to be prior art by inclusion in this section.    15
    Vehicles can be configured to operate in an autonomous                  can thus be controlled by operation of the single transistor.
 mode in which the vehicle navigates through an environruent                   Some embodiments of the present disclosure provide an
 with little or no input from a driver. Such amonomous                      apparatus. Theapparah.1s includes a voltage source. an induc-
 veh icles can include one or more sensors that are configured              tor, a diode, a transistor, a light emit1ing element, and a
 to detect infonnation about the environment in which the              20   capacitor. T he inductor can be coupled to the voltage source.
 vehicle operates. The vehicle and its associated computer-                 The inductor can be configured to store energy in a magnetic
 implemented controller use the detected information to navi-               field. The diode can be coupled to the voltage source via the
 gate through the environment. For example, if the sensor(s)                inductor. The transistor can be config1.1red to be turned on and
 detect that the vehicle is approaching an obstacle, as deter-              tmned off by a control signal. The light emitting element can
 mined by the computer-implemented controller, the control-            25   be coupled to the transistor. The capacitor can be coupled to a
 ler adjusts the vehicle's directional controls to cause the                charging path and a discharge path. The charging path can
 vehicle to navigate around the obstacle.                                   include the inductor and tbe diode. 111e discharge path can
    One such sensor is a light detection and ranging (LIDAR)                include the transistor and the light emitting element. The
 device. A LJDAR actively estimates distances to environmen-                capacitor can be configured to charge via the charging path
 tal features while scanning through a scene to assemble a             30
                                                                            such that a voltage across the capacitor increases from a lower
 cloud of point positions indicative of the three-dimensional               voltage level to a higher voltage level responsive to the tran-
 shape of the environmental scene. Individual points are mea-               sistor being turned off. The inductor can be configured to
 sured by generating a laser pulse and detecting a returning
                                                                            release energy stored in the magnetic field such that a current
 pulse, if any, re0ected from an environmental object, and
                                                                            through the inductor decreases from a higher current level to
 determining the distance to the reflective object according to        35
                                                                            a lower current level responsive to the transistor being turned
 the time delay between the emitted pulse and the reception of
 the reflected pulse. The laser. or set of lasers. can be rapidly           off. ll1e capacitor can be configured to discharge through the
 and repeatedly scanned across a scene to provide continuous                discharge path such that the light emitting element emits a
 real-time information on distances to reflective objects in the            pulse of light and the voltage across the capacitor decreases
 scene. Combining the measured distances and the orientation           4o   from the higher voltage level to the lower voltage level
 of the laser(s) while measuring each distance allows for asso-             responsive to the trans istor being turned on. The inductor can
 ciating a three-dimensioual position with each returning                   be configured to store energy in the magnetic field such that
 pulse. A three-dimensional map of points of reflective fea-                the current through the inductor increases from the lower
 tures is generated based on the returning pulses for the entire            current level to the higher current level responsive to the
 sca1rning zone. The three-dimensional point map thereby               45   transistor being tmned on.
 indicates positions of reflective objects in the scanned scene.               Some embodiments of the present disclosure provide a
                                                                            method. Tbe method can include nirning off a transistor and
                           SUMMARY                                          turning on a transistor. The transistor can be coupled to a light
                                                                            emitting element. Both the transistor and the light emitting
    A laser diode firing circuit for a light detection and ranging     so   element can be included in a discharge path coupled to a
 (LIDAR) device is disclosed. The firing circuit includes a                 capacitor. The capacitor can also be coupled to a charging
 laser diode coupled in series with a transistor, such that cur-            path including a diode and an inductor. The inductor can be
 rent through the laser diode is controlled by the transistor. The          configured to store energy in a magnetic field. The diode can
 laser diode is configured to emit a pulse of light in response to          be coupled to a voltage source via the inductor. The capacitor
 current flowing through the laser diode. A capacitor is con-          55   can be configured to charge via the charging path such that a
 nected across the laser diode and the transistor such that the             voltage across the capacitor increases from a lower voltage
 capacitor discharges through the laser diode when the tran-                level to a higher voltage level responsive to the transistor
 sistor is turned on. The capacitor is charged by a voltage                 being turned off. The inductor can be configured to release
 source v ia a charging path that includes a d iode and an induc-           energy stored in the magnetic field such that a cu1Ten1 through
 tor. The inductor has one terminal coupled to the voltage             60   the inductor decreases from a higher current level to a lower
 source and another terminal coupled to the anode of the diode.             current level responsive to the transistor being turned off. The
 and the cathode of the diode is coupled to the capacitor. As a             capacitor can be configured to discharge through the dis-
 result, the capacitor is only charged while the diode is forward           charge path such that the light emitting element emits a pulse
 biased. Upon turning on the transistor, the capacitor dis-                 of light and the voltage across the capacitor decreases from
 charges through the laser diode and a pulseoflight is emitted.        65   the higher voltage level to the lower voltage level responsive
 Once the capacitor discharges to a voltage level sufficient to             to the transistor being tumt.'<I on. The inductor can be config-
 forward bias the diode, current begins flowing through the                 ured to store energy in the magnetic field such that the current

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 through the inductor increases from the lower current level to           by reading the following detailed description, with reference
 the higher current level responsive to the transistor being              where appropriate to the accompanying drawings.
 111rned on.
    Some embodiments of the present disclosure provide a                          BRIEF DESCRJPTION OF THE FIGURES
 light detection and ranging (LIDAR) device. 'Ille LJOAR             5
 device can include a light source, a light sensor, and a con-               FIG. l is a flmctional block diagramdepictingaspects ofan
 troller. The light source can include a voltage source, an               example autonomous vehicle.
 inductor, a diode, a transistor, a light emitting element, and a            FIG. 2 depicts exterior views of an example autonomous
 capacitor. The inductor can be coupled to the voltage source.            vehicle.
 The inductor can be configured to store energy in a magnetic
                                                                     10      FIG. 3A provides an example depiction of a LIOAR device
 field. The diode can be coupled to the voltage source via the            including beam steering optics.
                                                                             FIG. 38 symbolically illus trates an example in which a
 inductor. The transistor can be configured to be nirued on and
                                                                          LIDAR device scans across an obstacle-filled environmental
 turned off by a control signal. The light emitting element can
                                                                          scene.
 be coupled to the transistor. lbe capacitor can be coupled to a     15      FIG. 3C symbolically illustrates an example point cloud
 charging path and a discharge path. The charging path                    corresponding to the obstacle-filled environmental scene of
 includes the inductor and the diode. The discharge path                  FIG. 3B.
 includes the transistor and the light emitting element. ·n1e                FIG. 4A symbolically illustrates a LIDAR device scalllling
 capacitor can be configured to charge via the charging path              across an example obstacle-filled environmental scene and
 such that a voltage across tbecapacitoriucreases from a lower       20   using reflected signals to genera te a point cloud.
 voltage level to a higher voltage level responsive to the tran-             FIG. 4B is an example tin1ing diagram of transmitted and
 sistor being turned off. The inductor can be configured to               received pulses for the symbolic illustration of FIG. 4A.
 release energy stored in the magnetic field such that a current             FIG. SA is an example laser diode firing circuit.
 tluough the inductor decreases from a higher current level to               FlG. SB is a timing diagram that shows operation of the
 a lower current level responsive to the trans istor being lllrned   25   example laser diode firing circuit of FIG. SA.
 off. The capacitor can be configured to discharge through the               FIG. SC shows a current path through the example laser
 discharge path such that the light emitting element emits a              diode firing circuit of FlG. SA during a charging mode.
 pulse of Hght and the voltage across the capacitor decreases                FIG. 50 shows a current path through the example laser
 from the higher voltage level to the lower voltage level                 diode firing circuit of FIG. SA during an emission mode.
 responsive to the transistor being turned on. ·me inductor can      30      FIG. SE illustrates au arrangement in which multiple laser
 be configured to store energy in the magnetic field such that            diode firing circuit are charged via a single inductor.
 the current through the inductor increases from the lower                   PIG. 6A is a flowchart of an exarnplt: process for opernting
 current level to the higher current level responsive to the              a laser d.iode firing circuit.
 transistor being turned on. The Iight sensor can be configured              FIG. 68 is a flowchart of an example process for operating
 to detect a reflected light signal comprising light from the        35   a LIDAR device.
 emitted light pulse reflected by a reflectjve object. The con-              FIG. 6C is a flowchart of another example process for
 troller can be configured to detern1ine a distance to the reflec-        operating a laser diode firing circuit.
 tive object based on the reflected light signal.                            FJG. 7 depicts a non-tra nsitory computer-readable medium
    Some embodiments of the present disclosure provide a                  configured according to an example embodiment.
 means for controlling a laser diode firing circuit to operate in    40
 au emission mode and a charging mode using a sing le tran-                               DETAlLED DESCRIPTION
 sistor. Embodiments may include means lllrning off a tran-
 sistor and turning on a transistor. The transistor can be                                         I. Overview
 coupled to a light emitting element. Both the transistor and
 the light emitting element can be included in a discharge path      45      Example embodiments relate to an autonomous vehicle,
 coupled lo a capacitor. The capacitor can also be coupled to a           such as a driverless automobile, that includes a light detection
 charging path including a diode and an inductor. The inductor            and ranging (LlDAR) sensor for actively detecting reflective
 can be configured to store energy in a magnetic field. The               .fean1res in the environment surrounding the vehicle. A con-
 diode can be coupled to a voltage source via the inductor. The           troller analyzes information from the LlDAR sensor to iden-
 capacitor can be configured to charge via the charging path         so   tify the surroundings of the vehicle. The LIDAR sensor
 such that a voltage across the capacitor increases from a lower          includes a light source that may include one or more laser
 voltage level to a higher voltage level responsive to the tran-          diodes configured to emit pulses ofligbt that are then directed
 sistor being turned off. The inductor can be configured to               to illuminate the environment surrounding the vehicle. Cir-
 release energy stored in the magnetic field such that a current          cuits for firing a laser diode and determining a pulse emission
 lluough the inductor decreases from a higher current level to       55   time from the laser diode are disclosed herein.
 a lower current level responsive to the transistor being lllrned            According to some embodim ents, a LIDAR device
 off. The capacitor can be config11red to discharge through the           includes one or more laser diode firing circuits in which a
 discharge path such that the light emitting element emits a              laser diode is coll.llected in series to a transistor such that
 pulse of light and the voltage across the capacitor decreases            current through the laser diode is controlled by the transistor.
 from the higher voltage level to the lower voltage level            60   A capacitor is coupled lo a charging path and a discharge path.
 responsive to the transistor being turned on. The inductor can           The discharge path includes the laser diode and the transistor
 be configured to store energy in the magnetic field such that            such that turning on the transistor causes the capacitor to
 the current through the inductor increases from the lower                discharge through the laser diode, which causes the laser
 current level to the higher current level responsive to the              diode to emit a pulse of light.
 transistor being turned on.                                         65      The capacitor's charging path includes an inductor and a
    l11ese as well as other aspects, advantages. and alterna-             diode. l11e inductor is con figured to store energy in a mag-
 tives, will become apparent to thoseofordinary skill in ll1eart          netic field, and is connected between a voltage source and the

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 diode. An increasing inductor current charges the inductor by            mode, and thus may be referred to as an "autonomous
 increasing the energy stored in the magnetic field of the                vehicle." For example, a computer system 112 caJl control the
 inductor. The increasing current induces a voltage across the            vehicle 100 while in an autonomous mode via control instmc-
 inductor, such that a voltage less than the voltage source is            tions to a control system 106 for the vehicle 100. The com-
 applied to the diode. A decreasing inductor current iliscbarges     5    puter system 112 can receive information from one or more
 the inductor by decreasing the energy stored in tl1e magnetic            sensor systems 104, and base ODe or more coDtrol processes
 field. The decreasing current induces a voltage across the               (such as setting a heailing so as to avoid a detected obstacle)
 inductor, such that the voltage applied to the diode exceeds             upon the received informatioD in ru1 automated fashion.
 the voltage source. The diode is also connected to the capaci-              The autonomous vehicle 100 can be folly autonomous or
 tor and is configured to be forward biased when the voltage         10   partially autoDomous. lna partially autonomous vehicle some
 across the capacitor does not exceed the voltage applied to the          fonctions can optionally be mrurnally controlled (e.g., by a
 diode by the inductor (to thereby charge the capacitor). TI1e            driver) some or all of the time. Further, a partially autoDo-
 diode is also con.figured to be reverse biased when the voltage          mous vehicle can be co11figured to switch betweeD a fully-
 across the capacitor exceeds the voltage applied to the diode            manual operation mode ru1d a partiaJly-autonomous and/or a
 by the inductor (to thereby prevent the capacitor from dis-         15   fully-autonomous operatioD mode.
 charging).                                                                  111e vehicle 100 includes a propulsion system 102, a sensor
    In some embodiments, the firing circuit ilisclosed herein is          system 104, a control system 106, one or more peripherals
 configured to switch between a charging mode and an emis-                108, a power supply 110, a computer system 112, aDd a user
 sion mode based Oil operation of a siJ1gle tmnsistor. In                 iDterface 116. The vehicle 100 may iDclude more or fewer
 response to turning the transistor off, current through the laser   20   subsystems aud each subsystem can optionally include mul-
 diode ceases and emission of a pulse tenn.inates. In response            tiple components. Further, each of the subsystems and com-
 to turning off the transistor, if the charging path diode is             ponents of vehicle 100 can be interco1rnected and/or in com-
 forward biased. the capacitor begins recharging through the              1mmication. Tirns, one or more of the functions of the vehicle
 charging path. As charge accumulates on the capacitor the                100 described herein can optionally be divided between adili-
 current through the charging path (and the inductor)                25   tional functiona l or physical components, or combined into
 decreases, aDd the decrease in inductor current causes the               fewer .functional or physical components. In some fortJ1er
 inductor to release energy stored in its magnetic field. The             examples, additional functional and/or physical compoDeDts
 released energy from the inductor causes the voltage applied             may be added to the examples illustrated by FIG. l .
 to the capacitor through the diode to exceed the voltage of the             The propulsioll system 102 can include components oper-
 voltage source. at least transiently. The transient voltage is      30   able to provide powered motion to the vehicle 100. In some
 applied to the capacitor through the diode. The capacitor is             embodiments the propulsion system 102 includes an engine/
 therefore charged accord ing to the transit:nt voltage and then          motor 118. an energy source J1 9. a transmission 120. and
 holds its charge level wheD the diode becomes reverse biased.            wheels/tires 121. The eDgine/motor 118 converts ellergy
 Following a charging interval, the voltage charged across the            source 119 10 mechanical energy. 1D some embodiments. the
 capacitor can be greater than the voltage of the voltage source. 35      propulsion system 102 can optionally include one or both of
    The laser diode can emit light in the visible spectnUI1,              engines and/or motors. For example, a gas-electric hybrid
 ultraviolet spectrum, infrared spectrum, near infrared spec-             vehicle cru1 include both a gasoline/diesel engine and an
 trum, and/or infrared spectnnu. In one example, the laser                electric motor.
 diode emits pulses of infrared light witl1 a wavelength of                  The energy source 119 represents a source of energy. such
 about 905 lllll. The transistor can be a Gallium nitride field 40        as electrical aud/or chemical energy, that may, in full or in
 effect transistor (FET), for example.                                    part, power the engine/motor 118. That is, the engine/ motor
                                                                          118 call be configured to coDvert the ellergy source 119 to
           II. Example Autonomous Vehicle System                          mechanical eDergy to operate the transmissioD. In some
                                                                          embodiments. the energy source 119 can include gasoline,
    Some aspects of the example methods described herein             45   diesel, other petroleum-based foels, propane, other com-
 may be carried out in whole or in part by an autonomous                  pressed gas-based foels, ethanol, solar panels, batteries,
 vehicle or components thereof. However, some example                     capacitors, f:lywbeels, regeDerative braking systems. and/or
 methods may also be carried out iD whole or iD part by a                 other sources of electrical power, etc. The eDergy source 119
 system or systems that are remote from an autonomous                     can also provide energy for other systems of the vehicle 100.
 vehicle. For instance, an example method could be carried out       so      The transmission 120 includes appropriate gears and/or
 in part or in full by a server system, which receives informa-           mechanical elements suitable to convey the mechanical
 tion from sensors (e.g., raw sensor data and/or information              power from the engine/motor 118 to the wheels/ tires 121. In
 derived therefrom) of an autonomous vehicle. Other                       some embodimen1s, the transmission 120 includes a gearbox,
 examples are also possible .                                             a clutch, a differential, a drive shaft, and/or axle(s), etc.
    Example systems within the scope of the present disclosure       ss      The wheels/tires 121 are arraDged to stably support the
 will now be described in greater detail. An example system               vehicle 100 while providing frictional traction with a surface,
 may be implemented iD, or may take the form of, an automo-               such as a road, upon which the vehicle 100 moves. Accord-
 bile. However, an example system may also be implemented                 illgly, the wheels/tires 121 are configured and arranged
 in or take the form of other vehicles, such as cars, trucks,             according to the nature of the vehicle 100. For example, the
 motorcycles, buses, boats, airp lanes, helicopters, lawn mow-       60   wheels/tires can be arranged as a unicycle, bicycle, motor-
 ers, earth movers. boats, sno~mobiles, aircraft, recreational            cycle, tricycle, or car/truck four-wheel format. Other wheel/
 vehicles, amusement park vehicles, farm equipmeJJt, con-                 tire geometries are possible, such as those including six or
 struction equipment, trams, golf carts. tmills, and trolleys.            more wheels. Any combinatioD of the wheels/tires 121 of
 Other vehicles are possible as well.                                     vehicle 100 may be operable to rotate differentially with
    FIG. 1 is a functional block diagram illustrating a vehicle      65   respect to other wheels/tires 121. The wheels/tires 121 can
 100 according to an example embodiment.111e vehicle 100 is               optionally include at least one wheel that is rigidly attached to
 configttred to operate fully or partially in an autonomous               the transmission 120 and at least one tire coupled to a rim of
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 a corresponding wheel that makes contact with a driving                tfon to slow the wheels/tires 121. In some embodiments, the
 surface. n1e wheels/ tires 121 may include any combination             brake tulit 136 inductively decelerates the wheels/tires 121 by
 of metal and rubber, and/or other materials or combination of          a regenerative braking process to convert kinetic energy of the
 materials.                                                             wheels/tires 121 to electric current.
   ·n1e   sensor system 104 generally includes one or more         s        Tiw sensor fusion algorithm 138 is ao algori thm (or a
 sensors configured 10 dewc1 iufonnation about the environ-             computer program product storiDg an algorithm) coo.figured
 ment surrounding the vehicle 100. For example, the sensor              to accept data from the sensor system 104 as an input. The
 system 104 can include a Global Positioning System (GPS)               data may include, for example, data representing information
 122, an inertial measurement unit (! MU) 124, a RADAR unit             sensed at the sensors of the sensor system I 04. The sensor
 126, a laser rangefindcr/LIDAR unit 128, a camera 130. and/       10   fusion algorithm 138 can include. for example. a Kalman
 or a microphone 131. The sensor system 104 could also                  filter, Bayesian network, etc. TI1e sensor fas ion algorithm 138
 include sensors configured to monitor internal systems of the          provides assessments regardmg the environmeDt surroundiDg
 vehicle 100 (e.g., 0 2 monitor, fuel gauge, engine oil tempera-        the vehicle based on the data from sensor system 104. In some
 ture, wheel speed sensors, etc.). One or more of the sensors           embodiments, t he assessments can include evaluations of
 included in sensor system 104 could be configured to be           15   individual objects and/or features in the environment sur-
 actuated separately and/or collectively in order lo modify a           rounding velucle JOO, evaluations of particular situations,
 position and/or an orientation of the one or more sensors.             and/or evaluations of possible interference between the
    The GPS 122 is a sensor configured to estimate a geo-               vehicle 100 and feamres in the environment (e.g., such as
 graphic location of the vehicle 100. To Ibis end, GPS 122 can          predicting collisions and/or impacts) based ou the particular
 include a transceiver operable to provide informal ion regard-    20   sitl1ations.
 ing the position of the vehicle 100 with respect to the Earth.             The computer vision system 140 can process and analyze
    The JMU 124 can include any combination ofsensors (e.g.,            images captured by camera 130 to identify objects and/or
 accelerometers and gyroscopes) configured to sense position            features in the enviromnent surrounding vehicle 100. The
 and orientation changes of the vehicle 100 based on inertial           detected fean1res/objects can include traffic s ignals, road way
 acceleration.                                                     25   boundaries, other vellicles, pedestria11S, and/or obstacles, etc.
    "The RADAR unit 126 can represent a system that utilizes            Tbe computer vision system 140 can optionally employ an
 radio signals to sense objects within the local enviroumen t of        object recognition algorithm. a Structure From Motion
 the vehicle 100. In some embodiments, in addition lo sensing           (SFM) algorithm, video tracking, and/or available computer
 the objects, the RADAR unit 126 and/or the computer system             vision techniques to effect categorization and/or identifica-
 112 can additionally be configured to sense the speed and/or      30   tion of detected fea111res/objects. In some embodiments, the
 heading of the objects.                                                computer vision system 140 can be additionally configured 10
     Simjlarly, the laser rangefinder or LIDAR wut 128 can be           map the envirornnent. track perceived objects, estimate the
 any sensor couftgured to sense objects ill the environment in          speed of objects, etc.
 which the vel1icle 100 is located usiDg lasers. The laser                  The navigation and path.ing system 142 is configured 10
 rangefinder/LIDAR unit 128 can include one or more laser          35   determine a driving path for the vehicle 100. For example, the
 sources, a laser scanner, and one or more detectors, among             navigation and path.ing system 142 can determine a series of
 other system components. The laser rangefinder/LIDAR unit              speeds and directional headings to effect movement of the
 128 can be configured to operate in a coherent (e.g., using            vehlcle a long a path that substantia lly avo ids perceived
 heterodyne detection) or an incoherent detection mode.                 obstacles while generally advancing the vehicle along a road-
     ]l1e camera 130 can include one or more devices config-       40   way-based path leading to an ultimate destination, wb.ich can
 ured to capture a plurality of images of the environmeDI               be set according to user inputs via the user interface 116, for
 surrounding the vehicle 100. The camera 130 can be a still             exan1ple. The navigation and pathmg system 142 can addi-
 camera or a video camera. In some embodiments, the can1era             tionally be configured to update the driving path dynamically
 130 can be mechanically movable such as by rotating and/or             while the vehicle 100 is io. operation on the basis of perceived
 tilting a platfom1 to which the camera is mounted. As such, a     45   obstacles, traffic patterns, weather/road conditions, etc. Jn
 control process of vehicle 100 may be implemented to control           some embodiments, the navigation and pathing system 142
 the movement of camera 130.                                            can be configured 10 incorporate data from the sensor fusion
    TI1e sensor system 104 can a lso include a microphone 131 .         algorithm 138, the GPS 122, and one or more predetermined
 The microphone 131 can be configured to capture sound from             maps so as to determine the driving path for vehicle 100.
 the envirolllllent surrounding vehicle 100. In some cases,        so       The obstacle avoidance system 144 can represent a control
 multiple microphones can be arranged as a microphone array,            system configured to identify, evaluate, and avoid or other-
 or possibly as multiple microphone arrays.                             wise negotiate potential obstacles in the enviromnent sur-
    ·n1e control system 106 is configured to control operation          rounding the vehicle 100. For example, the obstacle avoid-
 (s) reg11lating acceleration of the vehicle 100 and its compo-         ance system 144 cau effect changes in the navigation of the
 nents. To effect acceleration, the control system 106 includes    ss   vehicle by operating one or more subsystems in the control
 a steering unit 132, thronle 134, brake unit 136, a sensor             system 106 to undertake swerving maneuvers. turning
 fusion algorithm 138, a computer vision system 140, a navi-            maneuvers, braking maneuvers, etc. In some embodiments,
 gation/pathing system 142, and/or an obstacle avoidance sys-           the obstacle avoidance system 144 is configured to automati-
 tem 144, etc.                                                          cally determine feasible ("available") obstacle avoidance
    TI1e steering tmit 132 is operable to adjust the heading of    60   maneuvers on the basis of surrounding traffic patterns. road
 vehicle 100. For example, the steering unit can adjust the axis        conditioJlS. etc. For example, the obstacle avoidance system
 (or axes)of one or more of the wheels/tires 121 so as to effect        144 can be configured such that a swerving maneuver is not
 turning of the vehicle. The thronle 134 is config11red to con-         undertaken when other sensor systems detect vehicles. con-
 trol, for instance, the operating speed ofthe engine/motor 118         struction barriers, other obstacles, etc. in the region adjacent
 and, in n1m, adjust forward acceleration of the vehicle 100 via   65   the vehicle that would be swerved into. In some embodi-
 the transmission 120 and wheels/tires 121. The brake unit 136          ments, the obstacle avoidance system 144 can automatically
 decelerates the vehicle 100. The brake tmit 136 can use fric-          select the mru1euver that is both available and maximizes

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 safety of occupants of the vehicle. For example, the obstacle          Many or all of the fonctions of vehicle 100 can be con-
 avoidance system 144 can select an avoidance maneuver pre-          tro lled via computer system 112 that receives inputs from the
 dicted to cause the least amount ofacceleration in a passenger      sensor system 104, peripherals 108, etc., and communicates
 cabin of the vehicle 100.                                           appropriate control signals to the propulsion system 102,
   ·n1e   vehicle 100 also includes peripherals 108 configured s control system 106. peripherals, etc. to effect automatic
 to allow interaction bet,veen the vehicle 100 and external          operation of the vehicle l 00 based on its surroundiJlgS. Com-
 sensors. other vehicles, other computer systems, and/or a           puter system 112 includes at least one processor 113 (which
 user, such as an occupant of the vehicle 100. For example. the      can include at least one microprocessor) that executes instrnc-
 peripherals 108 for receiving infonnation from occupants,           tions 115 stored in a non-transitory compmer readable
 external systems. etc. can include a wireless communication 10 medium. such as the data storage 114. The computer system
 system 146, a touchscreen 148, a microphone 150, and/or a           112 may also represent a plurali ty of computing devices that
 speaker 152.                                                        serve to control .individual components or subsystems of the
    In some embodiments, the peripherals 108 fu nction to            vehicle 100 in a distributed fashion.
 receive inputs for a user of the vehicle 100 to interact with the      In some embodiments, data storage 114 contains instmc-
 user interface 116. To this end, the touchscreen 148 can both 15 tions 115 (e.g., program logic) executable by the processor
 provide information to a user of vehicle 100, and convey            113 to exec ute various functions of vehicle 100. including
 information from the user indicated via the touchscreen 148         those described above in connection with FIG. l. Data storage
 to the user interface 116. The touchscreen 148 can be config-       114 may contain additional instrnctions as well, including
 ured to sense both touch positions and touch gesn,res from a        instmctions to transmit data to, receive data from, interact
 user's finger(orstylt1s,etc.) via capacitive sensing, resistance 20 with, and/or control one or more of the propulsiou system
 sensing, optical sensing, a surface acoustic wave process, etc.     102, the sensor system 104, the control system 106, and the
 The touchscreen 148 can be capable ofsensing finger move-           peripherals 108.
 ment in a direction parallel or planar to the touchscreen sur-         In addition to the instructions 115, the data storage 114
 face, in a direction normal to the touchscreen surface, or both,    may store data such as roadway maps, path information,
 and may also be capable ofsensing a level of pressure applied 25 among other information. Such infonnation may be used by
 to the touchscreen surface.An occupant of the vehicle 100 can       vehicle 100 and computer system 112 during operation of the
 also utilize a voice command interface. For example, the            vehicle JOO in the autonomous, semi-autonomous, aud/or
 microphone 150 can be configured to receive audio (e.g., a          manual modes to select available roadways to an ultimate
 voice command or other audio input) from a user of the              destination. interpret information from the sensor system
 vehicle l 00. Similarly, the speakers 152 can be configured to 30 104, etc.
 output audio to the user of the vehicle JOO.                           "llle vehicle 100, and associated computer system 112,
   Tn some embodiments, the peripherals 108 function to                   provides info,-mation to and/or receives input from, a user of
 allow communication between the vehicle 100 and external                 vehicle 100, such as an occupant in a passenger cabin of the
 systems, such as devices. sensors. other vehicles, e tc. withiD          vehicle 100. The user interface 116 can accordingly include
 its surrounding envirolllllent and/or controllers, servers, etc.,   35   one or more input/output devices within the set ofperipherals
 physically located far from the vehicle that provide usefol              108, such as the wireless communication system 146, the
 information regarding the vehicle's surroundings, such as                touchscreen 148. the microphone 150. and/or the speaker 152
 traffic i11fon11ation, weather infonnation, etc. For example,            to allow conummication between the computer system 112
 the wireless communication system 146 can wi relessly com-               and a vehicle occupant.
 municate with one or more devices directly or via a commu-          40      The computer system 112 controls the operation of the
 nication network. The wireless conu1rnnication system 146                vehicle 100 based on inputs received from various sub-
 cau optionally use 3G cellular comnumication. such as                    systems indicating vehicle and/or envirolllllental conditions
 CDMA, EVDO, GSM/GPRS, and/or 4G cellular collllnuni-                     (e.g., propuJsion system 102, sensor system 104, and/or con-
 cation. such as WiMAX or LTE. Additionally or alternatively,             trol system 106), as well as inputs from the user interface 116,
 wireless conununieation system 146 can communicate wit11 a          45   indicating user preferences. For example, the computer sys-
 wireless local area network (WLAN), for example, using                   tem 112 can utilize input from the control system 106 to
 WiFi. In some embodiments, wireless communication sys-                   control the steering unit 132 to avoid an obstacle detected by
 tem 146 could communicate directly with a device, for                    the sensor system 104 and the obstacle avoidance system 144.
 example. using an infrared link, Bluetootb, and/or ZigBee.               The computer system 112 can be configured to control many
 The wireless communication system 146 can include one or            so   aspects of the vehicle 100 and its subsystems. Generally,
 more dedicated short range communication (DSRC) devices                  however, provisions are made for manually overriding auto-
 that can include public a nd/or private data communications              mated controller-driven operation, such as in the event of an
 between vehicles and/or roadside stations. Other wireless                emergency, or merely in response to a user-activated override,
 protocols for sending and receiving information embedded in              etc.
 signals, such as various vehicular communication systems,           ss      The components of vehicle 100 described bereiu can be
 can also be employed by the wireless collllnunication system             configllred to work in an i11terco11J1ected fashion with other
 146 within the context of the present disclosure.                        components within or outside their respective systems. For
    As noted above, the power supply 110 can provide power to             example, the camera 130 can capn1re a p lurality of images
 components of vehicle J00, such as electronics in the periph-            that represent information about an environment of the
 erals 108, computer system 112, sensor system 104, etc. The         60   vehicle 100 while operating in an autonomous mode. TI1e
 power supply 110 can include a rechargeable lithium-ion or               enviromnent may include other vehicles. traffic lights. traffic
 lead-acid battery for storing and discharging electrical energy          signs, road markers, pedestrians, etc. Tbe computer vision
 to the various powered components, for example. In some                  system 140 can categorize and/or recognize various aspects in
 embodiments, one or more banks of batteries can be config-               the environment in concert with the sensor fusion algorithm
 ured to provide electrical power. In some embodiments, the          65   138, the computer system 112, etc. based on object recogni-
 power supply JI Oand energy source I 19 can be implemented               tion models pre-stored in data storage 114, and/or by other
 together, as in some all-electric cars.                                  techniques.

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    Although the vehicle 100 is described and shown in FIG. l              including such devices in or near the rear bumper, side panels,
 as having various components of vehicle 100, e.g., wireless               rocker panels, and/or tmdercarriage, etc.
 communication system 146, computer system 112, data stor-                    The wireless communication system 204 could be located
 age 114, and user interface 116, integrated into the vehicle              on a roof of the vehicle 200 as depicted in FIG. 2. Alterna-
 100, one or more of these components can optionally be               5    lively, the wireless conununication system 204 could be
 mounted or associatt-d separately from the vehicle 100. For               located, fully or in part, e lsewhere. The wireless communi-
 example. data storage 114 can exist, in part or in full , separate        cation system 204 may include wireless transminers and
 from the vehicle 100, such as in a cloud-based server, for                receivers that could be configured to communicate with
 example. ·nms, one or more of the functional elements of the              devices external or internal to the vehicle 200 . Specifically,
 vehicle 100 can be implemented in the form of device ele-            10   the wireless communication system 204 could include trans-
 ments located separately or together. Tue functional device               ceivers configured to communicate with other vehicles and/or
 elements that make up vehicle 100 can generdlly be COllllllU-             computing devices, for instance, in a vehicular couuuunica-
 nicatively coupled together in a wired and/or wireless fash-              tion system or a roadway station. Bxa1uples of such veb.i cular
 ion.                                                                      communication systems include dedicated short range com-
    FIG. 2 shows an example vehicle 200 that can include some         15   munications (DSRC), radio frequency identification (RFID),
 or all of the fimctions described in connection with vehicle              and other proposed communication standards directed
 100 in reference to FIG. 1. Although vehicle 200 is illustrated           towards intelligent transport sys tems.
 in FIG. 2 as a four-wheel sedan-type car for illustrative pur-               The camera 210 can be a photo-sensitive instrmnent, such
 poses, the present disclosure is not so limited. For instance,            as a still camera, a video camera, etc., that is configured to
 the vellicle 200 can represent a tmck, a van, a semi-trailer         20   capture a plurality of images of the environment of the vehicle
 truck, a motorcycle, a golf cart. an off-road vehicle, or a farm          200. To this end, the camera 210 can be configured to detect
 vehicle. etc.                                                             visible light, and can additionally or alternatively be config-
    TI1e example vehicle 200 includes a sensor unit 202, a                 ured to detect light from other portions of the spectrnm. such
 wireless communication system 204, a RADAR unit 206, a                    as infrared or ultraviolet light. The camera 210 can be a
 laser rangefinder unit 208, and a camera 210. Furthennore,           25   two-dimensional detector, and can optionally have a three-
 the example vehicle 200 can include any of the components                 dimensional spatial range of sensitivity. In some embodi-
 described in co11.Ucction with vehicle 100 of FIG. l. The                 ments, tile camera 210 can include, for example, a range
 RADAR unit 206 and/or laser rangefinder unit 208 can                      detector configured to generate a two-dimensional image
 actively scan the surrounding environment for the presence of             indicating distance from the camera 210 to a numberof points
 potential obstacles and can be similar to the RADAR unit 126         30   in the environment. To this end, the camera 210 may use one
 and/or laser rangefinder/ LJDAR unit 128 in the vehicle 100.              or more range detecting techniques.
    TI1e sensor unit 202 is mounted atop the vehicle 200 and                  f'or example::, the:: came::ra 210 c<111 provide:: range:: in.fornlll-
 includes one or more sensors configured to detect information             tion by using a strnctured light technique in wh ich the vehfole
 about au environment surrounding the vehicle 200, and out-                200 illumiuates an object in the enviroruuent with a predeter-
 put indications of the infonnation. For example, sensor unit         35   1uined light panern. such as a grid or checkerboard pattern
 202 can include any combination of cameras, RADARs,                       and uses the camera 210 to detect a reflection of the prede-
 LlDARs, range finders, and acoustic sensors. The sensor unit              termined light pattern from environmental surroundings.
 202 can include one or more movable mounts that could be                  Based on distortions in the reflected light pattern, the vehicle
 operable to adjust the orientation of one or more sensors in the          200 can determine the distance to the points on the object. The
 sensor unit 202. In one embodiment, the movable mount                40   predetermiued light pattern may comprise infrared light. or
 could include a rotating platform tbat could scan sensors so as           radiatfon at other suitable wavelengths for such measure-
 to obtain information from each direction around the vehicle              ments.
 200. ln another embodiment, the movable mount ofthe sensor                   TI1e camera 210 can be mounted inside a front windshield
 unit 202 could be moveable in a scanning fashion within a                 of the vehicle 200. Specifically. the camera 210 can be sini-
 particular range of angles and/or azimuths. The sensor unit          45   ated to capnirc images from a forward-looking view with
 202 could be motmted atop the roof of a car, for instance,                respect 10 the orientation of the vehicle 200. Other motmting
 however other mounting locations are possible. Additionally,              locations and viewing angles of camera 210 can also be used,
 the sensors of sensor unit 202 could be distributed in different          either inside or outs.ide the vehicle 200.
 locations and need not be collocated in a single location.                   ·me camera 210 can have associated optics operable to
 Some possible sensor types and mounting locations include            so   provide an adjustable field of view. Further, the camera 210
 RADAR unit 206 and laser rangefinder unit 208. Further-                   can be mounted to vehicle 200 with a movable mount to vazy
 more, each sensor ofsensor unit 202 can be configured 10 be               a pointing angle of the camera 210, such as v ia a pan/tilt
 moved or sca1rned independently of other sensors of sensor                mechanism.
 unit 202.
    Jn an example configuration, one or more RADAR scan-              55                      111. Exan1ple LIDAR Device
 ners (e.g., the RADAR unit 206) can be located near the front
 of the vehicle 200, to actively scan die region in front of the            An example light detection and ranging (LIDAR) device
 car 200 for the presence of radio-reflective objects. A                 operates to estimate positions of reflective objects surround-
 RADAR scanner can be situated, for example, in a location               ing the device by illuminating its surrounding environment
 suitable to illtuninate a region including a forward-moving          60 with pulses of light and measuring the reflected signals. An
 path of the vehicle 200 without occlusion by other features of          example LJDAR device may include a light source, beam-
 the vehicle 200. For example, a RADAR scall.ller cau be                 steering optics, a light sensor, and a controller. The light
 siniated to be embedded and/or mounted in or near the front             source may emit pulses of light toward the beam-steering
 bumper, front headlights, cowl, and/or hood, etc. Further-              optics, which directs the pulses of light across a scanning
 more, one or more additional RADAR scanning devices can              65 zone. Reflective fean1res in the scanning zone reflect the
 be located to actively scan the side and/or rear of the vehicle         emitted pulses of light and the reflected light signals can be
 200 for the presence of radio-reflective objects, such as by            detected by the light sensor. The controller can regulate the

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 operation of the light source and beam-steering optics to scan            position of the reflective fean1re in three-dimensions. For
 pulses of light across the scanning zone. The controller can              illustrative purposes, the enviromnental scene in FIG. 3B is
 also be configured to estimate positions of reflective features           described in the two-dimensional x-y p lane in connection
 in the scanning zone based on the reflected signals detected by           with a single sweep of the LI DAR device 302 that estimates
 the light sensor. For example, tbe controller can measure the        s    positions to a series of points located iu the x-y plane. How-
 time delay between emission of a pulse oflight aud reception              ever, it is no ted that a more complete three-dimensional sam-
 of a reflected light signal and determine the distance to the             pling is provided by either adjusting the beam steering optics
 reflective feature based on the time of flight of a round trip to         304 to directthe laser beam 3 06 up or down from the x -y plane
 the reflective feature. fa addirion, the controller may use the           on irs next sweep of the scene or by providing additional
 orientation of the beam-stee1ing optics at the time the pulse of     10   lasers and associated beam steering optics dedicated to sam-
 light is emitted to estimate a direction toward the reflective            pling point locations in planes above and below the x-y plane
 feature. The estimated direction and estimated distance can               shown in FIG. 38, or combinations of these techniques.
 then be combined ro estimate a three-dimensional position of                 FJG. 3C symbolically illustrates a point cloud correspond-
 the reflective object relative to the LIDAR device.                       iug to the obstacle-fiJled environmental scene of FIG. 3B.
    FIG. 3A provides an example depiction ofa LI DAR device           15   Spatial-point data (represented by stars) are shown from a
 302 including beam steering optics 304. A laser beam 306 is               ground-plane (or aerial) perspective. Even though the indi-
 directed to the beam steering optics 304. In the example                  vidual points are not equally spatially distributed throughout
 illustrated in FIG. 3A, the beam steering optics 3 04 is a                the sampled environment, adjacent sampled points are
 rotating angled mirror that directs the laser beam 306 to                 roughly equally angularly spaced with respect to the LIDAR
 sweep across a sca1ming zone. The beam steering optics 304           20   device 302. A cluster of points referred to herein as car spatial
 may include a combination of lenses, mirrors, and/or aper-                data 314 corresponds to measured poillts on the surface of the
 t11res configured to direct the laser beam to sweep across a              car 310 with a line of sight to the LIDAR device 302. Simi-
 scanning zone, and are interchangeably described as the rotat-            larly, a cluster of points referred to herein as tree spatial data
 ing angled mirror 304. The rotating angled mirror 304 rotates             316 corresponds to measured points on the surface of the tree
 about an axis substantially parallel, and roughly in Line with,      25   312 visible from the LIDAJ~ device 302. The absence of
 the i11itial downward path oftbe laser beam 306. The rotating             points between tbe car spatial data 314 and the tree spatial
 angled mirror 304 rotates in the direction indicated by the               data 316 indicates an absence of reflective features along the
 reference arrow 308 in FIG. 3A.                                           sampled line of sight paths in the plane illustrated.
    Although rangefinder 302 is depicted as havillg an approxi-               Each point in the example point cloud illustrated symboli-
 mately 180 degree range of rotation for the scanning zone of         30   cally in FIG. 3Ccan be referenced by an azimuth angle<j> (e.g.
 the laser beam 306 via the rotating angled mirror 304, this is            orientat ion oftbe LlDAR device 302 while emitting the pulse
 for purposes of example and explanation only. LIDAR 302                   corresponding to the point, which is detem1ined by the ori-
 can be configured to have viewi11g angles (e.g., angular range            entation of the rotating angled mirror 304) and a Iine-of-sight
 of available orientations during each sweep), including view-             (LOS) distance (e.g., tbe distance indicated by tbe time delay
 ing angles up to and including 360 degrees. Further, although        35   between pulse emission and reflected light reception). For
 LIDAR 302 is depicted with the single laser beam 306 and a                emitted pulses that do not receive a reflected sigual. the LOS
 single mirror 304, this is for purposes of example and expla-             distance can optionally be set to the maximum distance sen-
 nation only, LJDAR 302 can include multiple laser beams                   sitivity of the LIDAR device 302. The maximum distm1ce
 operating simultaneously or sequentially to provide greater               sensitivity can bedetennined according to the maximtun fone
 sampling coverage of the surrounding environment. 171e               40   delay the associated optical sensors wait for a retumreflected
 LJDAR 302 also includes, or works in concert with, addi-                  signal following each pulse emission, whjch can itself be set
 tional optical sensors (e.g., a photo-detector, not shown) co11-          according to the anticipated sigual strength of a reflected
 fig11red to detect the reflection of laser beam 306 from fea-             signal at a particular distance given ambient lighting condi-
 n1res/objects in the surrounding environment with sufficient              tions, intensity of the emitted pulse, predicted reflectivity of
 temporal sensitivity to determine distm1ces to the reflective        45   environmental features, etc. In some examples, the maximum
 features. For example, with reference to the vehicle 200 in               distance can be approxima tely 60 meters, 80 meters, I00
 FIG. 2, sucb optical sensors can optionally be co-located with            meters, or 150 meters, but other examples are possible for
 the top-mounted sensors 204 on the autonomous vehicle 200.                particular configurations of the LIDAR device 302 and asso-
    FIG. 3B symbolically illustrates the LIDAR device 302                  ciated optical sensors.
 scallillng across m1 obstacle-filled environmental scene. The        so      In some embodiments, the sensor fosion algorithm 138,
 example vehicular environment depicted in FIG. 3B includes                computer vision system 140. aud/or computer system 112,
 a car 310 and a tree 312. In operation, LIDAR 302 rotates                 can interpret the car spatial data 314 alone and/or in combi-
 according to motion reference arrow 308. While rotating, the              nation with additional sensor-indicated infonuation m1d/or
 LlDAR 302 regu larly (e.g.. periodically) emits laser pulses,             memory-based pattern-matching point clouds and/or base-
 such as the laser pulse 306. Objects in the surroundiug euvi-        55   line maps of the enviromnent to categorize or identify the
 ronment, such as vehicle 310 and tree 312, reflect the emitted            group of points 314 as corresponding to the car 310. Simi-
 pulses and the resulting reflected siguals are then received by           larly, the tree spatial data 316 can identified as correspondillg
 suitable sensors. Precisely time-stampillg the receip t of the            to the tree 310 in accordance with a suitable object-detection
 reflected signals allows for associating each reflected signal            technique. As described further herein, some embodiments of
 (if any is received at all) with the most recently emincd laser      60   the present disclosure provide for identifying a region of the
 pulse. and measuring the time delay between emission of the               point cloud for study with enhanced resolution scanning tech-
 laser pulse and reception of the reflected light. 1l1e tin1e delay        nique on the basis of the already-sampled spatial-points.
 provides an estimate ofthe distance to the reflective feature by             FIG. 4A symbolically illustrates a LIDAR device 302 scan-
 scaling according to the speed of light in the intervening                ning across an exan1ple obstacle-filled environmental scene.
 atmosphere. Combinillg the distance information for each             65   The LIDAR device 302 scans the laser bean1 306 across the
 reflected signal with the orientation of the LI DAR device 302            environmental scene via its beam steeriogoptics 304 while its
 for the respective pulse emission allows for detem1ining a                laser I ight source pulses, such that successive pulses arc emit-
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 ted with an angular separation 0 1 . Successive pulses are emit-          reflective point, in combination with the distance to the point
 ted periodically with a temporal separation 11 . For illustrative         as indicated by the measured time delay. 111e reflectance of
 purposes, the angular separation 0 1 between adjacent, succes-            the reflective point can be employed by softwa re and/or hard-
 sively emitted pulses is exaggerated in FIG. 4A to aJlow                  ware implemented modules in the controller 430 to charac-
 i11dividual pulses to be represented ill the drawing. As a resu lt   5    terize the reflective features in lbe environment. For example,
 of the rotatiou of the beam steering optics in rhe LJDAR                  traffic indicators such as lane 1narkers, traific signs, traffic
 device 302, temporally separated pulses (e.g., pulses emitted             signals. navigational signage. etc., can be indicated in part
 at times separated by the time t 1) are directed in respective            based on having a relatively high reflectance value, such as
 angular orientations separated by the amonlll of rotation of              associated with a reflective coating applied to traffic and/or
 the beam steering optics during the interval 11, (e.g .. the angle   10   navigational signage. In some embodiments, identifying a
 0 1 ). A controller 430 is arranged to receive signals from the           relatively high reflectance feature can provide a prompt to
 LlOAR device 302 a11d/or associated optical sensors to gen-               undertake a n1rther scan of the Lugh ref11:.'Ctance feature with
 erate point cloud data 440 indicative of the 3-0 positions of             one or more sensors. such as those in the sensing system 104.
 reflective features in the envirolllllental scene surrounding the         Thus, in one example, a reflected signal indicating a high
 LIOAR device 302.                                                    15   reflectance feature can provide a prompt to image the high
     FIG. 4B is a timingdiagramofU1e transm it1ed and received             reflectance feature with a camera to allow for identifying the
 pulses for the exaggerated symbolic ill ustration of FlG. 4A.             high reflectance feature. In some embodiments where the
 The riming diagram symbolically illustrates the transmitted               high reflectance feature is a traffic sign, the camera image can
 pulses (labeled on FIG. 4B as ''Tx") and the corresponding                allow for reading the sign via character recognitiou and/or
 received pulses (labeled on FIG. 4B as "Rx").                        20   pattern matclung, etc. and then optionally adjusting naviga-
     An example operation of the LID.A.R device 302 is                     tional instrnctions based on the sign (e.g., a sign indicating a
 described in connection with FIGS. 4A and 48. At time Ta, a               constn1ction zone. pedestrian crosswalk, school zone, etc.
 first pulse 410a is emitted from the LIOAR device 302 and                 can prompt 1he autonomous vehicle to reduce speed).
 directed along laser beam path 306a via the beam steering                      At time Tc, following the time Tb by the interval ll, a third
 optics. As shown in FIG. 4A, the beam path 306a is reflected         25   pulse 410c is emitted from the LIDAR device 302. The third
 from near the front passenger-side region of the car 310, and             pulse 410c is directed along a laser beam path 306c, which is
 a first reflected signal 420a is detected at optical signals              approximately angularly separated from the beam path 306b
 associated with the LIOAR device 302 (e.g., via optical sen-              by the angle 8 1. The pulse 410c is reflected from a point near
 sors included in the sensor system 202 mounted on the vehicle             the middle of the rear bumper region of the car 310. and a
 200 in FIG. 2). ·n1e time delay between the emission of pulse        30   resulting reflected signal 420c is detected at the LIDAR
 410a and reception of the reflected signal 420a is indicated by           device 302 (or its associated optical sensors). The controller
 time delay 6.Ta. The time delay 6.Ta and the orientation of the           430 combines the relative time delay 6.Tc between the emis-
 LIDAR device 302 at time Ta, i.e., the direction of laser beam            sion of pulse 41 Oc and reception of reflected signal 420c and
 306a, are combined in the controller 430 to map the 3-D                   tbe orientation oflhe LlDAR device 302 at time Tc, i.e., the
 position of the reflective point on the front passenger-side         35   direction of beam path 306c, to map the 3-D position of the
 region of the car 310.                                                    reflective point.
     Next, at time Tb. a second pulse 410b is entitled from the                 At time Td. following time Tc by the interval t i, a fourth
 LlDAR device 3 02 and directed along laser beam path 306b.                pulse 410d is emitted from the LIDAR device 302.111e fourth
 Time Tb is temporally separated from time Ta by the interval              pulse 410d is directed along a laser beam path 306d. which is
 time 11, and the direct-ion of the laser beam path 306b is           40   approximately angularly separated from the beam path 306c
 angularly separated from the direction of laser beam path                 by the angle 0 1. The beam path 306d entirely avoids the car
 306a by angular separation 8" due to the change in orienta-               310, and all other reflective environmental features within a
 tion of the beam steering optics in the LIDAR device during               maximum distance sensitivity of the LID.A.R device 302. As
 the interval t 1. The laser pulse 31 Ob is reflected from near the        discussed above, the maximum distance sensitivity of the
 rear passenger-side region of the car 310, and a second              45   LJDAR device 302 is detennined by the sensitivity of the
 reflected signal 420b is detected with a relative time delay              associated optical sensors for detecting reflected signals. The
 6Tb from the emission of the second pulse 4JOb. As illus-                 maximum relative time delay 6Tmax corresponds to the
 trated in FIG. 4B, the LIDAR device 302 is generally situated             maximum distance sensitivity of the LlOAR device (i.e., the
 behind the car 310, and so the reflective point near the rear             time for light signals to make a round trip of the maximmn
 passenger-side region of the car 310 (responsible for the            so   distance). Thus, when the opticaJ sensor associated with the
 reflected signal 420b) is closer to the LI DAR device 302 than            LIOAR device 302 does not receive a reflected signal in the
 the reflective point near the front passenger-side region of the          period 6Tmax follow ing time Td, the controller 430 deter-
 car 3J O (responsibleforthe reflected signal 420a). As a result,          nunes tha t no reflective fearures are present in the surround-
 the relative time delay 6Tb is shorter than the relative time             ing environment along the laser beam path 306d.
 delay 6 Ta, corresponding to the difference in roundtrip travel      55        The reflective points on the car 310 corresponding to the
 time at the speed of light between the LIDAR device 302. and              reflected signals 420a-c form a subset of points included in a
 the respective reflective points at the front and rear of the car.        3-0 point cloud map 440 of the environment surrounding the
     Further, the sensors detecting the reflected signals can              LIDAR device 302. In addition, the direction of the laser
 optionally be sensitive to the intensity oft he reflected signals.        beam 310d is noted in the 3-D point cloud map 440 as being
 For example, the intensity of the reflected s ignal 420b can be      60   absent of reflective features along the line of sight within the
 perceptibly greater than the intensity of the reflected signal            maximum distance sensitivity of the LIDAR device 302,
 420a. as shown symbolically in FIG. 48. The controller 430                because no reflected signal was received after the duration
 maps the 3-D position of the reflective point near the rear               /',,Tmax following the emission of pulse 410d at time Td. The
 passenger-side of the car 310 according 10 the time delay                 points corresponding to laser beam directions 306a-d are
 value 6Tb and the orientation of the LIDAR device 310 al             65   combined with points spaced throughout the scanning zone
 time Tb. i.e.. the direction oflaser beam 306b. ·nie intensity of         (e.g.. the region scaw1cd by the LIDAR device302). to create
 the reflected signal can also indicate the reflectance of the             a complete 3-D point cloud map, and the results are output as

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 fixed resolution point cloud data 440 for further analysis by             transistor 520 is turned off. For example, the discharge diode
 object detect.ion systems, pattern recognition systems, com-              522 may have an anode and a cathode; the anode can be
 puter vis ion systems, etc.                                               connected to the cathode of the laser diode 518; the cathode
                                                                           can be connected to the anode of the laser diode 518. As such,
            JV. Example user Diode Firing Circuit                     5    charge remaining on an internal capacitance of the laser diode
                                                                           518 following a firing operation causes the discharge diode
    In order to illuminate a scanning zone with pulses of light,           522 to be forward biased. and the internal capacitance is
 a LIDAR device includes one or more light sources that are                allowed to discharge through the discharge diode 522. Fol-
 triggered to emit pulses of light. The light sources may
                                                                           lowing such discharge, the discharge diode 522 is no longer
 include light enlitting elements such as a laser diode or            10
                                                                           forward biased.
 another emissive light source. A laser diode is a semiconduc-
                                                                              To initiate firing, the gate driver 530 causes the transistor
 tor device including a p-n junction with an active region in
                                                                           520 to turn on by adjusting the voltage applied to the gate
 which oppositely polarized, energized charge carriers (e.g.,
 free electrons and/or holes) recombine while current flows                temlinal 520g, wllich allows current to flow to the drain
 through the device across the p-n junction. The recombin.a-          15
                                                                           tern1inal 520d through the laser diode 5.18. The capacitor 516
 tion results in emission oflight due to a change in energy state          discharges through a discharge path that includes the laser
 of the charge carriers. When the active region is heavily                 diode 518 and the transistor 520. The discharge current from
 populated by such energized pairs (e.g., the active region may            the capacitor 516 causes the laser diode 518 to eulit a pulse of
 have a population inversion of energized states), stimulated              light. ·nie transistor 520 is t·urned back off by adjusting the
 emission across the active region may produce a substantially        20   voltage applied to the gate terminal 520g via the gate driver
 coherent wave front of light that is then eulitted from the laser         530. Upon turning off the transistor 520, the laser diode 518
 diode. Recombination events, and the resulting light emis-                ceases emission.
 sion, occur in response to current flowing through the device,               The inductor 510 is connected between the voltage source
 and so applying a pulse of current to the laser diode results in          502 and the an.ode of the diode 514. For convenience in the
 emission of a pulse of light from the laser diode.                   25   description and the drawings a point cotrnecting the inductor
    A light pulse with the desired temporal profile can be                 Sl0 and theauodeofthediode 514 is labeled nodeA 512. The
 generated by applying a rapidly switched current to a laser               cathodeofthediode 514 is connected to the capacitor 516 and
 diode (e.g., a current source that rapidly transitions from near          also to the anode of the laser diode 518. The capacitor's 516
 zero current to a current sufficient to cause the laser diode to          charging path, which couples the capacitor 516 and the volt-
 emit light). Circuits configured to convey such currents to          30   age source 502, includes the inductor 510 and the diode 514.
 laser diodes to cause the laser diodes to fire (e.g., emit a pulse        During charging, the voltage across the inductor 510 varies in
 of light) are referred to here in as laser diode firing circuits.         accordance with changes in the inductor current. and the
 One example laser diode firing circuit includes a laser diode             diode 514 regulates the voltage applied to the c,1pacitor 516
 connected in series with a tra11sistor capable of switching               depending on whether tbe diode 514 is forward biased or
 large currents over brief transition times. Current through the      35   reverse biased. The diode 514 is forward biased (and thus
 laser diode, and thus emission. from the laser diode, can then            allows the capacitor 516 io charge) when the voltage at node
 be controlled by operating the transistor. An example circuit             A 512 is greater than the voltage on the capacitor 516. The
 may switch from near zero current through the laser diode, to             diode 514 is reverse based (and thus prevents the capacitor
 about 30 amperes, and back to near zero all in a span of about            516 from charging) when the voltage at node A 512 is less
  1-2 nanoseconds.                                                    40   than the voltage on the capacitor 51.6. Vo ltage variations ai
    The firing circuits disclosed herein may include a laser               node A 512 due to changes in current through the inductor 510
 diode configmed to eulit a pulse of light with a wavelength in            may result ina voltage being applied to the capacitor516 that
 the visible spectnun, ultraviolet spectrnm, near infrared spec-           exceeds the voltage of the voltage source 502.
 trum, and/or infrared spectnun. In one example, the laser                    For example, the voltage source 502 connected to one side
 diode is configured to emit a pulse of light in the infrared         45   of the inductor 510 may have a voltage V, . The voltage on the
 spectrnm with a wavelength of about 905 nanometers.                       other side of the inductor 510, at node A 512, varies due to
    FIG. SA is an example laser diode firing circuit 500. The              induced vol tage across the inductor 510 as the inductor cur-
 firing circuitS00 iucludes a capacitor 516 connected to a laser           rent changes. In particular, during a charging operation to
 diode 518 and a transistor 520. Jn some examples. the capaci-             recharge the capacitor 516. the current through the inductor
 tor 516, laser diode 518, and transistor 520 can be connected        so   510 briefly increases and then decreases. As the inductor
 in series. The capacitor 516 is connected to both a charging              current increases, the voltage at node A 512 may decrease to
 path (e.g., FIG. SC) and a discharge path (e.g ., FIG. SD). ·n1e          a voltage less than V 1 . As the i11ductor current changes from
 capacitor 516 has one tem1inal coupled to a voltage source                increasing to decreasing, the voltage at node A 512 may
 502 (e.g., through inductor 510 and diode 514) and an anode               increase to a higher level voltage (e.g .. a voltage greater than
 of the laser diode 518. Theothertem1inal of the capacitor 516        ss   V 1) , before decreasing. "Ole transient higher level voltage at
 can be connected to ground, or to another reference voltage               node A 512 (e.g., >V 1) is applied to the capacitor 516, wllich
 sufficient to allow the capacitor 516 to be charged by the                charges as the voltage at node A 512 decreases due to the
 voltage source 502, through the charging path. The cathode of             inductor current continuing to decrease. The capacitor 516
 the laser diode SJ 8 is connected to one terminal of the tran-            charges until the voltage on the capacitor 516 approximately
 sisto r 520, which has another ternlinal connected to ground         60   equal the voltage at node A 512. Upon the voltage at node A
 (which may also connect to the capacitor 516). The transistor             512 approximately equaling the voltage on the capacitor 516,
 520 acts as a switch to selectively allow current to flow                 the diode 512 is reverse biased. Upon the diode 514 being
 through the laser diode 518 according to a control signal from            reverse biased, the current through the inductor 510 goes to
 a gate driver 530.                                                        zero and the voltage across the inductor 510 settles at zero,
    A discharge diode 522 is coupled across the laser diode           65   whlch sets node A to the voltage of the voltage source 502
 518. The discharge diode 522 is configured to allow an inter-             (e.g.. the voltage V ,). but thecapacitor516 may hold a higher
 nal capacitance of the laser diode 518 to discharge when the              voltage (e.g., abom 2 V 1).

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    1l1e transistor 520 may be a field effect transistor (FET)               V Go re to a level sufficient to turn offilie transistor 520, which
 with a channel region including Gallium nitride (i.e., the                  ter111inates current flowing through the laser diode 518.
 transisto r 520 may be a GaNFET). However, alternative FETs                     ·n1e charging cycle is i11itiated in response to the transistor
 may be employed, such as FETs con.figured to rapidly switch                 520 firing, which discharges the capacitor 516. Upon the
 large current values, such as transistors with carrier mobility        5    capacitor voltage V Cap discharging to a voltage level suffi-
 (e.g., high electron mob ility transistors (HBMTs)). Jo FJG.                cient to forward bias the ruode SJ 4, at time T,, current begins
 SA, the transistor 520 is illustrated as a field effect transistor          flowing through the inductor 510 (as indicated by 11,,d in FIG.
 (FET); although it is understood the firing circuit 500 may be              SB). In FIG. SB. time T 1 is shown during the interval ~t 0 ,v
 implemented with alternative transistors to selectively switch              (i.e., before T OFF ) , althougl1 in some implementations the
 current through the laser diode, such as a bipolar junction            10   diode 514 may not begin conducting current until the transis-
 transisto r, etc. Further, while the transistor 520 is illustrated          tor 520 has turned off (i.e., after Topp) . The increase in
 as an n-type transistor, a complementary circuit may be                     iuductor curreut 11,,,1 causes tbe voltage at node A 512 to
 formed using a p-type transistor.                                           decrease in proportion to the time derivative of the inductor
    FIG. SB is a tinling diagram of a pulse enlission operation              current 11,,,1, because changes iu the inductor current 11,,,1
 of the example laser diode firing circuit 500 of FIG. SA.              15   induce a voltage in l11e inductor 510 that opposes the direction
 Shown iu FIG. 58 is the gate voltage V 0 ,,,0 ofthe FET 520, the            ofany current change.111evoltagea1nodeA 512, and thus the
 drain current Ivram of the PET 520, the luminosity Lv;ode of                increasing inductor current I1nd, are prevented from changing
 the laser diode 518, the voltage V c,,p oftJ1e capacitor 5 16, the          so rapidly as to reverse bias the diode 514.
 voltage V 1 at node A 512, the current 11,,,1 through the inductor              For example, starting at time T 1, the voltage at node A 512
 510, and the light signal received Rx from a reflected portion         20   may decrease to a voltage level less than V 1 (as indicated by
 of the emined pulse. For convenience in tJie description, tJ1e              VAin FIG. 5 8 ).At timeTO FF> current ceases flowiug through
 time at which an initiating signal is applied to the transistor             the laser diode 518, and the diode 514 connects the inductor
 520 and a pulse is emitted is referred to here in and in tJ1e               510 and the capacitor 516, which form a resonant LC tank
 drawi ngs as the tum on time TON ·                                          circuit. The current from the inductor 510 charges tbecapaci-
    Initially, the capacitor 516 is charged to a voltage set in part    25   to r 516, in a sinusoidal oscillatory fashion. At one quarter of
 by the voltage source 502. The c harge on the capacitor 516                 the oscillatiou period, the inductor current 11.,,1 reaches a
 may exceed the voltage V I of the voltage source 502 due to                 maximum, and begins to decrease. At that point, tl1e resonaut
 transient variations at node A 512 caused by changes in cur-                LC circuit divides its stored energy with about half in the
 rent through the inductor 510. A voltage that exceeds V 1 may               capacitor 516 and about half in the inductor 510. Continuing
 be held on the capacitor 516 after the diode 514 is reverse            30   with the sinusoidal oscillation, current continues to flow to
 biased to terminate a charging operation. For example, ilie                 the capacitor 516, unti l the mid-point of the oscillation cycle,
 capacitor 516 may be initially charged to a voltage level of                at time T2 , at which point the cu1Tent reaches zero and the
 about 2 V 1 . Al the tum 011 time T 0 ,..,~ an initiating signal is         capacitor 516 stores substantially all of the energy that bad
 applied 10 the transistor 520 from the gate driver 530. The                 been d ivided between the inductor 510 and the capacitor 516.
 initiating signal can be a gate voltage VGate that transitions         35   Before the energy stored on tJie capacitor 516 can transfer
 from a low level to a high level so as turn 011 tJie transistor 520.        back to the inductor 510, the diode 514 becomes reverse
 The transistor 520 turns on and the drain current Iv,.,,,,, tran-           biased, which. causes the capacitor 516 to remain charged
 sitions from a current near zero 10 a currellf sufficient to drive          with approximately twice the supply voltage V 1 . For
 the laser diode 518. The laser diode 518 emits a pulse oflight,             example, the supply voltage V I may be about 20 volts and the
 as indicated by the luminosity Lmode· As the drain current             40   voltage stored on the capacitor 516 following charging may
 Iv,,,,., flows through the laser diode 518, tbe capacitor 516               be about 40 volts.
 discharges to source current to tbe laser diode 518. In some                    The oscillatory LC circuit described berein efficiently
 examples, during pulse emission, the capacitor 516 and tJ1e                 transfers energy between ilie inductor 510 and the capacitor
 parasitic capacitance of the laser diode 518 can combine to                 516 during the recharge interval AtcNARGEofthe circuit 500,
 form a resonant LC tank circuit, which is heavily damped.              45   but the present disclosure is not linlited to the use ofrcsonant
 Discharging the capacitor 516 thus transfers the electrical                 LC circuits. Generally, the capacitor 516 may be charged to a
 energy charged on the capacitor 516 to the laser diode 518,                 greater value than the supply voltage VI based on transient
 where energy is consumed by current flowing in the laser                    voltages on the inductor 510 caused by changes in current
 diode to produce light. Upon completion of a single half-                   following firing of the circuit 500. Current through the induc-
 cycle of tJie damped LC oscillation, there may be almost no            so   tor 510 may change from increasing (e.g., between times T 1
 energy left to continue to drive current througl1 tbe laser diode           and T 0 pp) to decreasing (e.g .. following time T 0 pp). and the
 518, and remaining voltage, if any, can return to the capacitor             sudden change in current through the inductor 510 can induce
 51 6 via the diode 522 collJlected in parallel across the laser             a rapid increase in voltage at node A 512 . For example, at time
 diode 518.                                                                  T OFF> tl1e voltage al node A 512 can go to a voltage greater
    Jn practice then, tbe energy stored on the capacitor 516 may        55   tban V 1 , and may be several times V 1. The precise voltage
 be consumed. and the laser diode 518 may turn off (at time                  applied to node A 512 depends on tJ1e time derivative of the
 T 0FF), following a single half-cycle of the resonant LC cir-               inductor current when tra.nsitiotling from an increasing cur-
 cuit formed by the capacitor 516 and the parasitic inductance               rent to a decreasing current, but may be several tin1es the
 of the inductor 518. Tbe pulse duration ll.t0 ,vmay be about 20             voltage of the voltage source 502 (e.g.,just afterTO FF, VA ..x
 nanoseconds in some examples. In some cases (and as shown              60   V,, with X>2).
 in FIG. SB), the laser diode 518 may ce.ase emitting light prior                Following the increase in 1J1e voltage at node A 512, the
 to turning off tJie transistor 520 (e.g., by adjusting the gate             current through the inductor 510 can continue to decrease as
 voltage V Ga,e) . AltJiough, in some examples, and depending                the capacitor 516 becomes charged. and the voltage a t node A
 on the values ofthe capacitor 516 and the parasitic inductance              512 can therefore decrease. The capacitor 516 may continue
 oftbe laser diode 518, tJie pulse duration ~toN may continue           65   charging until the diode 514 becomes reverse biased, at time
 until the transistor 520 turns off. 11ms, in some examples, ilie            T 2 in FJG. SB. Whilechargiug, between ti mes T 0 pp andT2 ,
 transisto r 520 can be t11rned off by adjusting the gate voltage            the voltage Vcap across the capacitor 516 increases and the

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 voltage VA ofuode A 512 decreases. The time T 2 , at which the             tfonal tin1e would increase the lag time between emissiou of
 charging cycle stops. occurs when the two voltages approxi-                subsequent pulses and thus reduce tbe duty cycle oftlle firing
 mately equal one another (e.g., v ....v cop). In some examples,            circuit. Jn some examples, the firing circuit 500 is configured
 the voltage at which the two voltages are approximately equal              to immediately recharge the capacitor 516 upon emission of a
 so as to tenninate the charging cycle occurs for a voltage of         5    pulse because the recharging operatiou is initiated in response
 about 2 Vt (e.g., 2 V 1 -v.,-vCap). D1e voltage on the capaci-             to operatfon of the same transistor 520 that initiates emission
 tor 516 (i.e., V Cap) following the charging cycle may be, for             (e.g., turning on the transistor 520 both causes a pulse to be
 example, about 40 Volts. Upon the cliode 514 becoming                      emitted and, upon sufficient discharge from the capacitor 516,
 reverse biased, at time T2 • the charging current stops flowing
                                                                            causes the diode 514 to become forward biased and current to
 through the cliode 514, and therefore the current 11,,d through       10
                                                                            begin flowing through the inductor 510 so as to initiate charg-
 the inductor 518 changes quickly to zero. The change in
                                                                            ing).
 inductor current at time T2 is therefore accompanied a change
                                                                                The light pulse emitted at time T oNcan be reflected from an
 in the voltage VA of node A, to return to the voltage of the
 voltage source 502 (i.e., the voltage V ,).                                environmental object, such as an obstacle surrounding an
    The voltage variations across the inductor 510 can be              15
                                                                            autonomous vehicle. and a light signal from the reflected
 described in terms ofenergy temporarily stored in a magnetic               portion of the emitted pulse is received via a photo detector at
 field of the inductor 510 and then released. Energy stored in              reception tin1e T Rx · The time /1,.T betweeu the emission time
 an inductor's magnetic field is proportionate to the square of             (a t time T0 ,v) and the recep tion time T can then be used to
 the current flowing through the inductor. When the inductor                calculate the distance to tbe reflective object. For example, the
 current 11,,d is increased, tbe inductor 510 increases tbe energy     20   round trip travel time /1,.T can be multiplied by tbe speed of
 stored in its magnetic field (e.g., accorcling to the difference in        light in the surrounding atmosphere to get the round trip
 current l1nd)- Increasing the inductor current IInd thus charges           distance, which is twice the distance to the reflective object.
 the energy stored in the magnetic field of the inductor 510                    In some examples, the emission time of the emitted pulse
 from a low energy level (e.g .. zero) to a high energy level.              may be determined using a feedback loop configured to react
 When the inductor 510 is being charged by an increasing               25   to the clischarge current flowing through the laser cliode 518.
 current from the voltage source 502, the iuduced voltage                   For example. a conductive loop may be situated such that a
 across the inductor 510 opposes the change in current and so               voltage is induced in the loop due to changing magnetic flux
 node A 512 goes to a voltage less than V,. By contrast, when               through the loop in response to the discharge current flowing
 the inductor current 11,"1 is decreased, the energy stored in the          through the firing circuit 500. The voltage across the leads of
 magnetic field of tbe inductor 510 is decreased. Decreasing           30   such a conductive feedback loop can then be detected, and the
 the inductor current 1,,,d thus djscharges the energy stored in            time at which a pu lse is emitted from tl1e fi ring circuit can be
 the magnetic field of the inductor 510 from high energy level              estimated based on the time the voltage is detected. Such a
 to a low energy level. When tbe inductor 510 is being dis-                 system can be used to reduce ti.ming uncer1ai11ty in the firing
 charged by a decreasing current from the voltage source 502,               time due to delays be1ween application oftbe n1m on signal
 the induced voltage across the inductor 510 opposes the               35   ( e.g., the gate voltage V00 ,.) and the firing of the laser diode
 change in current and so node A 512 goes to a voltage higher               518, which may involve some non-zero random and/or sys-
 than V 1 . However. the diode 514 only remains forward biased              tematic timing delay and/or timing jitter.
 while the voltage at node A 512 exceeds the voltage across the                 FJG. SC shmvs a current path through the example laser
 capacitor 516.                                                             diode firing circuit 500 of FIG. SA dur ing a charging mode.
    "ll1e diode 514 and inductor 510 can thus combine to cause         40   During cba.rgi11g, the voltage across the capacitor 516 is less
 the capacitor 516 to be charged to a voltage that exceeds the              than the vol tage at the node between the inductor 510 and
 voltage V I of the voltage source 502. For example, the diode              diode 514 such that the diode 514 is forward biased. In addi-
 514 is forward biased when the voltage across the capacitor                tion, the tra11Sistor 520 is nirned off (as indicated by tbe OFF
 516 is at a lower level, such as between time times T OFF and              block coupled to the gate terminal 520g in FIG. SC). As such,
 T 2 as shown in FlG. 58 when the capacitor voltage V Cop              45   current does not flow through the laser diode 518, and instead
 charges from less than V I to about 2 Vt· However, the diode               flows to accumulate charge across the capacitor 516. The
 514 is reverse biased when the voltage across the capacitor                dashed arrow in FIG . SC illustrates such a charging current
 51 6 is at a higher level, such as following time T 2 as shown in          path, which flows from the voltage source 502 (which may
 FIG. 58 when the capacitor voltage V Cop remains at about 2                have a voltage V.), through tbe biasing diode 514, toward the
 V 1 while the voltage VA at node A 512 decreases to V 1 • For         so   capacitor 516. 1n some exan1ples, following a discharge, the
 example. V 1 may be about 20 Volts and the capacitor voltage               capacitor 516 can be recharged in preparation for a subse-
 VC ap following charging may be about 40 Volts.                            quent clischarge (and associated pulse emission) event in
    In some examples, the firing circuit 500 is operated such               about 500 nanoseconds.
 that the capacitor 516 is recharged immecliately following                     FIG. 5D shows a current path through the example laser
 emission of a pulse of light from tbe laser d iode 518. As            ss   diode firing circuit 500 ofFJG. SA during an emission mode.
 shown in PIG. 5B, a capacitor recharging interval M c HA.RG£               During emission, the transistor 520 is turned on (as indicated
 begins at the transistor tum off time T OFF and ends with the              by the ON block coupled to the gate terminal 520g in FIG.
 reverse biasing of the diode 514, at time T 2 . The capacitor              5D). As such, the capacitor 516 is connected across the laser
 recharging interval /1,.tc NA.RGE may be approximately 500                 diode 518 (via the turned on transistor 520), and so the charge
 nanoseconds, for example. Moreover, by con.figuring the fir.          60   ou the capacitor 516 rapidly discharges through the laser
 i11g circuit 500 such that the capacitor 516 is recharged imme-            diode 518 and the transistor 520. The dashed arrow in PJG. 5 D
 diately following a pulse emission, the firing circuit 500 can             illustrates such a discharge current patb, which flows from the
 be recharged and ready to emit a subsequent pulse faster than              capacitor 516, through the laser diode 518 and the transistor
 an alternative configuration. Jf, for example, a recharging                520 toward ground. Upon the transistor 520 being nimed on,
 operation were to be initiated after some duration following a        65   the clischarge current flows rapidly to discharge the capacitor
 pulse emission (e.g., using a second transistor other tha n a              516 a nd the resulting change in current (e.g .. increase in
 transisto r controlling current through a laser diode), the addi-          current) cau ses the laser d iode 51 8 to emit a pulse of light.
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    1l1e current paths shown in FIGS. SC and SD ilJustrate two            alternative current path during rapid current switching
 operation modes of the firing circuit 500: a charging mode               through the inductor 544 to regulate aml/or smooth the result-
 (FIG. SC) and an emission mode (FIG. SD). ln some                        ing variations across the inductor 544. The snubber circuit
 examples, the firing c ircuit 500 switches between the charg-            546 may include a resistor and/or capacitor counected in
 ing mode and the emission mode based solely on whether the            5 parallel across the inductor 544, for example. The snubber
 transisto r 520 is n,med on or turned off. IJl the chargi11g mode,       circuit 546 may additionally or alternatively include one or
 the transistor 520 is turned off and current flows from the              more diodes and/or solid state components configured to limit
 voltage source 502 to the capacitor 516 via the charging path            and/or regulate the maxi.mum voltage and/or maximum volt-
 (e.g., the current path including the inductor 510 and diode             age ra te across the inductor 544. Thus, the snubber circuit 546
 514) until the diode 514 is reverse biased. In the emission           10 111ay operate actively and/or passively to modify transient
 mode, the trans istor 520 is turned on and current flows from            voltage variations across the inductor 544. In some cases, the
 the charged capacitor 516 through the laser diode 518 and the            snubber c ircuit 544 may be used to prevent transielll voltage
 transistor 520 until the transistor 520 is turned off again.             variations from exceeding a predetem1iued threshold and
    FIG. SE illustrates an arrangement 540 in which multiple              thereby prevent dan1age to circuit components. While illus-
 laser diode firing circuits 550a-n are connected to be charged        15 trated in FIG. SE, the snubber circuit 544 may (or may not) be
 via a single inductor 544. 111e inductor 544 has one tem1inal            included in particular implementations of the arrangement
 connected to a voltage source 542 (labeled Vi), and a second             540 shown in FIG. SE. Moreover, a snubber circuit 111ay (or
 terminal that connects to the firing circuits 550a-n so as to be         may not) be included across the charging path inductor in a
 included in a charging path of the respective firing circuits            particular implementation of the single firing circuit arrange-
 550a-n. Each of the firing circuits 550a-n can be similar to the      20 ment described above in connection with FIG. SA-SD.
 firing circuit 500 described above in coL111ection with FIGS.
 SA-SD. For example, the first firing circuit 550a includes a                                  V. Example Operations
 capacitor 558a connected to a laser diode 554a and a transis-
 tor 556a. The capacitor 558a. laser diode 554a, and transistor                FIGS. 6A through 6C present flowcharts describing pro-
 556a can be coL1J1ected in series such that turning on the            25 cesses employed separately or in combination               in some
 transistor 556a causes the capacitor 558a to discharge                     embodiments of the present disclosure. The methods and
 through the laser diode 554a, which causes the laser diode to              processes described herein are generally described by way of
 emit a pulse oflight. A discharge diode 560a can be connected              example as being carried out by an autonomous vehicle, such
 across the laser diode 554a to discharge the internal capaci-              as the autonomous vehicles 100. 200 described above in
 tance of the laser diode 554a. The first firing circuit 550a also     30   connection with FlGS. 1 and 2. For example, the processes
 includes a diode 552a that coru1ects the firing circuit 550a to            described herein can be carried out by the LIDAR sensor 128
 the inductor 544 and the voltage source 542. The diode 552a                mounted to an autonomous vehicle in cornmunication with
 cau fuuctiou similarly to the diode 514 described above iu                 the computer system 112, sensor f'usion algorithm module
 connection with FIGS. SA-SD. For example, the diode 552a                   138, and/or computer vision system 140.
 can become forward biased and draw current through the                35      Furthermore, it is noted that the firnctionality described in
 inductor 544 to charge the capacitor 558a following a firing               connection with the flowcharts described herein can be imple-
 event (and associated discharge of the capacitor 558a). Upon               mented as special-function and/or configured general-func-
 the capacitor 558a being recharged, the diode 552a can then                tion hardware modules, portions of program code executed
 become reverse biased and thereby cause the capacitor 558a                 by a processor (e.g., the processor 113 in the computer syste111
 to maintain its stored charge.                                        40   112) for achieving specific logical f1u1ctions, detenninations,
    The second firing circuit 550b is similarly co11Uected to the           and/or steps described in connection with tbe flowcharts.
 inductor 544 via a diode 552b and includes a capacitor 558b,               Where used, program code can be stored on any type of
 laser diode 554b, transistor 556b, discharge diode 560b. One               computer readable medium (e.g .. computer readable storage
 or more additional firing circuits can also be similarly con-              111edium or non-transitory media. such as data storage 114
 nected in parallel w ith the inductor 544 10 the "nth" firing         45   described above with respect to computer system 112), for
 circuit 55011. In some cases, the arrangement 540 includes 16              example, such as a storage device including a disk or hard
 individual laser diode firing circuits SS0a-11 counected to the            drive. In addition, each block of the flowcharts can represent
 single inductor 544.                                                       circuitry tbat is wired to perform the specific logical functions
    Similar to the operation of the firing circuit described                in the process. Unless specificalJy indicated. functions in the
 above in connection with FIGS. SA-SD, the firing circuits             so   flowcharts can be executed out of order from that shown or
 550a-n are turned on and off by operation of their respective              discussed, including substantially concurrent execution of
 transistors 556a-n, which arc controlled by the respective                 separately described functions, or even iu reverse order in
 gate voltages appl ied by the gate driver 548. For example. the            some examples, depending on the functionality involved, so
 gate driver 548 can be used to turn on all of the firi.J1g circuits        long as the overall functionality of the described method is
 550a-n at substantialJy the sanie time by setting the gate            ss   maintained. Furthermore. similar combinations of hardware
 voltage high (or otherwise manipulating the gate voltage to                and/or software elements can be employed to implement the
 ntru the respective transistors on). The discharging capacitors            methods described in co11Uection with other flowcharts pro-
 558a-n cause current to begin flowing through the inductor                 vided in the present disclosure.
 544. Upon the transistors 556a-n iu the firing c ircuits 550a-n               FIG. 6A is a flowchart of a n example process 600 for
 being turned back ofT (by the gate driver 548), the voltage           60   operating a laser diode firing circuit. 111e laser diode firing
 across the inductor rises to begin recharging the capacitors               circuit may be the laser diode firing circuit 500 described
 558a-n in the firing circuits SS0a-11 until the respective diodes          above in coJlllection with FIG. 5. The laser diode firing circuit
 552a-n are reverse biased, at which point recharging termi-                may therefore include a capacitor connected to a charging
 nates.                                                                     path and a discharge path. The discharge path can include a
    Additionally, the firing circuit arrangement 540 shown in          65   laser diode and a transistor, and the charging path can include
 FIG. SE also illustrates a snubber circuit 546 co1u1ected                  an inductor and a diode. At block 602, the transistor is turned
 across the inductor 544. The snubber circuit 546 provides an               off, which causes the capacitor to charge via the charging

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 path. The current through the charging path can flow through              time detenuined in block 624. For example, the distance can
 the inductor and the diode. As charge builds on the capacitor,            be determined based on computing the round trip travel time
 the current th.rough charging path (and the inductor)                     to the reflective object from the difference of the reception
 decreases. The decrease in current through the inductor                   time and emission time, multiplying by the speed of light in
 causes the inductor to discharge energy stored in its magnetic       s    tbe surroL111ding environment and dividing by 2. At block 634,
 fie ld. For example, 1J1e energy storcxl in the magnet ic field of        the autonomous vehicle is navigated based at least in part on
 the inductor may transition from a higher energy level to a               die detennined distance to the reflective object. In some
 lower energy level in response to the transistor being n1med              examples, one or more of the control systems 106 of the
 off. At block 604, the transistor can be turned on, which
                                                                           autonomous vehicle 100 described in connection with FIG . 1
 causes the capacitor to discharge via the discharge path. The        10
                                                                           may control rhe autonomous vehicle to avoid obstacles (e.g.,
 current through the discharge path can flow through the laser
                                                                           the reflective object), navigate toward a predetermined desti-
 diode and the transistor, which causes the laser diode 10 emit
                                                                           nation, etc.
 a pulse of light. The voltage stored on the capacitor can
 discharge until the diode is forward biased, which causes the                FIG. 6C is a flowchart of another example process 640 for
 current through the charging path (and the inductor) to              15
                                                                           operating a laser diode firing circuit. 1be laser diode firing
 increase. The increase in current through the inductor causes             circuit may be similar to the firing circuit 500 described above
 the inductor to charge energy stored in its magnet ic field. For          in co1mection with FIG. 5. For example, the laser diode firing
 example, the energy stored in the magnetic field of the induc-            circuit may include a laser diode activated by current th.rough
 tor may transition from a lower energy level to a higher energy           a discharge path of a capacitor. A transistor in the discharge
 level in respouse to the transistor being turned on.                 20   patb is configured to control sucb discharge events by turning
    ln some embodiments, the operation of the transistor in                on and tum.ing off. The capacitor is also connected to a charg-
 blocks 602 and 604 provides for operation of a laser diode                ing path that includes an inductor and a diode. The transistor
 firing circuit to emit pulses of light and recharge by manipu-            may be, for example, a Gallilllll nitride field effect transistor
 lating only a single transistor. In particular, n1ming the tran-          (GaNFET). At block 642, the GaNFET is turned on. At block
 sistor on (block 604) can cause the circuit to both emit a pulse     25   644, the capacitor discharges du-ougb d1e discharge path. At
 oflight (by discharging the capacitor through the laser diode)            block 646, a pulse oflight is emi tted from the laser diode due
 and initiate a recharge cycle (by the voltage on the capacitor            to the discharge current. At block 648, energy stored i11 the
 discharging to a level sufficient to forward bias the diode in            inductor included in the charging path is increased. For
 the charging path). The recharge cycle is then terminated in              example, upon the diode in the charging path becoming for-
 response to tu.ming off the transistor (block 602), which            30
                                                                           ward biased. the current tlu-ough tbe inductor can be
 directs the current conveyed via the charging path to the
                                                                           increased, which causes energy to be stored in tl1e magnetic
 capacitor (rather than through the laser diode).
                                                                           field of the inductor. At block 650, the GaNFET is lllmed off.
     FIG. 6B is a flowchart of an example process 620 for
                                                                           At block 652, energy stored in the inductor is released as the
 operati11g a light dett.'Clion and rangi11g (LIDAR) device. The
 LIDAR device includes a light source having a laser diode            35
                                                                           inductor current decreases. At block 654, the capacitor is
 firing circuit similar to the firing circuit 500 described above          charged .from energy released by the inductor. For example,
 in connection with FIG. 5. For example. the laser diode firing            following t11.mingoffthe GaNFET, current through the induc-
 circuit may include a laser diode activated by current through            tor is conveyed to the capacitor via the charging path. The
 a discharge path of a capacitor. A transistor in the discharge            inductor current can transition from increasing (while the
 path is configured lo control such discharge events by 11irni11g     40   transistor is on) to decreasing (once the transistor is off and
 on and turning o£f.111ecapacitor is also connected lo a charg-            current uo longer flows through the laser diode). The decrease
 ing path that includes an inductor and a diode. The transistor            in inductor current causes the inductor to release its stored
 may be, for example, a Gallium nitride field effect transistor            energy, and that released energy can be transferred, at least in
 (GaNFET). At block 622, the GaNFET is n1rned off to                       part. to the capacitor. At block 656, the charging path diode
 thereby cause the capacitor to charge (via the c harging path)       45   can become reverse biased, which causes the capacitor to hold
 and the inductor (in the charging path) to decrease its stored            charge due to the released energy from the inductor. For
 energy. The inductor can release stored energy as current                 example. while the inductor releases its stored energy, tbe
 through the inductor decreases. Ar block 624, the GaNFET is               voltage conveyed to the capacitor via the diode can transiently
 turned on to thereby cause the capacitor to discharge (via the            exceed the voltage of the voltage source connected to the
 discharge path), which causes the laser diode to emit a pulse        so   inductor. The capacitor charges until the capacitor voltage
 of light. The inductor charges to au increased stored energy              approximately equals the voltage applied to the diode, at
 level due to increasing current through the inductor, which               which point the diode is reverse biased. The capacitor holds a
 occurs once the diode is forward biased. At block 626, the                voltage due in part to the transient voltage while the voltage
 transmission time of the emitted pulse (e.g .. the pulse emis-            applied to die diode settles to the voltage of the voltage source
 sion time) is determined. l11e pulse emission l'ime may be           ss   (e.g., upon the inductor current reaching zero).
 determined based on the time at which the transistor is nimed                As indicated by the dashed arrow in FIG. 6C, the process
 on to initiate the discharge current and/or based on the time au          640 can be repeated to cause the firing circuit to repeatedly
 induced voltage is detected in a conductive feedback loop                 emit pulses oflight, and be recharged immediately following
 configured to react to changes in the discharge current path.             each firingcvent. Moreover, the firing circuit may be operated
 At block 628, a reflected light pulse is received. The reflected     60   such that the voltage charged on the capacitor following a
 light pulse can include at least a portion of the light pulse             given firing event is not sufficient to forward bias the diode in
 emitted in block 624 that is reflected from a reflective object           the charging path. In such an example, the firing circuit is not
 in an environment surrounding the LIDAR device. At block                  recharged and the firing circuit is re-activated by discharging
 630, a reception time of the reflected light pulse is deter-              the charge remaining on the capacitor to generate current
 mined. At block 632, a distance to the reflective object is          65   through the laser diode and transistor. If the voltage on the
 determined based on both the time ofreception determined in               capacitor discharges to a level sufficient to forward bias the
 block 630 of the reflected light signal and the transmission              diode in the charging current path follow ing such a second

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 firing (or third firing, etc.), the firing circuit can then undergo        are for purposes of illustration and are not intended to be
 the charging mode with the capacitor recharging via the                    limiting, with the tnte scope and spirit being indicated by the
 charging path.                                                             following claims.
     FIG. 7 depicts a computer-readable medium configured                      What is claimed is:
 accordiJlg to an example embodiment. bl example embodi-               5       l. An apparams, comprising:
 ments, the example system can include one or more proces-                     a voltage source;
 sors, one or more fom1s of memory, one or more input                          an inductor coupled to the voltage source, wherein the
 devices/interfaces, one or more output devices/interfaces, aJld                   inductor is configured to store energy in a magnetic field;
                                                                               a diode coupled to the voltage source via the inductor;
 machine-readable instructions that when executed by the one
                                                                       10      a transistor configured to be turned on and turned off by a
 or more processors cause the system to carry out the various
                                                                                   control signal;
 fl.U1ctions, tasks, capabilities, etc.. described above, such as
                                                                               a light emitting element coupled 10 the transistor;
 the processes discussed in connection with FIGS. 6A through
                                                                               a capacitor coupled to a charging pat11 and a discharge path,
 6C above.                                                                         wherein ilie charging path includes the inductor and the
     As noted above, in some embodiments, ilie disclosed tech-         15          diode, and wherein the discharge path includes ilie tran-
 niques can be implemented by computer program instruc-                            sistor and the light emining element;
 tions encoded on a non-transitory computer-readable storage                   wherein, responsive to the transistor being turned off, the
 media in a machine-readable format, or ou other non- transi-                      capacitor is configured to charge via the charging path
 tory media or articles of manufacture (e.g., tbe instnictions                     such that a voltage across Ille capacitor increases from a
 115 stored on tbe data storage 114 ofthe computer system 112          20          lower voltage level to a higher voltage level and the
 ofvehicle 100). FIG. 7 is a schematic illustrating a conceptual                   inductor is config11red to release energy stored in the
 partial view of an example computer program product 700                           magnetic field such that a current through the inductor
 that includes a computer program for executing a computer                         decreases from a higher current level to a lower current
 process on a computing device, arranged according to at least                     level; and
 some embodiments presented herein.                                    25      wherein, responsive to the trru1sistor being turned on, the
     Jn one embodiment, the example computer program prod-                         capacitor is configured to discharge through the dis-
 uct 700 is provided using a signal bearing medium 702. 'TI1e                      charge path such ilia! the light emitting clement emits a
 signal bearing meclium 702 may include one or more pro-                           pulse of light and the voltage across the capacitor
 gralllllling instructions 704 that. when executed by one or                       decreases from the higher voltage level to the lower
                                                                       30          voltage level and the inductor is configured to store
 more processors may provide functionality or portions of the
                                                                                   energy in the magnetic field such tliat the current through
 functionality described above with respect to FIGS. 1-6. In
                                                                                   the inductor increases from the lower cur rent level to the
 some examples, the signal bearing medium 702 can be a
                                                                                   higher current level.
 non-transitory computer-readable medium 706, such as. but
                                                                               2. 'TI1e apparatus ofclaim l , wherein the lower current level
 not limited to, a bard disk drive, a Compact Disc (CD), a             35   is approximately zero.
 Digital Video Disk (DVD). a digital tape, memory, etc. In                     3. The apparatus of claim 1, wherein the capacitor is
 some implementations, the signal bearing med.ium 702 can be                charged inllnediately following emission of a pulse of light
 a computer recordable medium 708, such as, bur not limited                 from the light emitting element.
 to, memory. read/write (R/W) CDs, R/W DVDs, etc. In some                      4 . The apparatus of claim 1. wherein the higher voltage
 implementations, the signal bearing medimu 702 can be a               40   level is greater than a voltage of the voltage source, and
 co1ll.lllunications medium 710. such as, but not limited to, a             wherein the diode bas an aJlode coupled to the voltage source
 digital and/or an analog comml11lication medium (e.g., a fiber             via the inductor and a cathode coupled to the capacitor, such
 optic cable, a waveguide, a wired communications link, a                   that the diode is forward biased when the voltage across the
 wireless communication link, etc.) . Thus. for example. the                capacitor is at the lower voltage level and the diode is reverse
 signal bearing medium 702 can be conveyed by a wireless               45   biased when the voltage across the capacitor is at the higher
 fonn of the conuuunications medium 710.                                    voltage level.
    ·me one or more programming instnictions 704 can be. for                   5. The apparat·us of claim 1, wherein the transistor is a
 example, computer executable and/or logic implemented                      GalJiurn nitride field effect transistor (GaNFET).
 instructions. In some examples. a computing device such as                    6. The apparat11s of claim 5, wherein the control signal
 the compt1ter system 112 of FIG. 1 is configured to provide           so   applies voltage to a gate of the GaNFET to selectively t11ru the
 various operations, functions, or actions in response to the               GaNFET on and off.
 programming instntctions 704 conveyed to the computer sys-                    7. The apparatus of claim 1, wherein the light emitting
 tem 112 by one or more of the computer readable medium                     clement is a laser diode.
 706, the computer recordable medium 708, and/or the com-                      8. The apparatt1s of claim 7, further comprising a drain
 munications medium 710.                                               55   diode coupled across the laser diode, wherein the drain diode
    The non-transitory computer readable medium could also                  is configured to discharge an internal capacitance of the laser
 be distributed among multiple data storage elements, which                 diode through the drain diode when the transistor is off.
 could be remotely located from each other. The computing                      9. A meiliod, comprising:
 device that executes some or all of the stored instnictions                   turning off a IJ:ansistor. wherein the transistor is coupled to
 could be a vehicle, such as the vehicle 200 illustrated in FIG.       60          a light emitting element, wherein both the transistor and
 2. Alternatively, the computing device that executes some or                      the light emitting element are included in a discharge
 all of !be stored instructions could be another computing                         path coupled to a capacitor. wherein the capacitor is also
 device, such as a server.                                                         coupled to a charging path including a diode and an
     While various example aspects and example embodiments                         inductor, wherein the inductor is configured to store
 have been disclosed herein, other aspects and embodiments             65          energy in a magnetic field, wherein the diode is coupled
 will be apparent to those skilled in the art. The various                         to a voltage source via the inductor, and wherein,
 example aspects and example embodiments disclosed herein                          responsive to the transistor being tu med otr, the capaci-

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                                 29                                                                        30
        tor is configured to charge via the charging path such that                a voltage source:
       a voltage across the capacitor increases from a lower                       an inductor coupled to the voltage source, wherein the
        voltage level to a higher voltage level and the inductor is                   inductor is configured to store energy in a magnetic
       configured to release energy stored in the magnetic field                      field:
       such that a current through tbe inductor decreases from          s          a diode coupled to the voltage source via the inductor
        a hig her current level to a lower current level· a nd                     a transistor configured to be turned on a nd turned ofJ b~
     turning on the transistor. wherein responsive to the transis-                    a control signal:
        tor being n1med on. the capacitor is configured to dis-                    a light emitting element coupled to the transistor:
       charge through the discharge path such that the light                       a capacitor coupled to a charging path and a discharge
        emitting element emits a pulse of light and the voltage         to
                                                                                      path, wherein the cbarging path includes the inductor
       across the capacitor decreases from the higher voltage
                                                                                      and the diode, and wherein the discharge path
        level to the lower voltage level and the inductor is con-
                                                                                      includes the transistor and the light emitting clement;
        fig1m.'CI to store energy in the magnetic field such that the
        current through the inductor increases from the lower                      wherein, responsive to the trnnsistor being turned off,
       current level to the higher currelll level.                      15            the capacitor is configured to charge via the charging
     LO. The method of claim 9, wherein the lower current level                       path such that a voltage across the capacitor increases
 is approxima tely zero.                                                              from a lower voltage level to a higher voltage level
                                                                                      and the inductor is configured to release energy stored
     ll . ll1e method of claim 9. wherein the capacitor is
 charged immediately following emission of a pulse of light                          !n  the magnetic field such that a current through the
 from the light emitting element.                                       20            mductor decreases from a higher current level to a
                                                                                      lower current level: and
 . 12. The method ofclaim 9. wherein the higher voltage level
                                                                                   wherein. responsive to the transistor being tumed on. the
 1s greatertha n a voltageoft he voltage source. and wherein the
 diode has an anode coupled to the voltage source via the                             capacitor is configured to discharge through the dis-
 inductor and a cathode coupled to the capacitor, such that the                       charge path such that the ligl1t emitting element emits
                                                                        2s            a pulse of light and the voltage across the capacitor
 ?iode is forward biased when the voltage across the capacitor
 1s at the lower voltage level and the diode is reverse biased                        decreases from the higher voltage level to tl1c lower
                                                                                      voltage level and the inductor is configured to store
 when the voltage across the capacitor is at the higher voltage
 level.                                                                               energy in the magnetic field such that the current
                                                                                      througl1 the inductor increas<.-s from the lower current
    13. The method of claim 9, wherein the charging of the
 capacitor is carried out in about 500 nanoseconds.                     30            level to the higher current level:
     14. TI1e method of claim 9, wherein the light emitting
                                                                                a light sensor configured to detect a reflected light signal
 clement is a laser diode.                                                         comprising light from the emitted light pulse reflected
                                                                                   by a reflective object; and
     15. The method of claim 14. further comprising:
    when the transistor is off, discharging an internal capaci-                 a controller configured to determine a d istance to the
        tance of the laser diode via a drain diode coupled across       35         reflective object based on the reflected light signal.
        the laser d iode.                                                       18. TI1e LIDAR device of claim 17, wherein the lower
                                                                             current level is approxima tely zero.
    16. The method of claim 9. wherein the transistor com-
 prises a Gallium nitride field c1Tcct trnnsistor (GaNFET),
                                                                                19 . 111e LIDAR device of claim 17, wherein the capacitor
 wherein the GaNFET is turned on and turned off by applying                  is charged immediately following emission of a pulse oflight
 a control signal to a gate of the GaNFET.                              40   from the light emitting clement.
                                                                                20. 111.e LIDAR device of claim 17, wherein the transistor
 . 17.A light detection and ranging (LJDAR) device compris-
 111g:                                                                       is a Gallium nitride field effect transistor (GaNfET) .
    a light source including:                                                                       • •     * •     •




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                        EXHIBIT C




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 02)     United States Patent                                                                 ( 10)   Patent No.:     US 9,086,273 Bl
         Gruver et al.                                                                        (45)    Date of Patent:      Jul. 21, 2015

 (54)     MICROROD COMPRESSION OF LASER                                                         7,089,114    Bl      8/2006    Huang
          BEAM IN COMBINATION WITH TRAi~ SMIT                                                   7,248,342    Bl      7/2007    Degnan
                                                                                                7,255,275    B2      8/2007    Gurevich et al.
          LES                                                                                   7.688,348    B2      3/2010    Lubard et al.
                                                                                                7,701,558    82      4/2010    Walsh el al.
 (71)     Applicant: G oogle Inc., Mountain View, CA (US)                                       7,710,545    B2      5/2010    Cramblilt el al.
                                                                                                7.969,558    B2      6/2011    Hall
 (72)     Inventors: Danie l Gruver, San Francisco. CA                                     2005/0237519      Al *   1012005    Bondurant et al. ........ 356/241. 1
                                                                                           2007/0268474      AI •   11/2007    Omura el al. ..           ......... 355/67
                     (US): Pierre-Yves Droz, Mountain                                      2008/0100820      Al•     5/2008    Sesko ......................... 356/4.0J
                     View, CA (US); Gaetan Pennccot, San                                   2009/0059183      Al•     3/2009    Tejima ............ ............... 353/69
                     Francisco, CA (US); Z achary Morriss.                                 2009/0 I 47239    AJ      6/2009    Zhu et al.
                     San Franc isco. CA (US); Dorel Ionut                                  20 ll/0058167     Al•     3/2011    Knox ct al. ................... 3561338
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                     Iordache, Walnut Creek, CA (US)                                       20 11/0255070     Al •   10/2011    Phillips et al. ............... 356/4.01
                                                                                           20 13/01 14077    Al •    5/2013    Zhang ........................... 356/328
 (73)     Assignee: Google Inc.. Mountain View, CA (US)
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 ( *)     Notice:         Subject to any disclaimer, the term oftbis
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                          patent is extended or adjusted under 35                         Nanostack Pulsed Laser Diode, Mar. 24, 2009.
                          U.S.C. 154(b) by 20 days.
                                                                                          * cited by examiner
 (21)     Appl. No.: 13n90,251
                                                                                         Primary Examiner - Isam Alsomiri
 (22)     Filed:          Mar. 8, 2013                                                   Assistanl Examiner - Samantha K Abraham
                                                                                         (74) Auomey, Agenl, or Firm - McDonnell Boebnen
 (5 I)    rot. Cl.
                                                                                         Hulbe11 & BerghoffLLP
          G0JC 3/08                  (2006.01)
          G0JC3/02                   (2006.0J)
                                                                                          (57)                         ABSTRACT
 (52)     U.S . Cl.
          CPC .... ...        ................... G0JC 3/02 (2013.0J )                   A LIDAR device may transmit light pulses originating from
 (58)     Field of Classification Search                                                 one or more light somces and may receive reflected light
          CPC ......... G0JS 17/ JO; G0 JS 7/497; G0 JS 17/89;                           pulses that are detected by one or more detectors. Tbe Ll DAR
                                             GOlS 7/487; GOIC 3/08                       device may include a lens tbat both (i) collimates the light
                                                                                         from the one or more light sources to provide collimated light
          USPC ......... 356/3.0J. 4.01, 4.07, 5.01 , 5.09, 9,625
          See application file for complete search history.                              for transmission into an envirolll1lent of the LIDAR device
                                                                                         and (ii) focuses the reflected light onto the one or more detec-
 (56)                         References C ited                                          tors. Each light source may include a respective laser diode
                                                                                         and cylindrical lens. The laser diode may emit an uncolli-
                      U.S. PATENT DOCUMENTS                                              mated laser beam that diverges more ina first direction than in
                                                                                         a seco nd direction. ·n1e cylindrical lens may pre-collimate the
         3,790,277    A        2/1974     Hogan                                          uncollimated laser beam in the first direction to provide a
         4,700,301    A       10/ 1987    Dyke
                                                                                         partially collimated laser that diverges more in the second
         4,709,195    A       I 1/ 1987   Hellekson et al.
         4,80 1,201   A         1/ 1989   Eichweber                                      direction than in the first direction.
         5,202,742    A        411993     Frankel al.
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                                              210


        FIG. 2A



                                                                      202


                            202                                216
                                        212




        FIG. 2B       2oa{                                              ◄-   200




                                  206




        FIG. 2C       210                                               ,.._ 200

                              206




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                                          124
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                        114

                                                   Figure 4




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       Y
       L     X     Figure SA
                                                                     Y
                                                                     L     X               Figure SB




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                                                (600

          602       Emit an uncollimated laser beam from a laser diode,


           "-          in which the uncollimated laser beam has a first
                   divergence in a first direction and a second divergence
                    in a second direction, with the first divergence being
                             greater than the second divergence


                                                ''
                     Pre-collimate the uncollimated laser beam in the first
          604
                   direction to provide a partially collimated laser beam that

           "-       has a third divergence in the first direction and a fourth
                 divergence in the second direction, with the third divergence
                 being less than the fourth divergence and fourth divergence
                      being substantially equal to the second divergence


          606                                   ,'
           "-      Collimate, by a lens, the partially collimated laser beam
                             to provide a collimated laser beam


          608

                   Transmit the collimated laser beam into an environment



          6 10


           "-      Collect object-reflected light, in which the object-reflected
                  light incl udes light from the collimated laser beam that has
                     reflected from one or more objects in the environment


          6 12


           "-       Focus, by the lens, the object-reflected light through a
                                focusing path onto a detector




                                         Figure 6



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                                                         US 9,086,273 B I
                                 1                                                                          2
       MICROROD COMPRESSION OF LASER                                        and the fourth divergence is substantially eqttal to the second
     BEA1"1 IN COMBINATION WITH TRANSMIT                                    divergence. The at least one detector is configu red to detect
                     LENS                                                   light having wavelengths in the narrow wavelength range.
                                                                            The objective lens is configttred to (i) collimate the partially
                        BACKGROUND                                     5    collimated laser beam to provide a collimated laser beam for
                                                                            transmission into an environment of the LJDAR device and
    Unless otherwise indicated herein, the materials described              (ii) focus object-reflected light onto the at least one detector.
 in this section are not prior art to the claims in this application        The object-reflected light includes light from the collimated
 and are not admined to be prior art by inclusion in this section.          laser beam that has reflected from one or more objects in the
    Vehicles can be configured to operate in an autonomous             10
                                                                            euviroruueut of tbe LIDAR device.
 mode in which the vehicle navigates through an environment                    In a second aspect, example embodiments provide a
 with lin le or no input from a driver. Such autonomous
                                                                            LIDAR device that includes a plurality of light sources, in
 vehicles can include one or more sensors that are configured
                                                                            which each light source is configured to em.it partially colli-
 to detect infomiation about the environment in which the
                                                                            mated light, a plurality of detectors, in which each detector is
 vehicle operates. The vehicle and its associated computer-            15
 implemented controller use the detected infonuation to navi-               associated with a respective light source in the plurality of
 gate through the environment. For example, if the sensor(s)                light sources, a lens, and a mirror. 111e lens is configured to (i)
 detect that the vehicle is approaching an obstacle. as deter-              collimate the partially collimated light from the light sources
 mined by the computer-implemented controller, the control-                 to provide collimated light for transmission into an environ-
 ler adjusts the vehicle's directional controls to cause the           20   ment of the LlDAR device a nd (ii) focus onto each detector
 vehicle to navigate around the obstacle.                                   any object-reflected light from the detector's associated light
    One such sensor is a light detection and ranging (LIDAR)                source that has reflected from one or more objects in the
 device. A LI DAR actively estimates distances to envirolllllen-            euvironment of the LI DAR device. The mirror is configured
 tal features while scanning through a scene to assembly a                  to rotate about an axis and, while rotating, reflect the colli-
 cloud of point positions indicative of the three-dimensional          25   mated light from tJ1e lens into the environment and reflect any
 shape of the environmental scene. Individual points are mea-               object-reflected light from the enviromuent into the lens.
 sured by generating a laser pulse and detecting a returning                   ln a third aspect, example embodiments provide a method.
 pulse, if any, reflected from an environmental object, and                 The metJ1od involves emitting an uncollimated laser beam
 determining the distance to the reflective object according to             from a laser diode. The uucollimated laser beam has a first
 the time delay between the emitted pulse and the reception of         30   divergence in a first direction and a second divergence in a
 the reflected pulse. The laser, or set of lasers, can be rapidly           second direction. The first divergence is greater than the sec-
 and repeatedly scanned across a scene to provide continuous                ond divergence. The method further involves pre-collimating
 real- time information 011 distances to reflective objects in the
                                                                            the laser beam in the first di rection to provide a partially
 scene. Combining the measured distances and the orientation
                                                                            collimated laser beam. The partially collimated laser beam
 oft he laser(s) while measuring each distance allows for asso-        35
                                                                            has a third divergence in the first direction and a fourth diver-
 ciating a three-dimensional positiou with each returning
 pulse. A three-dimensional map of points of reflective fea-                gence in the second direction. The third divergence is less
 tmes is generated based on tJ1e returning pulses for the entire            than tJ1e fourth divergence, and tJ1e fourt h divergence is sub-
 scanning zone. The three-dimensional point map thereby                     stantially equal to the second divergence. The metJ1od also
 indicates positions of reflective objects in the scanned scene.       40   involves coJlimating, by a lens, the partially coJlimated laser
                                                                            beam to provide a collimated laser beam and transmitting the
                           SUMMARY                                          collimated laser beam into an environment. In addition, the
                                                                            method involves collecting object-reflected light and focus-
    A LIDAR device may transmit light pulses originating                    ing, by the lens, the object-reflected light through a focusing
 from one or more light sources and may receive reflected light        45   path onto a detector. "171e object-reflected light includes light
 pulses tJ1at are detected by one or more detectors. 1be LJDAR              from the collimated laser beam tJ1at has reflected from one or
 device may include a lens that both collimates the light from              more objects in tJ1e envirornnent.
 the one or more light sources and focuses the reflected light                 In a fourth aspect. exemplary embodiments provide a
 onto one or more detectors. Each light source may include a                LIDAR device that includes means for transmilling an tmcol-
 laser diode that emits an uncollimated laser beam that                so   limating laser beam that bas a first divergence in a first direc-
 diverges more in a first direction tlian in a second direction             tion and a second divergence in a second direction, in which
 and a cylindrical lellS that pre-collimates the uncollimated
                                                                            the first divergence is greater than the secoud divergence. The
 laser beam in the first direction to provide a partially colli-
                                                                            LIDARdevicefurther includes means for pre-collimating the
 mated laser beam.
                                                                            uncollimated laser beam in tJ1e first d irection to provide a
    Jn a first aspect, example embodiments provide a LIDAR             55
 device that includes at least one laser diode, at least one                partially collimated laser beam that has a third divergence in
 cylindrical lens, at least one detector, and an objective lens.            the first dirt-ction and a fourth divergence in the second direc-
 The at least one laser diode is configured to emit an uncolli-             tion, in wh ich he third divergence is less than the fourth
 mated laser beam that includes light in a narrow wavelengtb                divergence and the fourth divergence is substantially equal to
 range. ll1e uncollimated laser beam has a first d ivergence in a      60   the second divergence. In addition, the LIDAR device
 first direction and a second divergence in a second direction.             includes means for collimating the partially collimated laser
 The first divergence is greater than the second divergeuce.                beam, means for transmitting the partially collimated laser
 The at least one cylindrical lens is configured to pre-collimate           beam into an environment of the LI DAR device, means for
 the tmcoll.imated laser beam in the first direction to provide a           collecting object-reflected light that includes light from the
 partially collimated laser beam that has a third divergence in        65   collimated laser beam that has reflected from one or more
 the first direction and a fourth divergence in the second di rec-          objects in the environment, and means for focusing the
 tion. 1l1c third divergence is less than tJ1e fourth divergence,           object-reflected light onto a detector.

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        BRIEF DESCRIPTJON OF THE ORAWINGS                                  However, by providing partially collimated laser beams that
                                                                           diverge primarily in one direction, the beam widths o f the
    FIG. I A is a top schematic view of a LIDAR device, in                 partially collimated laser beams can be made relatively smaJI
 accordance with an example embodiment.                                    in comparison to the apernire of the transmit/receive lens, as
    FIG. 18 is a side schematic view ofa portion of the LJDAR s            can the dimensions of the reflec tive element that accommo-
 device of FJG. 1A, .in accordance with ao example embodi-                 dates the beam widths of the partially collimated laser beams .
 ment.                                                                        FIGS. l A, 18 , and l C illustrate an example LIDAR device
    FIG. I C is a front schematic view of a portion of the                 100. In this exan1ple, LIDAR device 100 includes light
 LIDAR device of FIG. 1A, in accordance with au example                    sources 102, 104, and 106 and detectors 108. JlO, and 112.
 embodiment.                                                     10        Each of light sources 102. 104, and 106 emits light in a
    FIG. 2A is a view of a laser d iode, in accordance with an             wavelength range that can be detected by detectors 108, 110,
 exan1ple embodiment.                                                      and 112. The wavelength range could, for example, be in the
    FIG. 28 is a view of the laser diode of FIG. 2A iu combi-              ultraviolet, visible, and/or infrared portions of the electro-
 nation with a cylindrical Jens, in accordance with an example             magnetic spectrum. In some examples, the wavelength range
 embodinlent.                                                    15        is a narrow wavelength range, such as provided by lasers. In
    FlG. 2C is another view of the laser diode and cylindrical             add ition, the light emit1ed by light sources 102, 104, and 106
 lens combi11ation of FIG. 28 , in accordance with an example              could be in the fonn of pulses.
 embodinlent.                                                                 The light that is emitted by l ight sources 102, 104, and 106
    FJG. 3 is schematic diagram of the LIDAR device ofFJG.                 is collimated by a lens 114. The collimated light is then
 l A trausmini11g a collimated laser beam, in accordance with 20           transmitted into au environment of LI DAR device J00 via a
 au example embodiment.                                                    mirror 116. The light transmitted from LIDAR device 100
    FIG. 4 is a view of au apern1re of a lens in the LJDAR                 could be reflected by one or more objects in the environment.
 device of FIG. 1A, in accordance with an example embodi-                  The light reflected from such objects may reach mirror J16
 ment.                                                                     and be reflected in to lens 114. Lens 114 may then focus the
    FIG. SA illustrates a scenario in which LIDAR device 25                object-reflected light onto one or more of detectors 108, 110,
 scanning aD eL1virow11en1 that iDcludes two objects, in accor-            aJld 112.
 dance w ith an example embodiment.                                           Within LJDAR device 100, light sources 102, 104, and J06
    FIG. SB illustrates a point cloud for the two objects                  could be located in a different area than detectors 108, 110,
 scalllled in the scenario illustrated in FIG. SA, in accordance           and 112.As showninFIG. 18 , detectors 108, 110. ru1d 112 are
 with an example embodin1ent.                                    30        arranged vertically in a focal plane 120 oflens 114. As shown
    FIG. 6 is a flow chart of a method. in accordance with an              in FIG. J C, light sources 102, 104, and 106 are arrru1ged
 example embodiment.                                                       vertically in a separately-located focal plane 122 of lens 114.
                                                                           Thus, as a top view of LIDAR device 100, FIG. 1A shows
                  DETAJLED D ESCRJPTION                                    light source 102 as the top-most light source in focal plane
                                                                      35   122 and shows detector 108 as the top-most detector in focal
    A LIDAR device may transmit light pulses originating                   plane 120.
 from one or more light sources and may receive reflected light               To reach lens 114. the light emitted from light sources 102,
 pulses that are detected by one or more detectors. 111e LJDAR             104, and 106 may travel through a transmission path defined
 device may include a transmit/receive lens thar both colli-               by one or more reflective elements. such as a plane mirror
 mates the light from the one or more light sources and focuses       40   124. ID addition, light sources 102, 104, and 106 can be
 the reflected light onto the one or more detectors. By using a            arranged to emit light in different directions. As shown in
 transmit/receive lens that performs both of these fi.mctions,             FIG. l C, light sources 102, 104. and 106 emit light toward
 instead of a transmit lens for colliniating and a receive Jens for        plane mirror 124 in directions indicated by rays 132a, 134a,
 focusing, advantages with respect to size, cost. and/or com-              and 136a, respectively. As shown in FIG. 18 , rays 132a ,
 plexity can be provided.                                             45   134a, and 136a, are reflected by plane mirror 124. as rays
    Each light source may include a respective laser diode and             132b, 134b, and 136b, respectively. Rays 132b, 134b, and
 cylindrical lens. The laser diode may emit an uncollimated                136b then pass through lens 114 and are reflected by mirror
 laser beam that diverges more io a first direction than in a              116. PIG. ! A shows that ray 132b is reflected by mirror 116 as
 second direction. The cylindrical lens may pre-collinlate the             ray 132c. Rays 134b and 136b may be similarly reflected by
 uncollinlated laser beam in the first direction to provide a         so   mirror 116 but in different vertical directions. In this regard,
 partially collimated laser beam, thereby reducing the diver-              the vertical arrangement of light sources 102, 104, and 106,
 gence in the first direction. In some examples, the partially             results in rays 132b, 134b, and 136b being incident upon
 collimated laser beam diverges less i11 the first direction than          mirror 116 at different vertical ~mgles, so that mirror 116
 in the second direction. The transmit/receive lens receives the           reflects the light from light sources 102, 104, and 106 in
 partially collimated laser beams from the one or more light          55   different vertical directions.
 sources via a transmission path and collimates the partially                 Light from one or more oflight sources 102, 104, and 106
 collimated laser beams to provide collimated laser beams that             transmitted by LIDAR device 100 via mirror 116 can be
 are transmitted into an enviroUUlent of the LIDAR device.                 reflected back toward mirror 116 from one of more objects in
    ·n1e collimated light tra nsmitted from the LlDAR device               the environment of LIDAR device 100 as object-reflected
 into the environment may reflect from one or more objects in         60   light. Mirror 116 cru1 then reflect the object-reflected light
 the environment to provide object-reflected light. The trans-             into lens 114. As shown in FIG. 1B, lens 114 can focus the
 mit/receive Jens may collect the object-reflected light and               object-reflected light 01110 one or more of detectors 108, 110,
 focus the object-reflected light through a focusing path onto             and 112, via respective focusing paths 138, 140, and 142,
 the one or more detectors. The transmission path through                  depending on the angle at which lens 114 receives the object-
 which the transmit/receive lens receives the light from the          65   reflected light.
 light sources may include a reflective element, such as a plane              The angle ofrhe object-reflected light rece ived by lens J14
 mirror or prism, that partially obstmcts the focusing path.               may depend on which of light sources 102, 104, an d 106 was
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 the source of the object-reflected lighi. For example, lens 114         neously. For example, light sources 102, 104, and 106 could
 may focus object-reflected light originating from light source          emit light pulses either s imultaneously or in rapid succession
 102 onto detector 108 via focusing path 138. may focus                  according to a firing cycle.
 object-reflected light originating from light source 104 onto              The vertical arrangement oflight sources 102, 104, and 106
 detector 110 via focusing path 140, aud may focus object-          5    enables LIDAR device 100 to traosmit in muliiple vertical
 reflected light originating from light source l 06 onto detector        directioos, as described above. By moving mirror 116,
 112 via focusing path 142. In this way, LJDAR device JOO                LID.J\R. device 100 can also transmit in a range of horizontal
 may define separate transmit/receive channels, such that light          directions. As shown, mirror 116 has three reflective surfaces
                                                                         150, 152, and 154, and mirror 116 rotates about a vertical axis
 transmitted by a particular light source is received and
                                                                    10   156, as indicated by the curved arrow. Ju tl1e configuration
 detected by a particular detector.
                                                                         shown in FIG. l A, ray 132b is incident on reflective surface
     Given the function oflens 114 offocusing object-reflected
                                                                         150 and is reOected as ray 132c. Rays 134b and 136b shown
 light onto one or more detectors, lens 114 could be described
                                                                         in FIG. 18 are similarly incident on reflective surface 150,
 as an objective lens ofLlDAR device 100. Further, lens 114              resuJ ting in respective reflective rays. As mirror 116 rotates,
 could have any shape that enables it to perfonn this focusing      15   the angles of incidence of rays 132b, 134b. and 136b will
 ftmction. In some examples, lens 114 is an asphcrical lens.             change, which causes the d irections of the reflected rays to
 The shape and focal length of the aspherical lens could be              change. l n this way, the rotation of mirror 116 abolll vertical
 optimized for the wavelengths of Light emitted by liglit                axis 156 can deflect the light from each of the light sources
 sources 102, 104, and 106. For example, light sources 102,              through a range of angles i11 the horizontal plane. Mirror 116
 104, and 106 could emit light with a wavelength of about 905       20   can also deflect the light from the light sources vertically. For
 nm, and lens 114 couJd be an aspherical lens with a focal               example, reflective surfaces 150. 152, and 154 may each have
 length of about 100 mm. Alternatively, lens 114 could be a              a different tilt with respect to vertical axis 156.
 spherical lens, such as a piano-convex lens or a biconvex Jens.            Al!hongh FJG. l A shows mirror 116 with three reflective
     As shown, plane mirror 124 partially obstnicts focusing             surfaces, it is to be understood that mirror 116 could have a
 paths 138, 140, and 142, through which lens 114 focuses light      25   greater or fewer number of reflective surfaces. In addition,
 onto detectors 108, 11 0, and 112. However, the amount of               while mirror 116 has been described as rotating about vertical
 l ight loss caused by this obstruction can be made acceptably           axis 156, mirror 116 could rotate about a horizontal axis or au
 small by making the dimensions of plane mirror 124 small                axis in some other direction. In addition, instead of rotating,
 relative to the aperture of lens 114. As described in more              mirror 116 could oscillate through a range of angles. For
                                                                    30   example, mirror 11 6 could have a single reflective surface that
 detail below, plane mirror 124 can be made small in at least
                                                                         wobbles back and forth about an axis without making a com-
 one dimension by partially collimating the light emitted by
                                                                         plete rotation.
 light sources 102. 104, and 106.
                                                                            In some examples, mirror 116 could be omitted. 1n order to
     As described above, the light transmitted by LIDAR device
                                                                         rrausmit and receive through a range of horizontal directions.
 100 may be transmitted in a range ofvertical directions, based     35   an optical assembly including light sources 102-106, detec-
 on the vertical arrangement oflight sources 102, 104, and 106           tors 108-112, lens 114, and mirror 124 could rotate together
 in focal plane 122 . Alternatively or additionally. the light           about a vertical axis. The optical assembly could spin about
 sources could have a horizontal arrangement ill focal plane             the vertical axis in a particular direction, or the optical assem-
 122. so that the light transmitted by LlDAR device 100 is               bly could oscillate back and forth though a range of angles
 transmitted in a range of horizontal directions. Thus, wliile      40   about the vertical axis. The range of angles could be, for
 FIGS. l A, 18. and l C show tJm,-e light sources arranged               example, 180 degrees, 120 degrees, 60 degrees, 30 degrees, or
 vertically in focal plane 122, LIDAR device 100 could                   any other range of angles that is less than a fuJI rotation.
 include a greaterorfewer number oflight sources, which light               As noted above, the light from light sources 102, 104, and
 sources could be arranged horizontally and/or vertica!Jy in             106 could be partia!Jy collimated. FIGS. 2A, 28. and 2C
 foca l plane 122.                                                  45   illustrate an example of how such partial collimation co uld be
     FIG. 18 a lso shows three detectors arranged vertically in          achieved. In this example, a light source 200 is made up of a
 foca l plane 120. However, LIDAR device 100 could include a             laser diode 202 and a cylindrical lens 204. As shown in FIG.
 greater or fewer number of detectors, which detectors could             2A, laser diode 202 has au aperture 206 with a shorter dimen-
 be arranged horizontally and/or verticaJly in focal plane 120.          sion corresponding to a fast axis 208 and a longer dimension
 As described above, each particular detector in LIDAR              so   corresponding to a slow axis 210. FIGS. 28 and 2C show an
 device 100 could be associated with a particular light source,          uncollimated laser bean1 212 being emitted from laser diode
 such that light from that particular light source that is trans-        202. Laser beam 212 diverges in two directions, one direction
 mined from LJDAR device 100 and then reflected by an                    defined by fast axis 208 and another, generally orthogonal
 object in the environment is focused by lens 114 onto that              direction defined slow axis 210. FIG. 28 shows the diver-
 particular detector. These associations between light sources      55   gence oflaser beam 212 along fast axis 208, whereas FIG. 2C
 and detectors may define transmit/receive channels. Thus, ill           shows the divergence oflaser beam 212 along slow axis 210.
 the example shown in FIGS. lA, 18 and I C, LIDAR device                 Laser beam 212 diverges more quickly along fast axis 208
 100 has a first transmit/receive channel in which detector 108          than along slow axis 210.
 is associa ted with light source 102, a second transmit/receive            ln one specific example, laser diode 202 is an Osram SPL
 channel in which detector 110 is associated with light source      60   DL90_ 3 nanostack pulsed laser diode that cm.its pulses of
 104. and a third transmit/receive channel in which detector             light with a range of wavelengths from about 896 nni to about
 112 is associated with light source 106. Ju other examples, a           910 lllll (a nominal wave!eng1b of905 nm). Jo tms specific
 LlDAR device could have a greater or fewer number of trans-             example. the aperture has a shorter dimension of about 10
 nlit/receive channels.                                                  microns, corresponding to its fast axis, ru1d a longer dimen-
     The use of multiple light sources and multiple detectors       65   sion ofabout 200 microns, corresponding to its slow axis. The
 can allow LJDAR device 100 to interrogate multiple portions             divergence oftbe laser beam in this specific example is about
 of its enviromnent simultaneously or substantially simulta-             25 degrees along the fast axis and about 11 degrees along the
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 slow axis. When th.is type of laser diode is used iu light                 collimated by lens 114 to provide collimated laser beams that
 sources 102, 104, and 106, lens 114 could be an aspherical                 arc transmitted from LlDAR device lOO via mirror 116. Thus,
 lens with a focal length of about I 00 111111. It is to be llllder-        object-reflected light from the collimated laser beams origi-
 stood that this specific example is illustrative only. Laser               Dating from Olle or more of light sources 102, 104, and 106
 diode 202 could have a different conflguration. different aper-       5    may reach mirror 116 and be reflected into lens 114, which
 ture sizes, different beam divergences, and/or emit different              focuses the object-reflected light onto ODe or more of detec-
 wavelengths.                                                               tors 108. 110, and 112 , respectively.
    As shown in Fl GS. 28 and 2C, cyl.indrical lens 204 may be                 As shown in FIG. 3, the transmission path through which
 positioned in front of aperture 206 with its cylinder axis 214             partially collimated laser beam 350 reaches lens 114 includes
 generally parallel to slow axis 210 and perpendicular to fast         10   a plane mirror 124 that partially obstmcts focusing path 138.
 axis 208. In this arrangement. cylindrical lens 204 can pre-               However, the obstmction created by plane mirror 124 can be
 collimate laser beam 212 along fast axis 208. resulting in                 miu.imized by having tbed.imensions of plane 124 correspoDd
 partially collimated laser beam 216. In some examples, this                to the dimensions of partially collimated laser beam 350
 pre-collimation may reduce the divergence along fast ax.is                 incident upon it. As shown, partially collimated laser beam
 208 to about one degree or less. Nonetheless, laser beam 216          15   350 has a beam width 354 in the horizontal plane. Partially
 is only partially collimated because thedivergencealong slow               collimated laser beam 350 also has a beam width in the
 axis 210 may be largely unchanged by cylindrical lens 204.                 vertical plane (not shown), which could be substantially
 Thus, whereas uncollimated laser beam 212 emitted by laser                 larger than beam width 354 due to the greater divergeDce in
 diode has a higher divergence a long fast axis 208 than along              the vertical plaDe. To minimize obstnictioD of focus ing path
 slow axis 210, partially collimated laser beam 216 provided           20   138, plane mirror 124 could have horizontal and vertical
 by cylindrical Jens 204 may have a higher divergence along                 dimensions that are just large enough to accommodate the
 slow axis 210 than along fast axis 208. Further, the diver-                horizoDtal and vertical beam widths of partially collimated
 gences along slow axis 210 in uncollimated laser beam 212                  laser beam 350, as well as the horizontal and vertical beam
 and in partially collimated laser beam 216 may be substan-                 widths of the partially collimated laser beams emitted by light
 tially equal.                                                         25   sources 104 and 106. As a result, plane mirror 124 could have
    ln one example, cylindrical lens 204 is a microrod lens with            a larger cross-section ill the vertical plane tball in the hori-
 a diameter of about 600 microns that is placed about 250                   zontal plane.
 microns in front ofapertme206. The material ofthe microrod                    To illustrate how the dimensions of plane mirror 124 may
 Jens could be, for exan1ple, fused silica or a borosilicate                compare to the din1ensions oflens 114 in order to mininl.ize
 crown glass, such as Schott BK7. Cylindrical lens 204 could           30   the obstrncrion of focusing path 138, FlG. 4 , shows a view
 also be used to provide magnification along fast axis 208. For             from mirror 116 of lens 114 and plane mirror 124 behind it.
 example. iftbe dimensions of aperture 206 are 10 microns by                For purposes of illustration. lens 114 is shown with a gener-
 200 microns, as previously described, and cylindrical lens                 ally rectangular aperture having a horizontal dimeDsion 400
 204 is a microrod lens as described above, theD cyliDdrical                and a vertical dimension 402. Of course, other aperture
 lens 204 may magnify the shorter dimension (corresponding             35   shapes are possible as well. In tll.is example, plane mirror 124
 to fast ax.is 208) by about 20 times. This magnification effec-            has a vertical dimension 404 that is the same or similar to
 tively stretches out the shorter dimension of aperture 206 to              vertical dimension 402 of lens 114. but plane mirror 124 bas
 about the same as the longer dimension. As a result, when                  a horizontal dimension 406 that is much smaller than the
 light from laser beam 21 6 is focused, for example, focused                horizontal dimension 400 of lens 114. By having horizontal
 onto a detector, the focused spot could have a substaotialJy          40   dimension 406 of plane mirror 124 be only a fraction of
 square shape iDstead of the rec tangular slit shape of aperture            horizoDtal dimension 400 of horizontal dimensioD 400 oflens
 206.                                                                       114, plane mirror 124 may obstruct only a fraction of the
    FIG. 3 illustrates a scenario in which light sources 102,               aperture of lens 114.
 104, and 106 in LIDAR device 100 are each made up of a                        FIGS. 5A and SB illustrate an example application of a
 respective laser diode and cylindrical lens. for example, as          45   LJDAR device 500, which could have the same or similar
 shown in FIGS. 2A-2C. As shown, light source 102 emits a                   co11figuration as LIDAR device 100 shown in FIG. 1. In this
 partially collimated laser beam 350 that is reflected by plane             example application, LIDAR device 500 is used to scaD an
 mirror 124 into lens 114 . ln th.is example, partially collimated          environment that includes a road. Thus, LlDAR device 500
 laser beam 350 has less divergence in the horizontal plane (the            could be in a vehicle, such as an autonomous vehicle, that is
 drawiDg plane of FIG. 3) than in the vertical plane. Thus, the        so   traveliug on the road. The environment of LlDAR device 500
 laser diode iu light source 102 may be oriented with its fast              in this example includes another vehicle 502 and a road sign
 axis in the horizontal plane and its slow axis in the vertical             504. To scan through the enviroDment, LIDAR device 500
 plane. For purposes of illustration, partially collimated laser            rotates a scanning clement, which could be the same or simi-
 beam 350 is showD in FIG. 3 with no divergence in horizoDtal               lar to mirror 116. accordiug to motion reference arrow 506
 plaDe. It is to be understood. however, that some amount of           55   with angular velocity w. While rotatiDg, LlDAR device 500
 divergence is possible.                                                    regularly (e.g., periodically) emits pulsed laser beams. such
    Lens 114 collimates partially col limated laser beam 350 to             as laser beam 508. Light from the emitted laser beams is
 provide collimated laser beam 352 that is reflected by mirror              reflected by objects in the environment, such as vehicle 502
 116 into the environmen t of LIDAR device 100. Light from                  and sign 504. and are detected by one or more detectors in
 collimated laser beam 352 may be reflected by one or more             60   LIDAR device 500. Precisely time-stamping the receipt oft he
 objects in the environment of LI DAR device 100. The object-               reflected signals allows for associating each reflected signal
 reflected light may reach mirror 116 and be reflected into lens            (if any is received at all) with the most recen tly emitted laser
 114. Lens 114, in turn, focuses the object-reflected light                 pulse and measuring the time delay between emission of the
 through focusing path 138 onto detector 108. Although FIG.                 laser pulse and reception ofthe reflected light. The time delay
 3 shows a partially collimated laser beam from only light             65   provides an estimate of the distance to the reflective feature
 source 102, it is to be understood that light sources 104 and              based on th e speed of light in the intervening aunosphere.
 106 could also emit partially collimated laser beams that are              Combining the d.istimce information for each reflected signal
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 with the orientation of scanni11g element i11 LIDAR device                beam. The collimated laser beams could be transmitted
 500 for the respective pulse emission allows for deten11ining             simultaneously or sequentially. Further, the collimated laser
 a position of the reflective feature in tliree-dimensions.                beam could be transm it1ed in different d irection. TI1e object-
     FIG. SB symbolically illustrates a point cloud resulting              reflected light that is collected could include light from any of
 from LI DAR device 500 scanning the environment shown in             5    the transmit1ed collimated laser beams.
 FJG. SA. For purposes of illustration, the scan is assumed to                Wltile various example aspects and example embodiments
 be in an x-y plane that is generally horizontal (e.g., parallel to        have been disclosed herein, other aspects and embodiments
 the surface of the road). It is to be understood, however. that           will be apparent to those skilled i11 the art. The various
 the scan could include a vertical component (z-dimension) as              example aspects and example embodiments disclosed herein
 well. In this example, the point cloud includes spatial points       10   are for purposes of illustration and are 1101 intended to be
 512 corresponding to reflections from vehicle 502 and spatial             limiting, with the true scope and spirit being indicated by the
 points 514 corresponding to reflections from sign 504. Each               following clain1s.
 spatial point in ibe point cloud has a line of sight ("LOS")                 What is claimed is :
 distance from LIDAR device 500 and an azimuthal angle tin                    1 . A light detection and ranging (LlDAR) device, compris-
 the x-y plane. lo this way, the scanning by LlDAR 500 can            15   ing:
 provide information regarding the locations of reflective                    at least one laser diode, wherein the at least one laser diode
 objects in its environment.                                                      is configured to emit an uncollimated laser beam com-
     FIG. 6 is a flow chart of an example method 600 of oper-                     prising light in a narrow wavelength range, wherein the
 ating a LIDAR device, such as LIDAR device 100. Method                           L111collimated laser beam has a first divergence in a first
 600 invo lves emitting an uncollimated laser beam from a laser       20          direction and a second divergence in a second direction,
 diode, in which the laser beam has a first divergence in a first                 and wherein the first divergence is greater than the sec-
 direction and a second divergence in a second direction, with                    ond divergence;
 the first divergence being greater than the second divergence                at least one cylindrical lens, wherein the at least one cylin-
 (block 602). TI1e laser diode could be configured as shown in                    drical lens is configured to pre-collimate the uncolli-
 FIGS. 2A-2C with a fast axis and a slow axis. Thus, the first        25          mated laser beam in the first direction to provide a par-
 direction could correspond to the fast axis and the second                       tially collimated laser beam that bas a third divergence in
 direction could correspond to the slow axis.                                     ihe first direction and a fourth divergence in the second
     Method 600 funher mvolves pre-collimating the uncolli-                       direction, wherein the third divergence is less than the
 mated laser beam in the first direction to provide a partially                   fourth divergence and the fourth divergence is substan-
 collimated laser beam that has a third divergence in the first       30          tially equal to the second d ivergence;
 direction and a fon!1h divergence in the second d irection, with             at least one detector, wherein the at least one detector is
 the th1rd divergence be ing less than the fourth divergence and                  configured to detect light having wavelengths in the
 the fourth divergence being substantially equal to the second                    narrow wavelength range: and
 d ivergence (block 604). The pre-collimation could be                        an objective lens, wherein the objective le11s is configured
 achieved by transmitting the laser beam tlirough a cylmdrical        35          to (i) collimate the partially collimated laser beam to
 lens, as shown in FIGS. 2B and 2C and described above.                           provide a collimated laser beam for transmission into an
 Thus, the cylindrical lens could reduce the divergence along                     environment of the LlDAR device and (ii) focus object-
 the fast axis so that it becomes less than the divergence along                  reflected light onto the at least one detector, wherein the
 the slow axis, while keeping the divergence along the slow                       object-reflected light comprises light from the colli-
 axis substantially the same.                                         40          mated laser beam that has reflected from one or more
     A lens, such as Jens 114 shown ill FIGS. l A and 1B,                         objects in the environment of the LIDAR device.
 collimates the partially collimated laser beam to provide a                  2. The LlDAR deviceofclalll1 1, where in the objective lens
 collimated laser beam (block 606). The lens could be an                   receives the partially collin1ated laser beam via a transmission
 aspherical lens or a spherical lens. The collimated laser be=             path and focuses the object-reflected light through a focusing
 is then trans mitted into an enviromnent (block 608). Trans-         45   path, and wherein the transmission path includes a reflective
 milting the collimating laser beam into the environment could             element that partially obstructs the focusing path.
 illvolve a rotating mirror, such as mirror 116, reflecting the               3 . The LlDAR device of clalll1 2, wherein the reflective
 collimated laser beam from the lens into the environment.                 element comprises a plane mirror.
     Method 600 also involves collecting object-reflected light,              4. The LIDAR device of claim 1, wherein the at least one
 in which the object-reflected light includes light from the          so   laser diode comprises a plurality of laser diodes, the at least
 collimated laser beam that has reflected from one or more                 one detector comprises a plurality ofdetectors, and the at least
 objects in the environment (block 610). Collecting thcobject-             one cylindrical lens comprises a plurality of cylindrical
 reflected light could involve a rotating mirror, such as mirror           lenses, such that each cylindrical lens in the plurality of cylin-
 116, reflecting the object-reflected light from the environ-              drical lenses is associated with a corresponding laser diode i11
 ment into the lens used to collimate the laser beam. 111e lens       55   the p lurality of laser diodes.
 may also focus the object-reflected light through a focusing                 5 . 111e LIDAR device of claim 4, wherein each laser diode
 path onto a detector (block 612). In some examples, the lens              is configured to emit a respective uncollimated laser beam in
 may receive the partially collimated laser beam via a reflec-             a respective direction, and wherein each cylindrical lens is
 tive element, such as a plane mirror o r prism, that partially            configured to pre-collimate the u11collimatcd laser beam pro-
 obstructs the focusing path. However, as d iscussed above, the       60   duced by its corresponding laser diode to provide a corre-
 obstruction can be 111llllll1ized by havi11g the dimensions of the        sponding partially collimated laser beam that is then colli-
 reflective element match the din1ensions of the partially col-            mated by the objective lens to provide a corresponding
 limated laser beam.                                                       collimated laser beam.
     Although method 600 has been described with respect to                   6. The LIDAR device of claim 5, wherein each detector in
 one laser diode, it is to be understood that multiple laser          65   the plurality of detectors is associated with a corresponding
 diodes could be used, each emit1ing a respective laser beam               laser diode in the plurality of laser diodes, and wherein the
 that is transmitted into the environment as a collimated laser            objective lens is configured to focus onto each detector a
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 respective portion of the object-reflected light that comprises              15. The LIDAR device of claim 14, wherein each light
 light from the detector's corresponding laser diode.                      source in the plurality oflight sources comprises a respective
    7. The LIDAR device of claim 6, wherein each laser diode               laser diode and a respective cylindrical lens.
 has a rectangular aperture that has a short dimension and a                  16. The LIDAR device of claim 14, wherein the second
 long dimension, and wherein each cylindrical lens is config-         5    mirror comprises a plurality of reflective surfaces, each
 ured to magnify 1J1e short dimension of the apertt1re of its              reflective su rface hav ing a different tilt w ith respect to the
 corresponding laser diode such that the light from the laser              axis.
 diode that is focused onto the laser diode's correspondiug                   17. A method comprising:
 detector has a substantially square shape.
                                                                              emitting an uncollimated laser beam from a laser diode,
    8. The LIDAR device of claim 1, wherein the al least one          10
                                                                                 wherein the uncollimated laser beam has a first diver-
 cylindrical lens comprises at least one microrod lens.
                                                                                 gence in a first direction and a second divergence in a
    9. The LJDARdeviceofclaim 1, wherein tl1enarrow wave-
                                                                                 second direction, and wherein the first divergence is
 length range includes wavelengths of about 905 nanometers.
    10. The LIDAR device of claim 1, wherein the objective                       greater than the second divergence;
 lens is an aspberical lens.                                          15      pre-collimating the uncollimated laser beam in the first
    11. The LlDAR device of claim 1, further comprising a                        direction to provide a partfally collimated laser beam,
 mirror. wherein the mirror is configured to reflect the colli-                  wherein the partially collimated laser beam has a thi rd
 mated laser beam from the objective lens into the environ-                      divergence in the first direction and a fourth divergence
 ment aud to reflect the object-reflected light from the envi-                   in the second direction. and wherein the third divergence
 ronment into the objective lens.                                     20         is less than the fourth divergence and the fourth diver-
    12. The LIDAR device of claim 11, wherein the mirror                         gence is substantially equal to the second divergence;
 rotates about a vertical axis.                                               collimating. by a lens, the partially collimated laser beam
    13. TI1c LIDAR device of claim 12, where in the mirror                       to provide a collimated laser beam;
 comprises a plurality of reflective surfaces, each reflective                transmitting the collimated laser beam into an environ-
 surface having a different tilt with respect to the vertical axis.   25         ment;
    14. A light detection and ranging O~IDAR) device. com-                    collecting object-reflected light, wherein the object-re-
 prising:                                                                        flected light comprises light from the co]ljmated laser
    a plurality of light sources, wherein each light source is                   beam that bas reflected from one or more objects in the
       configured to emit partially collimated light;                            environment; and
    a plurali ty of detectors, wherein each detector in the plu-      30
                                                                              focusing, by the lens, the object-reflected light through a
       rality of detectors is associated with a respective light
                                                                                 focusing path onto a detector, wherein the lens receives
       source in the plurality of light sources;
                                                                                 the partially collimated laser beam via a plane mirror
    a first mirror, wherein the first mirror is configured to
                                                                                 that partial ly obstructs the focusing path.
       reflect the partially colli mated light from 1he light
       sources;                                                       35      18. The method of claim 17, wherein pre-collimating the
                                                                           w1collimated laser beam in the first direction to provide a
    a second mirror, wherein the second mirror is configmed to
                                                                           partially collimated laser beam comprises transmining the
       rotate about an axis; and
    a lens, wherein the lens is configured to (i) receive, via the         uncollimated laser beam through a cylindrical lens.
       first mirror, the partially collimated light from the light            19. The method of claim 17, wherein trru1smitting the col-
       sources, (ii) collimate the partially collimated l ight from   40   limated laser beam into an environment comprises a rotating
       the light sources to provide collimated light, wherein the          mirror reflecting the collimated laser beam from the lens into
       second mirror is configured to reflect the collimated               the environment, and wherein collecting object-reflected
       light from the lens into an environment of the LIDAR                light comprises the rotating mirror reflecting the obji-ct-re-
                                                                           flected light from the enviro1unent into the lens.
       device. and (iii) focus, via a focusing path. onto each
       detector any object-reflected light from the detector's        45      20. The method of claim 17, further comprising:
       associated light source that has reflected from one or                 rotating an optical assembly about au axis while transmit-
       more objects in the envirolllllent of the LlDAR device,                   ting the collimated laser beam into the environment and
                                                                                 collecting object-reflected light, wherein the optical
       wherein the second 1:n.irror is configured to reflect the
       object-reflected light from the environment into the lens,                assembly includes the laser diode, the lens, the detector,
                                                                                 and the plane mirror.
    wherein the first mirror partially obstructs the focusing         so
       path.




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    JS-CANO 44 (Rev. 07/16)
                                                                                 CIVIL COVER SHEET
    The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
    except as provided by Joe.al rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
    Court to initiate the civil docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
    I. (a) PLAINTIFFS                                                                                               DEFENDANTS
        Waymo LLC                                                                                               Uber Technologies, Inc., Ottomotto LLC, Otto Trucking
                                                                                                                LLC
       (b) County of Residence of First Listed Plaintiff     son F-=~co                                             County of Residence of First Listed Defendant_s_,n_F_ni_nc_i,.,.
                                                                                                                                                                                _ _ _ _ _ _ ___.
                                   (EXCEPT IN U.S. PU/NT/FF CASES)                                                                       (IN U.S. PLAJNnFF CASES ONLY)
                                                                                                                    NOTE:   IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            TitE TRACT OF LAND INVOLVED.
       (C) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
        Charles K. Verhoeven
        Quinn Emanuel Urquhart & Sullivan, LLP
        50 California Street, 22nd Floor, San Francisco, 94111
    II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                   m. OTIZENSHIP OF PRINCIPAL pARTIES (P/11(:e an "X" In One Box/or Plaintiff
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□2         U.S. Government             □ 4 (Indicate Cltizen.rhip ofParties in Item Ill)
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  230 Rent Lease & Ejectment  • 442 Employment                  5 I0Motions to Vacate                                                        CJm    IRS-Third Party                             Act/Review or Appeal of
  240 Torts to Land               443 Housing/                       Sentence                                                                       26 USC§ 7609                                Agency Decision

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  290 All Other Real Property □ 445 Amer. w/Disabilities- 0535 Death Penally                     IMMnauTJON                                                                                    State Statutes
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                          Cite the U.S. Civil Statute under which you are filing (Do not citejuristiictiomtl statutes unless diversity):
VI.      CAUSE OF ACTION 1-J_s_u_.s_.c_ oc1
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                          Brief description of cause:
                                          Trade Secret Misappropriation; Patent Infringement; Violation of California Bus. & Prof. Code § 17200

VII. REQUESTED IN                        O      CHECK IF TIIIS IS A CLASS ACTION                          DEMANDS                                            CHECK YES ooJy if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, Fed. R. Civ. P.                                                                               JORY DEMAND:               [iJ Yes      O     No
vm. RELATED CASE(S),
            IF ANY        (See lnstn,ctlons).                            JUDGE                                                                    DOCKET NUMBER
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
                                       □ SAN FRANCISCO/OAKLAND

DATE:                                  LJ         201                    SI GNATURE OF ATTORNEY OFRECO

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JS-CANO 44 (rev. 07/16)

             INSTRUCTIONS FOR ATTORNEYS COMPLETING CML COVER SHEET FORM JS-CAND 44

A ut hor ity For Civil Cover Sheet. The JS-CANO 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
   I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
          then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of tiling. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract ofland involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)."

   ll.   Jurisdiction. The basis ofjurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
         pleadings. Place an "X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         (I) United States plaintiff. Jurisdiction based on 28 USC§§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
         (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         (3) Federal question. This refers to suits under 28 USC § 1331 , where jurisdiction arises under the Constitution of the United States, an amendment
             to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
             takes precedence, and box 1 or 2 should be marked.
         (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
             citizenship of the different parties must be checked. (See Section Ill below; NOTE: federal question actions take precedence over diversity
             cases.)
   m.    Residence (citizenship) of P rin cipa l Parties. This section of the JS-CANO 44 is to be completed if diversity of citizenship was indicated above.
         Mark this section for each principal party.
   IV. Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
       sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
       one nature of suit, select the most definitive.
   V.    Origin. Place an "X'' in one of the six boxes.
         (1) Original Proceedings. Cases originating in the United States district courts.
         (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
             petition for removal is granted, check this box.
         (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
             date.
         (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         (5) Transferred from Another District. For cases transferred under Title 28 USC§ 1404(a). Do not use this for within district transfers or
             multidistrict litigation transfers.
         (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
             § 1407. When this box is checked, do not check (5) above.
         (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
         Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
   VI.   Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC§ 553. Brief Description: Unauthorized reception of cable service.
   Vll. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
   vm. Related Cases.   This section of the JS-CANO 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the correspondingjudge names for such cases.
   IX.   Divisional Assignment. Ifthe Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
         section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: "the county in which a substantial part of the
         events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated."
   Date and Attorney Signature. Date and sign the civil cover sheet.


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